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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                  CASE NO.: 1:22-cv-21004-MD

   JESSICA GUASTO,

         Plaintiff,

   vs.

   THE CITY OF MIAMI BEACH, FL,
   a Florida municipality,

         Defendant.
   ________________________________________________/

               DECLARATION OF COMMANDER A.J. PRIETO PURSUANT
                  TO 28 U.S.C. § 1746 IN SUPPORT OF DEFENDANT’S
               FULLY DISPOSITIVE MOTION FOR SUMMARY JUDGMENT

         1.      My name is A.J. Prieto.

         2.      I make this Declaration pursuant to 28 U.S.C. § 1746, and in Support of the City of

   Miami Beach’s (“City”) Fully Dispositive Motion for Summary Judgment.

         3.      Pursuant to 28 U.S.C. § 1746(2), I executed this Declaration in the United States of

   America.

         4.      The information herein is based on my personal knowledge.

   Law Enforcement Employment Background

         5.      I am currently a Commander with the City’s Police Department.

         6.      I have worked for the City since 1993.

         7.      In March 1998, I became a Detective in the Economic Crimes Squad.

         8.      In March 2004, I was promoted to Sergeant.

         9.      In February 2018, I was promoted to Commander.
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          10.     I served as Commander of the Internal Affairs Unit (“IA”) from February 2018

   until October 2023.

          11.     In my role as Commander of IA, I had supervisory authority for internal

   investigations for the entire department.

          12.     During the period that encompasses the facts and circumstances of the above-styled

   case, I was the Commander of IA.

   The IA Investigation, Settlement Agreement, and the Last Chance Agreement

          13.     On April 23, 2020, Internal Affairs (“IA”) at the City of Miami Beach received an

   Allegation of Employee of Misconduct regarding Plaintiff.

          14.     On May 4, 2020, Plaintiff was notified that she was under investigation by IA in

   IA Case No. 2020-010 (the “IA Case”).

          15.     On July 13, 2020, Plaintiff filed EEOC Charge No. 510-2020-04794 (the “2020

   Charge”).

          16.     On November 2, 2020, I attended a meeting in the Chief of Police Conference

   Room at the Police Department Building (the “November Meeting”).

          17.     The November Meeting was a confidential settlement meeting between the City,

   Plaintiff, The Fraternal Order of Police, William Nichols Lodge No. 8 (“FOP”), and Plaintiff’s

   privately hired attorney, Michael Pancier, Esq.

          18.     The FOP is, and was in November 2020, the exclusive bargaining representative

   for a bargaining unit of City police employees.

          19.     Plaintiff was a member of the FOP.

          20.     The purpose of the November Meeting was to discuss possible settlement of the IA

   Case and the 2020 Charge.




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           21.      At the November Meeting, the following individuals were representing Plaintiff:

                             i. Eugene Gibbons, Esq. (Plaintiff’s attorney provided by the FOP);

                            ii. Michael Pancier, Esq. (Plaintiff’s attorney hired privately by Plaintiff);
                                and

                            iii. Kevin Millan (then President of the FOP).

           22.      At the beginning of the November Meeting, Eugene Gibbons gave a speech

   reminding everyone that the November Meeting was a confidential settlement meeting and that

   anything said in the November Meeting could not be used in any future proceeding.

           23.      The fact that the November Meeting was a confidential settlement meeting meant

   that in the event Plaintiff was ever interrogated by IA in a subject-officer interview pursuant to

   Florida Statute § 112.532, nothing said or presented in the November Meeting could be used

   against Plaintiff by the City.

           24.      The November Meeting was not a subject-officer interview pursuant to Florida

   Statute § 112.532.

           25.      Plaintiff was never interrogated during the November Meeting.

           26.      During the November Meeting, the City showed Plaintiff, her two lawyers and the

   FOP President a power point presentation (the “November Meeting Power Point”). A copy of the

   November Meeting Power Point is attached as Exhibit A Bates Nos. City 001767 - 001882.

           27.      The November Meeting Power Point that is attached herewith as Exhibit A was a

   collaborative effort between me and Internal Affairs Sgt. Andy Descalzo.1

           28.      The November Meeting Power Point shows that Plaintiff, and then-boyfriend

   Police Office Nicholas Guasto (“N. Guasto”), were, among other things, radioing into the City that



   1
           The November Meeting Power Point uses the term “09.” “09” is the code that is used when Police Officer is
   informing the City that he/she is on duty and most importantly, within the City limits.


                                                          3
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   they were within the City limits and on duty, when they were outside City limits. See Exh. A, Bates

   Nos. City 001813 – 001815.

          29.     The November Meeting Power Point further details all the instances when Plaintiff

   and N. Guasto claimed to be on duty and within City limits when they were outside of the City,

   effectively stealing time from the City. See generally Exh. A.

          30.     The IA Case came before the 2020 Charge.

          31.     Lieutenant Steven Cosner (“Lieutenant Cosner”) was not involved in the IA Case.

          32.     At no point during the November Meeting did any one of Plaintiff’s two attorney’s

   or Mr. Millan, the FOP President, object that the City was violating Florida Statute § 112.532.

          33.     At no point during the November Meeting did any one of Plaintiff’s two attorney’s

   or Mr. Millan, the FOP President, invoke the provisions of Florida Statute § 112.534.

          34.     During the November Meeting, the parties discussed possible resolution of the IA

   Case and the 2020 Charge.

          35.     After the November Meeting, Settlement discussions between the City’s outside

   counsel and Plaintiff’s two attorneys continued.

          36.     A copy of the Internal Affairs Investigative Report for the IA Case (“IA Report”)

   is attached as Exhibit B, Bates Nos. City 001572 - 001673 to this Declaration.

          37.     I certify that the document attached as Exhibit B is a true and correct copy of the

   IA Report.

          38.     On December 18, 2020, the City, Plaintiff, and the FOP entered into a Settlement

   Agreement and a Last Chance Agreement. As part of the Last Chance Agreement, Plaintiff also




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   provided an Irrevocable Letter of Resignation.2 Copies of the Settlement Agreement, the Last

   Chance Agreement, and the Irrevocable Letter of Resignation are attached to this Declaration as

   Composite Exhibit C, Bates Nos. City 001235 – 001238; 001240 – 001246; 001248.

            39.      I have personal knowledge that the City negotiated the Settlement Agreement and

   the Last Chance Agreement with Plaintiff’s two attorneys and by extension, the FOP.

            40.      The City did not “put” Plaintiff on a Last Chance Agreement.

            41.      Plaintiff, with the advice of her two attorneys and the President of the FOP,

   voluntarily entered into the Settlement Agreement and the Last Chance Agreement; the City did

   not force the Plaintiff to sign either.

            42.      Plaintiff, with the advice of her two attorneys and the President of the FOP,

   voluntarily provided the Irrevocable Letter of Resignation; the City did not force Plaintiff to

   provide anything.

            43.      The Last Chance Agreement effectively made Plaintiff an employee at will.

            44.      The Last Chance Agreement specifically references the IA Case. See Exh. C, p. 1.

            45.      The Last Chance Agreement does not reference the 2020 Charge because the 2020

   Charge had nothing to do with any future performance of Plaintiff or any future discipline pursuant

   to the Last Chance Agreement. Thus, it was specifically omitted from reference in the Last Chance

   Agreement.

   Implementation of Plaintiff’s Irrevocable Letter of Resignation

            46.      The decision-maker for implementing Plaintiff’s Irrevocable Letter of Resignation

   was then Chief of Police, Richard Clements (“Chief Clements”).



   2
            Paragraph nine (9) of the Last Chance Agreement required Plaintiff to “sign an irrevocable letter of
   resignation which shall take effect immediately upon her violation of [the Last Chance Agreement] or any part of it at
   any time during the term of [the] Last Chance Agreement.” See Exh. C, ¶ 9.


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           47.      On January 8, 2021, Lieutenant Cosner emailed me a copy of an Administrative

   Action Form that he filled out regarding Plaintiff. A copy of the January 8, 2021, email and the

   attachment are attached as Exhibit D3 to this Declaration.

           48.      In making his allegations against Plaintiff, Lieutenant Cosner used the wrong form.

           49.      Lieutenant Cosner should have used an “Allegation of Employee Misconduct”

   form.

           50.      The Administrative Action Form is sometimes used after action is taken against an

   Officer.

           51.      The fact that Lieutenant Cosner used the incorrect form has no bearing on the

   veracity of his allegations against Plaintiff, it appeared it was just an administrative mistake.

           52.      Further, the fact that Lieutenant Cosner did not sign the Administrative Action

   Form is equally immaterial.

           53.      There was no question that Lieutenant Cosner was the one who filled out the

   Administrative Action Form.

           54.      The City corrected the form error and put Lieutenant Cosner’s allegations against

   Plaintiff on an Allegation of Employee Misconduct Form.

           55.      This is the correct form.

           56.      On January 19, 2021, I received a copy of the Allegation of Employee Misconduct

   Form via email from Sergeant Andy Descalzo. A copy of the January 19, 2021, email and its

   attachment are attached as Exhibit E4 to this Declaration.




   3
           Exhibit D is Plaintiff’s Bates Nos. Vol. 2 150 – 153.
   4
           Exhibit E is Plaintiff’s Bates Nos. Vol. 2 71 – 73.



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          57.     The allegations on the Administrative Action Form and the Allegation of Employee

   Misconduct Form are identical. The City merely corrected a paperwork error.

          58.     On January 19, 2021, I attended a meeting with Plaintiff, Chief Clements, and the

   following individuals:

                            i. Wayne Jones (then Assistant Chief of Police);

                            ii. Lieutenant Paul Ozaeta (then President of the FOP);

                         iii. Sergeant Arley Flaherty, (then FOP First Vice President);

                         iv. Sergeant Reggie Lester, (then FOP Second Vice President);

                            v. Then-Lieutenant Delvin Brown, (then FOP Grievance Chairman); and

                         vi. Lieutenant Steven Cosner.

          59.     At no point during the January 19, 2021, meeting did Plaintiff request an attorney.

          60.     Had Plaintiff or any of her representatives requested an attorney, the meeting would

   have been stopped so that she could have an attorney.

          61.     That said, Plaintiff was represented at the meeting by the top officials in the FOP.

          62.     Said another way, Plaintiff was represented by the FOP’s entire leadership.

          63.     Accordingly, Plaintiff had representation.

          64.     At no point during the meeting did any one of Plaintiff’s four (4) union

   representatives allege that the City was violating Florida Statute § 112.532.

          65.     At no point during the meeting did any one of Plaintiff’s four (4) union

   representatives invoke the provisions of Florida Statute § 112.534.

          66.     Had any one of Plaintiff’s four (4) union representatives invoked the provisions of

   Florida Statute § 112.534, or even implied that there was something improper about the January

   19, 2021, meeting, as the then-Commander of IA, I would have stopped the meeting.




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          67.      On January 20, 2021, I forwarded the Allegation of Employee Misconduct Form to

   Sergeant Arley Flaherty. A copy of my January 20, 2021, email and its attachment are attached as

   Exhibit F5 to this Declaration.

          68.      I forwarded the Allegation of Employee Misconduct Form to Sergeant Flaherty

   because she was then the FOP First Vice President and I wanted Plaintiff’s union representatives

   to have a copy of the correct form.

          69.      Again, the allegations from Lieutenant Cosner did not change, they were just placed

   on the correct form.

          70.      During the January 19, 2021, meeting, Plaintiff stated that the reason she was at the

   main police station so long during her December 27-28, 2020, shift was that she was working on

   Officer Stella’s evaluation.

          71.      Based on information provided by the City’s IT Department, Officer Stella’s

   evaluation was not even created on Plaintiff’s computer until January 10, 2021.

          72.      I documented my finding in an email that I sent to Chief Clements on January 25,

   2021. A copy of my January 5, 2021, email and its attachments are attached as Exhibit G6 to this

   Declaration.

          73.      Additionally, I prepared a PowerPoint regarding my findings as to the allegations

   against Plaintiff. A copy of the PowerPoint that I prepared is attached as Exhibit H7 to this

   Declaration.

          74.      I provided the PowerPoint as Exhibit H to Chief Clements.




   5
          Exhibit F is Plaintiff’s Bates Nos. Vol. 2 74 – 76.
   6
          Exhibit G is Plaintiff’s Bates Nos. Vol. 2 168 – 170.
   7
          Exhibit H is Plaintiff’s Bates Nos. Vol. 2 158 – 167.


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           75.     Ultimately, Chief Clements decided to implement Plaintiff’s Irrevocable Letter of

   Resignation.

           76.     I spoke with Chief Clements about his decision to implement Plaintiff’s Irrevocable

   Letter of Resignation.

           77.     Chief Clements never mentioned, discussed, or even implied that his decision had

   anything to do with the 2020 Charge.

           78.     The reasons Chief Clements implemented Plaintiff’s Irrevocable Letter of

   Resignation are detailed in the letter to Plaintiff dated January 25, 2021. A copy of January 25,

   2021, Letter and its exhibits are attached as Exhibit I, Bates Nos. City 001253 – 001267, to this

   Declaration.

           79.     The January 25, 2021, Letter accurately memorializes what happened at the January

   19, 2021, meeting. See Exh. I.

           80.     I did not consider the 2020 Charge or any complaints of harassment from Plaintiff

   when investigating the allegations against Plaintiff or participating in discussions about

   implementing Plaintiff’s Irrevocable Letter of Resignation.

           81.     Lieutenant Cosner was not a decision-maker regarding Plaintiff.

           82.     Lieutenant Cosner was not consulted about implementing Plaintiff’s Irrevocable

   Letter of Resignation.

           Pursuant to 28 U.S.C. Section 1746(2), I declare under penalty of perjury that the foregoing

   is true and correct.

      Executed on May31, 2024


                                                 _____________________________
                                                 A.J. PRIETO




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                              EXHIBIT A
                 TO DECLARATION OF
                            A.J. PRIETO
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                                                                                  City 001767
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                                     NOVEMBER 12, 2019

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



     1430-0030         1424                        0002                                 28 Min




Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.




                                                                                                 City 001768
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                                     NOVEMBER 19, 2019

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    1430-0030         1448                        2351                                 57 Min




Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.




                                                                                                City 001769
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                                NOVEMBER 20, 2019*

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    1430-0030         1443                        2326                                 77 Min




Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Sgt. Salabarria’s vehicle does not turn on during her shift. Key card shows 1313 at Jail.




                                                                                                City 001770
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                                NOVEMBER 26, 2019

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    1430-0030         1435                        0002                                 33 Min




Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.




                                                                                                City 001771
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                                     DECEMBER 4, 2019

    SHIFT              IN THE CITY                 OUT OF THE CITY                      VIOLATION



    1430-0030         1430                        2338                                 52 Min




Sgt. Salabarria’s vehicle was at home prior to her 09 time and remained in the station after her 06 time.
On this day Sgt. Salabarria drove herself in to work in her police vehicle. Her vehicle did not move during her
shift. Officer Guasto’s AVL shows his vehicle leaving the City at 2338 and arriving home (117 N.W. 42 Ave)
At 2350…forty (40) minutes before the end of Sgt. Salabarria’s shift.




                                                                                                City 001772
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                                     DECEMBER 5, 2019

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    1430-0030         1429                        2259                                 89 Min




Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Officer Guasto’s AVL shows his vehicle leaving the City at 2259 and stops at a City of Miami location. His
vehicle arrives home at 2348…forty eight (48) minutes before the end of Sgt. Salabarria’s shift.




                                                                                                City 001773
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                                     DECEMBER 10, 2019

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    1430-0030         1443                        2237                                 126 Min




Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Officer Guasto’s AVL shows his vehicle leaving the City at 2237 and arriving home at 2354.




                                                                                               City 001774
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                                     DECEMBER 11, 2019

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    1430-0030         1430                        2225                                 125 Min




Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Officer Guasto’s AVL shows his vehicle leaving the City at 2225 and arriving home at 2322.




                                                                                               City 001775
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                                     DECEMBER 17, 2019

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    1430-0030         1430                        2335                                 55 Min




Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Officer Guasto’s AVL shows his vehicle leaving the City at 2335 and arriving home at 2348.




                                                                                                City 001776
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                                     DECEMBER 18, 2019

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    1430-0030         1430                        2314                                 76 Min




Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Officer Guasto’s AVL shows his vehicle leaving the City at 2314 and arriving home at 2342.




                                                                                                City 001777
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                                     DECEMBER 20, 2019

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    1430-0030         1500                        2242                                 138 Min




Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Officer Guasto’s AVL shows his vehicle leaving the City at 2242 and arriving home at 2256.




                                                                                               City 001778
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                                     DECEMBER 27, 2019

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    1430-0030         1430                        2334                                 56 Min




Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Officer Guasto’s AVL shows his vehicle leaving the City at 2334 and arriving home at 2347.




                                                                                                City 001779
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                                     JANUARY 1, 2020

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    1430-0030         1436                        2340                                 56 Min




Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Officer Guasto’s AVL shows his vehicle leaving the City at 2340 and arriving home at 2351.




                                                                                                City 001780
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                                     JANUARY 2, 2020

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    1430-0030         1430                        2257                                 93 Min




Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Officer Guasto’s AVL shows his vehicle leaving the City at 2257 and arriving home at 2309.




                                                                                                City 001781
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                                     JANUARY 3, 2020

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    1430-0030         1430                        2316                                 74 Min




Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Officer Guasto’s AVL shows his vehicle leaving the City at 2316 and arriving home at 2331.




                                                                                                City 001782
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                                     JANUARY 8, 2020

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    1430-0030         1430                        2315                                 75 Min




Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Officer Guasto’s AVL shows his vehicle leaving the City at 2315 and arriving home at 2326.




                                                                                                City 001783
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                                     JANUARY 10, 2020

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    1430-0030         1430                        2111                                 199 Min




Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Officer Guasto’s AVL shows his vehicle leaving the City at 2111 and arriving home at 2122.




                                                                                               City 001784
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                                     FEBRUARY 12, 2020

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    1430-0030         1453                        2230                                 143 Min




Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Officer Guasto’s AVL shows his vehicle leaving the City at 2230 and arriving home at 2245.




                                                                                               City 001785
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                      FEBRUARY 12, 2020




                                                                                  City 001786
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                                     FEBRUARY 13, 2020

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    1430-0030         1430                        2354                                 36 Min




Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Officer Guasto’s AVL shows his vehicle leaving the City at 2354 and arriving home at 0006.




                                                                                                City 001787
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                      FEBRUARY 13, 2020




                                                                                  City 001788
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                                     FEBRUARY 20, 2020

    SHIFT              IN THE CITY                 OUT OF THE CITY                      VIOLATION



    1430-0030(2CL)    1703                        0013                                 35 Min




Sgt. Salabarria’s vehicle was at the station prior to her 09 time and drove it home at 06 time. They both arrive
at the station at 1714 (not in uniform).




                                                                                                City 001789
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                      FEBRUARY 20, 2020




                                                                                  City 001790
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                                     FEBRUARY 21, 2020

    SHIFT              IN THE CITY                 OUT OF THE CITY                      VIOLATION



    1430-0030         1430                        2304                                 86 Min




Sgt. Salabarria’s vehicle was home prior to her 09 time and remained in the station after her 06 time.




                                                                                                City 001791
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                      FEBRUARY 21, 2020




                                                                                  City 001792
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                                        March 8, 2020

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    0630-2000          0630                       1058-1324, 1843-1952 (solo)          215 Min


Sgt. Salabarria’s vehicle was home prior to her 09 time and remained in the station after her 06 time.
Guasto’s vehicle leaves City at 1058 and returns to the station at 1332 via 11 St.(Salabarria on video in car).
At 1814 video shows both Salabarria and Guasto leaving in Guasto’s vehicle via 11 Street. At 1847 Guasto’s
Vehicle arrives at home (117 NW 42 Ave). Guasto returns to station at 1952 via 11 street…video shows solo.




                                                                                               City 001793
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                           March 8, 2020




                                                                                  City 001794
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                                        March 9, 2020

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    0630-2000 (OT)    0630                        1805                                 115 Min


Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Guasto’s AVL shows his vehicle leaving the City at 1805 and arrives home at 1919. Does not return to the City.




                                                                                               City 001795
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                                        March 10, 2020

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    0630-2000 (OT)    0637                        1802                                 125 Min


Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Guasto’s AVL shows his vehicle leaving the City at 1802 and arrives home at 1820. Does not return to the City.




                                                                                               City 001796
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                                        March 12, 2020

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    0630-2000         0637                        1858                                 69 Min


Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Guasto’s AVL shows his vehicle leaving the City at 1858 and arrives home at 1914. Does not return to the City.




                                                                                                City 001797
             Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 42 of 286




                                        March 13, 2020

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    0630-2000         0647                        1836                                 101 Min


Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Guasto’s AVL shows his vehicle leaving the City at 1836 and arrives home at 1848. Does not return to the City.




                                                                                               City 001798
Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 43 of 286




                           March 13, 2020




                                                                                  City 001799
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                                        March 14, 2020

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    0630-2000          0647                       1137-1352, 1901                      211 Min


Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Guasto’s AVL shows his vehicle leaving the City at 1137 and arrives home at 1154. Guasto’s vehicle arrives
back at the station at 1352…Sgt. Salabarria is on video exiting the vehicle (11 Street Canon).
Guasto’s vehicle leaves the City at 1901 and arrives home at 1926. Does not return to the City.




                                                                                               City 001800
Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 45 of 286




                           March 14, 2020




                                                                                  City 001801
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                                         March 15, 2020

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    0630-2000          0641                       1019-1115, 1923                      104 Min


Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Guasto’s AVL shows his vehicle leaving the City at 1019 and arrives at 319 NE 25 St at 1026. Guasto’s vehicle
arrives back at the City at 1115. The vehicle returns to the station with Sgt. Salabarria in the vehicle (video 11
Street). Guasto’s vehicle leaves the City at 1923 and arrives home at 1930. Does not return to the City.




                                                                                               City 001802
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                           March 15, 2020




                                                                                  City 001803
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                           March 15, 2020




                                                                                  City 001804
             Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 49 of 286




                                        March 16, 2020

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    0900-2000 (OT)     0954                       1923                                  91 Min


Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Guasto’s AVL turns on at 0942 at 117 NW 42 Ave (Home) and arrives at the station at 1002. Sgt. Salabarria
goes 09 at 0911 per radio logs. Guasto’s vehicle leaves the City at 1923. Does not return to the City.




                                                                                                 City 001805
Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 50 of 286




                           March 16, 2020




                                                                                  City 001806
             Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 51 of 286




                                        March 17, 2020

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    0630-2000 (OT)     0656                       0831-0949, 1927                       137 Min


Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Guasto’s vehicle leaves the City at 0831 and arrive home (117 nw 42 Ave) at 0844. The vehicle returns to the
City at 0949. The vehicle enters the station at 0955 and Sgt. Salabarria is shown entering the station via the
second floor garage door at 1000. Guasto’s vehicle leaves the City at 1927. Does not return to the City.




                                                                                               City 001807
Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 52 of 286




                           March 17, 2020




                                                                                  City 001808
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                                        March 19, 2020

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    0630-2000 (OT)     0635                       1758                                 127 Min


Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Guasto’s vehicle leaves the City at 1758. Does not return to the City.




                                                                                               City 001809
             Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 54 of 286




                                        March 20, 2020

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    0630-2000 (OT)    0651                        1159-1329, 1632                       319 Min


Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Guasto’s vehicle leaves the City at 1159 and returns to the station at 1359. Sgt. Salabarria is seen inside the
vehicle (11 St. Video). At 1624 Guasto and Salabarria are seen leaving the station via 11 Street (Guasto’s
vehicle) where Salabarria appears to be sleeping in his car. Guasto’s vehicle leaves the City at 1632. The vehicle
arrives home at 1646. Does not return to the City.




                                                                                               City 001810
             Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 55 of 286




                                        March 21, 2020

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    0630-2000 (OT)     0641                       0740-0804, 1127-1459, 1924            293 Min


Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Guasto’s vehicle leaves the City at 0740 and returns to the City at 0804 . Guasto’s vehicle leaves the City again
At 1127 and returns at 1459. Guasto’s vehicle leaves one last time at 1924. Does not return to the City.




                                                                                               City 001811
             Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 56 of 286




                                        March 22, 2020

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    0630-2000 (OT)     0651                       1333                                  408 Min


Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Guasto’s vehicle left the City at 1333. Does not return to the City.




                                                                                               City 001812
             Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 57 of 286




                                        April 22, 2020

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    0730-1855         0827                        1840                                  57 Min


Sgt. Salabarria’s vehicle was at the station prior to her 09 time and remained in the station after her 06 time.
Sgt. Salabarria goes in service at 0813 per radio log and recording. She is observed on video exiting her
residence in Miami (117 NW 42 Ave) at 0818. Sgt. Salabarria is seen exiting Guasto’s vehicle on the roof of the
 station at 0833. Does not return to the City.




                                                                                                 City 001813
Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 58 of 286




                           April 22, 2020




                                                                                  City 001814
Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 59 of 286




                           April 22, 2020




                                                                                  City 001815
    Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 60 of 286




                                 April 22, 2020

934.03 Interception and disclosure of wire, oral, or electronic communications prohibited.—
(1) Except as otherwise specifically provided in this chapter, any person who:(a) Intentionally
intercepts, endeavors to intercept, or procures any other person to intercept or endeavor to
intercept any wire, oral, or electronic communication;




                                                                                          City 001816
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 61 of 286




                                       October 22, 2019

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



   1000-2000         1404                         1757-2016, 2321                      383 Min
   OT Shift
   2000-0000


Officer Guasto enters the city at 1404. Officer Guasto’s vehicle at 2040 NW 108 Ave P. Pines (1852-1947).




                                                                                              City 001817
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 62 of 286




                                       October 23, 2019

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



    1000-2000         0919                        1857-1927, 2220-2354, 0030          53 Min
    OT Shift
    2000-0000


Officer Guasto leaves the city at 1857 (2460 SW 16 CT. Officer Guasto leaves the city at 2220 to a city of Miami
QTH




                                                                                               City 001818
             Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 63 of 286




                                        October 24, 2019

    SHIFT              IN THE CITY                 OUT OF THE CITY                      VIOLATION



    1000-2000         1857                         0006                                  537 Min




 Officer Guasto doesn’t arrive into the city until 1857. Officer Guasto’s vehicle at 2040 NW 108 Ave P. Pines
from 1321-1549, then in Hialeah from 1709-1801.




                                                                                               City 001819
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 64 of 286




                                       October 26, 2019

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION



   1400-0100 OT       1606                        0057                                  126 Min




Officer Guasto doesn’t arrive in the city until 1606 from Pembroke Pines location.




                                                                                              City 001820
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 65 of 286




                                       October 29, 2019

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


   1000-2000         0851                        1650-1933, 1949-2126                  260 Min
   OT
   2200-0000



 Officer Guasto’s vehicle 2040 NW 108 Ave P. Pines from 1743-1832. Officer Guasto’s vehicle at 2543 SW 121
from 2015-2057.




                                                                                              City 001821
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 66 of 286




                                       October 30, 2019

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


   1000-2000          1050                       1302-1400, 1526-1602, 0019             245 Min
   OT
   2200-0000



Officer Guasto’s vehicle in the Hialeah area (East 5 Ave and 51 St.) 1324-1400.




                                                                                              City 001822
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 67 of 286




                                       November 4, 2019

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


   1000-2000          0700                        1427-1928                             301 min




Officer Guasto’s vehicle in the Doral and Miami locations.




                                                                                              City 001823
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 68 of 286




                                       November 5, 2019

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


   1400-0000          1405                         1537-1716, 1755-1932,                 201 min
                                                    2026-2041




Officer Guasto’s vehicle at several Doral and Surfside QTH’s.




                                                                                              City 001824
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 69 of 286




                                       November 6, 2019

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


   1400-0000          1345                         1516-1621, 1631-1846                 378 min
                                                   1912-2210, 0035




Officer Guasto’s vehicle in the Doral, Pembroke Pines and Miami area.




                                                                                              City 001825
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 70 of 286




                                        November 7, 2019

    SHIFT             IN THE CITY                 OUT OF THE CITY                         VIOLATION


   1000-2000           1251                        0024                                   168 min




Officer Guasto’s vehicle in the Miramar and Pines area prior to arriving into the city.




                                                                                               City 001826
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 71 of 286




                                        November 12, 2019

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


   1000-2000           1040                        1336-1424                              88 min




Officer Guasto’s vehicle at 470 East 51 St. at 1350, possibly picking up Salabarria.




                                                                                              City 001827
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 72 of 286




                                       November 13, 2019

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


   1400-0000          1429                         2017-2124, 2141-2236                 150 min




Officer Guasto’s vehicle in the city of Miami area 2018-2124, 2141-2236.




                                                                                              City 001828
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 73 of 286




                                        November 14, 2019

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


   1000-2000           1427                        1847-2031, 2245-2304,                679 min
   OT                                               0010
   00000-0500



Officer Guasto’s vehicle in the Hialeah and P. Pines.




                                                                                              City 001829
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 74 of 286




                                       November 19, 2019

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


   1000-2000          1148                         1338-1445, 1735-1946,                306 min
                                                   2351




Officer Guasto’s vehicle in the Hialeah (470 East 51 St.) and Miami (4101 NW 2nd St.) area.




                                                                                              City 001830
             Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 75 of 286




                                        November 20, 2019

    SHIFT              IN THE CITY                 OUT OF THE CITY                      VIOLATION


   1000-2000           1443                         2326                                 282 min




Officer Guasto’s vehicle in the city at 1403 but key card information indicates keying in at 1252 via 11th St.
gate.




                                                                                               City 001831
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 76 of 286




                                       November 26, 2019

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


   1000-2000           1435                        1849-2038, 0002                       384 min




Officer Guasto’s vehicle at 114 NW 42 Ave and Coral Gables locations prior to arriving in the city.




                                                                                              City 001832
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 77 of 286




                                       November 27, 2019

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


   1400-0000          1346                         2150                                 129 min




Officer Guasto’s vehicle at 115 NW 42nd Ave at 2242.




                                                                                              City 001833
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 78 of 286




                                       November 28, 2019

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


   1700-0300          1600                         2050-2340                            169 min




Officer Guasto’s vehicle at 115 NW 42nd Ave at 2242.




                                                                                              City 001834
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 79 of 286




                                       December 12, 2019

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


  1000-2000           1422                       2228                                  261 min




Officer Guasto’s vehicle at 128 NW 42 Ave and Coral Gables area 1000-1410.




                                                                                              City 001835
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 80 of 286




                                       December 17, 2019

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


  1000-2000           0749                      1247-1424, 2335                         97 min
  2000-2330




Officer Guasto’s vehicle at 128 NW 42 Ave 1315-1406




                                                                                              City 001836
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 81 of 286




                                       December 18, 2019

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


  1000-2000           1033                     1335-1428, 2314                         86 min
  2000-2300




Officer Guasto’s vehicle at 128 NW 42 Ave 1351-1411




                                                                                                City 001837
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 82 of 286




                                       December 19, 2019

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


  1000-2000           1434                    1719-2059, 2341-2354, 0017                  435      min




Officer Guasto’s vehicle at 128 NW 42 Ave 1351-1411




                                                                                              City 001838
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 83 of 286




                                       December 30, 2019

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


   1000-2000          1518                    1632                                     514 min




Officer Guasto’s vehicle turns on at at 128 NW 42 Ave 1507. Back at 117 NW 42 Ave 1649-1749. Officer
Guasto’s vehicle is then in the area of Broward County (Pompano/Ft Lauderdale) 1844-2025.




                                                                                              City 001839
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 84 of 286




                                       January 2, 2020

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


   1400-2000          1428                       1913-2132, 2224-2257                   233 min
   OT
   2000-2330



Officer Guasto’s vehicle at 128 NW 41 Ave (1926-1936), (2146-2213).




                                                                                              City 001840
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 85 of 286




                                       January 6, 2020

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


   1000-2000          1618                       1630                                   588 min




Officer Guasto’s vehicle turns on at 115 NW 42 Ave at 1302. Pembroke Pines area 1427-1511, Midtown area
1710-1736, Home 1825-1907, Coral Gables area 1921-2020.




                                                                                              City 001841
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 86 of 286




                                       January 7, 2020

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


   1000-2000          1034                        2215                                  139 min
   OT
   2000-0000



Officer Guasto’s vehicle in the area of 32 NW 41 Ave (Home) at 2232.




                                                                                              City 001842
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 87 of 286




                                       January 8, 2020

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


   1000-2000          0901                        1058-1437, 2315                       280 min
   OT
   0800-1000
   2000-0000

 Officer Guasto’s vehicle at 128 NW 41 Ave (1119-1210), Coral Gables (1226-1258), back to 128 NW 41 Ave
(1312-1422).




                                                                                              City 001843
             Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 88 of 286




                                        January 13, 2020

    SHIFT              IN THE CITY                 OUT OF THE CITY                      VIOLATION


   1000-2000           1143                        2135                                  218 min
   OT
   2000-2330



Officer Guasto’s vehicle is in the area of 4200 NW 5 St. until 1135. Officer Guasto’s vehicle in the area of 117
NW 42 Ave (home) 2148-2213 and is then in the Coral Gables area until 0037.




                                                                                               City 001844
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 89 of 286




                                       January 14, 2020

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


   1000-2000          0843                        1335-1447, 1805                        230 min
   OT
   0800-1000



Officer Guasto’s vehicle at 117 NW 42 Ave from 1353-1419.
Officer Guasto’s vehicle is then in the Opa Locka (5286 NW 192 LN) from 1856-1955




                                                                                              City 001845
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 90 of 286




                                       January 15, 2020

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


   1000-2000          N/A                        1000-2000                              600 min




 Officer Guasto’s vehicle at home and several QTH’s in the Miami and Broward area. Home at 1533 and never
returns to the city




                                                                                              City 001846
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 91 of 286




                                       January 16, 2020

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


   1000-2000          1323                       1333 Does not return                   589 min




Officer Guasto’s vehicle turns on at 1307 at 117 NW 42 Ave. Vehicle is then a several Miami, Coral Gables,
Hialeah, and Opa Locka locations.




                                                                                              City 001847
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 92 of 286




                                       January 20, 2020

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


   0600-1600          0825                       1442                                    233 min




Officer Guasto’s vehicle turns on at 117 NW 42 Ave at 0812 and returns at 1454.




                                                                                              City 001848
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 93 of 286




                                       January 21, 2020

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


   0800-1800          1001                       1548                                    373 min
   OT
   1800-2000



Officer Guasto’s vehicle turns on at 0942, at 117 NW 42 Ave. Officer Guasto’s vehicle returns to 117 NW 42
Ave from 1609-2018.




                                                                                              City 001849
            Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 94 of 286




                                       February 4, 2020

    SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


   1000-2000          0856                       0946-1437, 1855-2048                   567 min
   OT                                             2211
   0700-1000
   OT
   2000-0000

 Officer Guasto’s vehicle turns on at 117 NW 42 Ave at 0822. Officer Gusatso returns home (1010-1114), Coral
Gables area from 1114-1250. Officer Guasto returns home 1258-1404, is then in the Pembroke Pines area
from 1930-1947. Officer Guasto’s final stop is at 117 NW 42 Ave at 2231.




                                                                                              City 001850
             Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 95 of 286




                                        February 5, 2020

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


    1000-2000          1437                       1930-2049, 2238                         67 min




Officer Guasto uses 4Hrs VAC 1000-1400. Officer Guasto arrives 37 min late and leaves 30 min early.




                                                                                               City 001851
              Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 96 of 286




                                         February 6, 2020

     SHIFT              IN THE CITY                 OUT OF THE CITY                      VIOLATION


    1000-2000            1707                      1909-2135, 2313                        332 min
    OT
    2000-0130


 Officer Guasto’s vehicle is in the Coral Gables area 1400-1510, Hialeah area 1600-1701. Officer Guasto’s
vehicle is in the area of 12553 SW 121 Way 1942-2107. Final QTH of 117 NW 42 Ave at 2347.




                                                                                                City 001852
             Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 97 of 286




                                        February 7, 2020

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


    1430-0030           1427                       1911-2043, 2132                        274 min




 Officer Guasto’s vehicle is in the area of 12553 SW 121 Way 1947-2014. He is home at 2146 and does not
return.




                                                                                               City 001853
             Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 98 of 286




                                        February 11, 2020

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


    1000-2000           0902                       1245-1432, 1857-2202                    292 min




Officer Guasto’s vehicle is at 117 NW 42 Ave 1301-1418. Officer Guasto’s vehicle is then in the Pembroke
Pines area 1946-2133.




                                                                                               City 001854
             Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 99 of 286




                                        February 12, 2020

     SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION


    1000-2000          0919                         1235-1453, 1908-2055,                314 min
    OT                                               2140-2219, 2230
    0800-1000
    OT
    2000-2300


Officer Guasto’s vehicle leaves 117 NW 42 Ave at 0857. Returns to the same location from 1249-1422. Officer
Guasto’s vehicle is then in the Pines area ( 2040 NW 108 Ave) 1947-2023.




                                                                                               City 001855
                Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 100 of
                                                     286




                                          February 13, 2020

     SHIFT              IN THE CITY                 OUT OF THE CITY                      VIOLATION


    1000-2000            0929                        1401-1438, 1515-1555,                  128 min
    OT                                                2128-2219, 2354
    2000-0000




Officer Guasto’s vehicle is at 117 NW 42 Ave 1415-1428. Officer Guasto’s vehicle is at several Miami QTH’s
2138-2219.




                                                                                                City 001856
                Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 101 of
                                                     286




                                          February 18, 2020

     SHIFT              IN THE CITY                 OUT OF THE CITY                      VIOLATION


    1000-2000            1000                        1153-1420, 2207-2309,                 209 min
    OT
    2000-0000




Officer Guasto’s vehicle is at 117 NW 42 Ave 1206-1346. Officer Guasto’s vehicle is at several Miami QTH from
2207-2309




                                                                                                City 001857
                Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 102 of
                                                     286




                                          February 19, 2020

     SHIFT              IN THE CITY                 OUT OF THE CITY                      VIOLATION


    1000-2000            1417                        1434-2012, 0023                       583 min
    OT
    2000-0000




 Officer Guasto’s vehicle turns on at 117 NW 42 Ave 1402. Officer Guasto’s vehicle in the Pembroke Pines area
from 1508-1902 and returns to 117 NW 42 Ave from 1943-1952.




                                                                                                City 001858
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                                          February 20, 2020

     SHIFT              IN THE CITY                 OUT OF THE CITY                      VIOLATION


    1000-2000            1703                        2056-2235, 2321                       558min
    OT
    2000-0000




Officer Guasto’s vehicle turns on at 117 NW 42 Ave 1131. vehicle is then in the Hialeah- Opa Locka areas from
1148-1640. Officer Guasto’s vehicle is at his home QTH from 2119-2215.




                                                                                                City 001859
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                                          February 24, 2020

     SHIFT              IN THE CITY                 OUT OF THE CITY                      VIOLATION


    1000-2000            0919                        0947                                  600min




 Officer Guasto’s vehicle never enters the city during his regular shift. However his vehicle travels to multiple
locations to include 117 NW 42 Ave , Hialeah and Pembroke Pines areas.




                                                                                                City 001860
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                                         February 25, 2020

    SHIFT              IN THE CITY                 OUT OF THE CITY                      VIOLATION


   1000-2000            0919                        1056                                  543 min




Officer Guasto’s vehicles at 117 NW 42 Ave from 1109-1236, and then several QTH’s in Miami and Broward.




                                                                                               City 001861
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                                          February 26, 2020

     SHIFT              IN THE CITY                 OUT OF THE CITY                      VIOLATION


    1000-2000            1017                        1329-1421, 1948-2024,                 216 min
    OT                                                2149
    2000-2330




Officer Guasto’s vehicles at 117 NW 42 Ave from 1350-1417. Vehicle is then at several Miami QTH’s 1948-
2024. Final stop at 117 NW 42 Ave 2209.




                                                                                                City 001862
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                                         February 27, 2020

    SHIFT              IN THE CITY                 OUT OF THE CITY                      VIOLATION


   1000-2000            0814                        1052-1415, 2155                       282 min
   OT
   0800-1000
   OT
   2000-2300


Officer Guasto’s vehicles at 117 NW 42 Ave from (1106-1158, 1306-1403,) 2206 Final.




                                                                                               City 001863
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                                        February 28, 2020

     SHIFT            IN THE CITY                 OUT OF THE CITY                      VIOLATION


    0930-2330 OT         1506                        1949                            557 min




Officer Guasto’s vehicles at 117 NW 42 Ave from 0930-1234. Vehicle is then in the Coral Gables area from
1256-1414. Final location is 117 NW 42 Avr at 2001.




                                                                                               City 001864
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                                                     286




                                          March 3, 2020

     SHIFT              IN THE CITY                 OUT OF THE CITY                      VIOLATION


    0600-1600           0630                        0914-1128, 1418                       266 min




Officer Guasto’s vehicle at City of Miami locations 0933-1128 and then goes to several other Miami locations
after 1418.




                                                                                                City 001865
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                                         March 4, 2020

    SHIFT              IN THE CITY                 OUT OF THE CITY                      VIOLATION


   1000-2000           1118                        1456-1544, 1850                       196 min




Officer Guasto’s vehicle returns home from 1514-1527. Guasto’s vehicle then returns home at 1908 and
doesn’t return to the city.




                                                                                               City 001866
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                                         March 5, 2020

    SHIFT              IN THE CITY                 OUT OF THE CITY                      VIOLATION


   0600-1600           0623                        0937-1020, 1135                      264 min




Officer Guasto’s vehicle is at 266 NW 4 St 0945-1007. His vehicle is then back at 117 NW 42 Ave (home) 1155-
1204 and then in the Pines area (2040 NW 108 Ave) 1237-1434.




                                                                                               City 001867
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                                       March 7, 2020

    SHIFT             IN THE CITY                OUT OF THE CITY                      VIOLATION


   0630-2130 (OT)        0624                    0958-1133, 1848                      257 min




Officer Guasto’s vehicle is at 327 NE 25 St. 100-1051. Officers Guasto’s vehicle is then at 117 NW 42 Ave
1903-1945 and then at a Miami location 2011-2144.




                                                                                             City 001868
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                                       March 8, 2020

    SHIFT             IN THE CITY                OUT OF THE CITY                      VIOLATION


   0630-2230 (OT)      0627                      1058-1324, 1843-1945, 2215            208 min.




Officer Guasto’s vehicle is at 117 NW 42 Ave. (1110-1313) . Officer Guasto’s vehicle then returns home , 1859-
1929.




                                                                                             City 001869
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                                                    286




                                         March 9, 2020

    SHIFT              IN THE CITY                 OUT OF THE CITY                      VIOLATION


   0630-1930            0630                        1805                                     85 min.




Officer Guasto’s vehicle leaves the city at 1805, and proceeds to several Miami-Dade qth’s until he's home at
1919.




                                                                                               City 001870
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                                       March 10, 2020

   SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION

  0630-1630             0637                          1802                                84 MINS.
  OT 1630-1930




Officer Guasto’s vehicle arrives at 117 NW 42 Ave. at 1820, and never returns.




                                                                                             City 001871
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                                       March 12, 2020

   SHIFT             IN THE CITY                 OUT OF THE CITY                      VIOLATION

  0630-1630             0637                          1858                              39 MINS.
  OT 1630-1930




Officer Guasto’s vehicle arrives at 117 NW 42 Ave. at 1910.




                                                                                             City 001872
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                                       March 13, 2020

    SHIFT             IN THE CITY                OUT OF THE CITY                      VIOLATION

   0630-1630             0647                         1836                              281 MINS.
   OT 1630- 2300




Officer Guasto’s vehicle arrives at 117 NW 42 Ave. at 1848 – 1921, he then drives to several locations in Coral
Gables (1921-1932). Officer Guasto then returns home at 2032 and never returns to the city.




                                                                                             City 001873
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                                      March 14, 2020

   SHIFT             IN THE CITY         OUT OF THE CITY                             VIOLATION

  0630-1930 (OT)       0647                1137-1352, 1901                             181 MINS.




Officer Guasto’s vehicle is at 117 NW 42 Ave (1154-1342). He then returns home at 1926.




                                                                                            City 001874
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                                                  286




                                       March 15, 2020

    SHIFT             IN THE CITY         OUT OF THE CITY                             VIOLATION

   0630-2230 (OT)       0641               0837-0956, 1019-1115,1923                   333 MINS.




Officer Guasto’s vehicle leaves the city at 0837 and goes to a city of Miami qth (0846-0849). His vehicle then
goes to 2040 NW 108 Ave (Pines) from 0916 to 0928. He then goes to 319 NE 25 ST. from 1019-1115.
Final qth of 117 NW 42 Ave, 1936.




                                                                                             City 001875
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                                      March 16, 2020

   SHIFT             IN THE CITY         OUT OF THE CITY                             VIOLATION

  0630-1630             0719              0825-0954, 1923                              138 MINS
  OT 1630-1930




Officer Guasto’s vehicle is at 117 NW 42 Ave. from 0837-0941.




                                                                                            City 001876
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                                      March 17, 2020

   SHIFT             IN THE CITY         OUT OF THE CITY                             VIOLATION

  0430-1430             0656              0831-0949,                             224 MINS
  OT 1430-1930




Officer Guasto’s vehicle is at 117 NW 42 Ave. from 0844-0940.




                                                                                            City 001877
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                                       March 19, 2020

   SHIFT             IN THE CITY          OUT OF THE CITY                             VIOLATION

  0630-1630              0635              1758                                        97 MINS
  OT 1630-1930




Officer Guasto’s vehicle leaves the city at 1758 and arrives at 117 NW 42 Ave. at 1836.




                                                                                             City 001878
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                                       March 20, 2020

    SHIFT             IN THE CITY         OUT OF THE CITY                             VIOLATION

   0630-1630             0651             1159-1329, 1632                                289 MINS
   OT 1630-1930




Officer Guasto’s vehicle is at 2780 SW 37 Ave, (1216-1315). Officer Guasto’s vehicle leaves the station at 1632
and arrives home at 1647. He never returns to the city.




                                                                                             City 001879
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                                                   286




                                        March 21, 2020

    SHIFT             IN THE CITY          OUT OF THE CITY                             VIOLATION

   0630-1930 (OT)         0641              0740- 0804, 1127-1459, 1924                 247 MINS




 Officer Guasto’s vehicle leaves the city at 0740 and returns at 0804 via the north end. Officer Guasto;s vehicle
leaves the city at 1127 and goes to 11205 SW 112 Ave from 1153-1224. He then goes to 117 NW 42 Ave. from
1311-1449.




                                                                                              City 001880
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                                                                                City 001881
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                                         April 22, 2020

    SHIFT              IN THE CITY          OUT OF THE CITY                             VIOLATION

   0600-1600            0827                   1730                                     COVID




Date of the Allegation of Employee Misconduct. Officer Guasto is observed dropping off Sgt. Salabarria on the
5th floor of the station. This is during COVID deployment.




                                                                                                City 001882
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                            EXHIBIT B
                TO DECLARATION OF
                           A.J. PRIETO
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                         MIAMI BEACH

                         FOLIGEE
                                                                INTERNAL AFFAIRS REPORT


       I.A. CASE NUMBER:                       2020-010

       M.B.P.D. CASE NUMBER:                   N/A

       COMPLAINANT:                            Office of the Chief of Police

       DATE OF INCIDENT:                       April 22, 2020

       DATE REPORTED:                          April 22, 2020

       DATE RECEIVED BY INTERNAL AFFAIRS:      April 23, 2020

       DATE CASE TOLLED:                       April 23, 2020 (S.O.E)
                                               June 19, 2020 (S.O.E/Exposure)
                                               September 24, 2020
                                               April 27, 2021
)
       DATE CASE UNTOLLED:                     May 27, 2020
                                               September 20, 2020
                                               April 1, 2021
                                               May 11, 2021

       180 DAY EXPIRATION DATE:                 September 21, 2021




       INVOLVED EMPLOYEES:                      Sgt. J. Sgt. Salabarria, ID 1023
                                                Ote. N. Officer Guasto, ID 848
                                                Capt. Steve Feldman, ID 694
                                                Lieutenant J. Rodriguez, ID 768
                                                Lieutenant A. Dahler, ID 533
                                                 Lieutenant S. Flanagan, ID 720
                                                 Lieutenant D. Brown, ID 851
                                                 Lieutenant R. Carvajal, ID 971
                                                Sgt. A. Loperfido, ID 766



           ·<TIGATOR:                           Sergeant A. Descalzo


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       ALLEGATION:                                      The Internal Affairs Office received an
                                                        Allegation of Employee Misconduct
                                                        memorandum from the Operations
                                                        Division where it is alleged that Sgt.
                                                        Jessica Sgt. Salabarria was untruthful
                                                        and was outside of the city when she
                                                        was supposed to be working within
                                                        the city.


       PERSONS INTERVIEWED:                              Capt. Steve Feldman, ID 694
                                                         Lieutenant J. Rodriguez, ID 768
                                                         Lieutenant A. Dahler, ID 533
                                                         Lieutenant S. Flanagan, ID 720
                                                         Lieutenant D. Brown, ID 851
                                                         Lieutenant R. Carvajal, ID 971
                                                         Sgt. A. Loperfido, ID 766
                                                         Ofc. K. Milan, ID 141




)      PERSONS NOT INTERVIEWED:                          Sgt. J. Sgt. Salabarria, ID 1023
                                                         Ofc. N. Officer Guasto, ID 840



       SYNOPSIS:

       On April 23, 2020, the Internal Affairs Unit received an Allegation of Employee Misconduct
       involving Sergeant Jessica Salabarria #1023 that occurred on April 22, 2020. On the date
       of the violation, the department was deployed under the COVID 19 mobilization.
       Lieutenant Dahler realized that Sgt. Salabarria was not at work at the time she was
       supposed to be and attempted to contact her. After several attempts, Lieutenant Dahler
       was able to contact Sgt. Salabarria who stated that she was in the restroom located on
       the 5" floor. Further investigation by Lieutenant Dohler revealed that Sgt. Salabarria was
       untruthful being that she was out of the city when she went in service.

       Further investigation by Internal Affairs revealed. that Sgt. Salabarria would not use her
       vehicle to travel to and from work and would have Officer Nick Guasto pick her up and
       take her home during the course of his shift. Investigatory efforts and evidence gathered
       via Telestaff reports, Trackstar AVLS, Station CCTV, and Entry/Keycard reports revealed
       multiple dates where Sgt. Salabarria and Officer Guasto were outside the city when they
       were supposed to be working within city limits.
)      Multiple interviews were conducted with Sgt. Salabarria's supervisors all of which stated
       that at no point did they authorize her to leave early, arrive late, or work outside of the
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       city. Some of her supervisors also stated that at no point did Sgt. Salabarria mention that
       she was having a hardship getting to and from work.

       Both Captain Feldman and Sgt. Loperfido were interviewed due to them being Officer
       Guasto's supervisors in the Tech Unit. Both supervisors stated that there are specific
       instances where officers assigned to the Tech Unit are allowed to work from home and
       provided examples. After going through all the instances where Officer Guasto was found
       to be out of the City of Miami Beach while working with the supervisors, Sgt. Loperfido
       and Captain Feldman stated that on multiple occasions Officer Guasto took advantage of
       the honor system the Tech Unit operates under.

       After reviewing all of the evidence gathered for the dates of this investigation, it was
       determined that Sgt. Salabarria and Ofc. Guasto working outside of the city during their
       shifts. Sgt. Salabarria's total time working outside of the city was 71.18 hours. Ofc.
       Guasto's total time working outside of the city was 320.11 hours.

       During the course of this investigation, both Sgt. Salabarria and Officer Guasto entered
       into negotiations with the City of Miami Beach. Sgt. Salabarria entered into an agreement
       with the City of Miami Beach under a last chance agreement on December 18, 2020.
       Officer Guasto signed his agreement with the City of Miami Beach on July 7, 2021. See
       Appendix A (Salabarria) and Appendix B (Guasto).




)
       INVESTIGATION:


                                            April 23, 2020

          •   On April 23, 2020, the Internal Affairs Unit received an Allegation of Employee
              Misconduct involving Sgt. Salabarria #1023 that occurred on April 22, 2020. The
              allegations listed are untruthfulness and theft of time. Sgt. Salabarria was
              contacted by Lieutenant Dohler at 0801 hours due to her not being present at roll
              call. Sgt. Salabarria was scheduled to be at the station at 0730. Sgt. Salabarria
              advised Lieutenant Dohler that she was on the 5-floor restroom due to not
              feeling well. Lieutenant Dohler and Lieutenant Flannagan responded to the 5
              floor to check on Sgt. Salabarria's welfare. Upon arriving at the restroom they
              observed the door to be locked. While waiting outside the restroom. Sgt.
              Salabarria then enters the 5" floor via the Range/ Roof south side door. It was
              later determined that the only way to use the female restroom on the 5" floor is
              using a key that Sgt. Salabarria did not have therefore making it impossible that
              she used said restroom.

          •   This investigator was assigned this case and responded to the property window
              and requested that Property Supervisor Stacey Wright provide Key card usage


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              for both Sgt. Salabarria and Officer Guasto at 1448 hours for the time frame of
              10/22/19 thru 03/22/20

          •   At 1515 Sgt Han and I observed Sgt. Salabarria's vehicle parked on the west
              side of the 4" level of the police station facing east on her day off.

          •   Case tolled due to a State of Emergency/COVID-19. See case file for all State
              of Emergency documentation.


                                                 April 24, 2020
          •   Gathering of AVL, Telestaff, and key card data inputted into Microsoft Excel to
              establish inconsistencies such as tardiness.

          •   Began reviewing the MBPD station surveillance video.


                                                 April 30, 2020
          •   AVL reviews were conducted on both Sgt. Salabarria's vehicle (17004) and
              Officer Guasto's vehicle (3391 ). Sgt. Salabarrias's vehicle appears to be
              stationary for multiple days at a time. Officer Guasto's vehicle AVL reveals that
              he uses it on a daily basis and appears to have a final stop of 117 NW 42 Ave on
)             multiple days.
         •    Reviewed station video.


                                                  May 4, 2020

         •    Subject Officer Notification sent to Sgt. Salabarria via email to Lieutenant
              Baldwin.

         •    Subject Officer Notification sent to Officer Guasto via email to Sgt. Loperfido.
              Baldwin.

         •    Reviewed station video.


                                                  May 8, 2020

         •    Received the signed copy of Officer Guasto's Subject Ote. Notification via
              interoffice mail. See the case file for a copy.
                                                 May 11, 2020

         •    Received the signed copy of Sgt. Salabarria's Subj Ote. Notification via inter-
              office email. See the case file for a copy.

         • Reviewed station CCTV video.
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                                                May 18, 2020

          •   During the course of the investigation, this investigator observed that Officer
              Guasto appeared to be using two key cards/ access keys. While reviewing
              station camera footage, this investigator observed that Officer Guasto would
              remove what appeared to be a key card from the visor of his assigned police
              vehicle and use it to enter the garage. A comparison was then done using the
              station video and Officer Guasto's key card audit sheet and several
              inconsistencies were found. These included zero instances where Officer Guasto
              would use his assigned key card to enter the garage.

          •   This investigator requested an audit of all key cards being used to enter the
              parking garage on several dates and specific times where Officer Guasto was
              observed entering the parking garage via station camera and AVL information.
              PEU Supervisor S. Wright assisted in providing me a copy of Access Vendor #2
              key card information which is the key card this investigator suspected Officer
              Guasto was using to enter the building based on information gathered. The
              information on the Access Vendor #2 card was consistent with the times Officer
              Guasto was entering the garage.


                                               May 20, 2020
)
          •   Lieutenant Gil, Sgt. Lemus, and I responded to 117 NW 42 Ave (Sgt. Salabarria
              and Officer Guastos current residence). I met with building manager Mariesly
              Morales (7864495592) to retrieve the video from 4/22/2020, the date of
              occurrence for the Allegation of Employee Misconduct.. Ms. Morales was able to
              provide footage and it was uploaded to the file. While reviewing footage with Ms.
              Morales, she observed Officer Guasto's vehicle on camera and stated that the
              vehicle belonged to a Miami Beach Police Officer. She also stated that his
              girlfriend was also a police officer for Miami Beach. I confirmed the time on the
              CCTV with the live time and it was accurate. Sgt. Salabarria was scheduled to
              work 0730-1855 hours.

         •    I began reviewing the footage provided which revealed the following...
                 1. Sgt. Salabarria walking out of the elevator with Officer Guasto at 08:18
                    hours. Sgt. Salabarria appeared to not be in possession of her duty belt.
                 2. Officer Guasto's vehicle (black unmarked Ford Explorer) is then observed
                    driving through the property's parking garage before exiting.


                                                May 26, 2020

         •    Review of AVL for both Sgt. Salabarria and Officer Guasto. Officer Guasto was
              observed arriving late on 5/22/20.
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          •   The time period for the scope of this investigation was determined to be for dates
              between October 22, 2019, through March 22, 2020, excluding the Super Bowl.

          •   Witness Officer interview conducted at 225 Washington Ave. See below.



              At 1 :55 PM, Sergeant Anthony Loperfido was interviewed as a witness
              officer in this investigation. The interview was conducted at the Miami
              Beach Police Internal Affairs Office, located at 225 Washington Avenue,
              Miami Beach, Florida. Sgt. Luis Corps and I conducted the interview.
              Sergeant Anthony Loperfido provided a sworn recorded statement. The
              following is a synopsis of his statement:
          •   Sgt. Loperfido has been employed by MBPD for 16 plus years.
          •   Currently assigned to the Technical Operations Unit.

          •   Stated that he is Officer Guasto's direct supervisor.
          •   At the time of this interview, per Sgt. Loperfido, Officer Guasto's hours were
              0600-1600. He is assigned to IT duties along with South Pointe park due to the
              COVID-19 deployment mask enforcement duties.
          •   Officer Guasto is supposed to report to Southpoint Park by 0730. Prior to 0730,
              he is to complete administrative tasks.
)
          •   No roll call at the beginning of the shift.

          •   Per. Sgt. Loperfido, Officer Guasto had been approved for time off for a previous
              engagement (father's birthday).
          •   Advised that if Telestaff shows Officer Guasto checked in by Loperfido, then he
              did check him in for 5/20/20.

          •   Sgt. Loperfido stated that if there were to be an adjustment to any of his
              employee's schedules, he would be made aware.
          •    Loperfido stated that it was common practice for his employees to advise him if
              they were running late or weren't going to come into work.

          •   Stated that if Officer Guasto was 1 hour and 42 minutes late on 5/20/20, he
              would've been made aware.

          •   Stated that Officer Guasto was working a full 10 hour day and had no approved
              time off.


      The interview was concluded at 2:06 PM. (Refer to the case file for the entire
)     recorded statement).


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                                             May 27, 2020

          •   The case was un-tolled.




                                             May 28, 2020

          •   Contact made with MBPD Union President Milan to meet at 225 Washington Ave
              with Officer Guasto. Officer Guasto responded to the Internal Affairs Office where
              he surrendered most of his issued equipment to Internal Affairs. The property
              was impounded under MBPD CS# 2020-39921 with PEU J8. Mahle 884. His
              vehicle# 3391 was also impounded. Lieutenant Jorge Garcia was advised.

          •   Commander Prieto asked for Departmentally issued Entry Cards. Officer Guasto
              surrendered the one assigned to him. When asked if he had another one, he
              stated that he might have one at home. (NOTE) He is observed entering the
              station garage on 5/28/20 using the card he keeps on his driver-side visor. When
              the vehicle was inventoried, the card was not in the vehicle. After speaking with
              union representation, Officer Guasto surrendered said entry card to FOP Pres.
              Milan who in turn turned it over to IA. The entry card was confirmed to be the
              Access Vendor# 2 card.

          •   When asked about his city-issued laptop computer, Officer Guasto stated he did
)             not have one. That whenever work had to be done, he would connect virtually.
              After speaking with FOP Pres. Milan, Officer Guasto surrendered the Mac Book
              Pro that was assigned to him.
          •   When asked about a city-issued cell phone (Apple iPhone) he surrendered it.
          •   All of the property that was surrendered on this date was impounded at PEU with
              the assistance of PEU technician John Mahele. See case file for property
              receipts and documentation.

          •   An administrative review of Officer Guasto's city-issued laptop and cell phone in
              accordance with SOP# 10A was conducted by Sgt. Daniel Han. A review of the
              cell phone revealed a recorded conversation between Sgt. Salabarria and
              Lieutenant J. Rodriguez on an unknown date.
          •   Officer Guasto was relieved of duty. All documents were signed with FOP
              President Milan present. See case file for documentation. Officer Guasto
              completed the Memorandum and provided a current home address of 117 NW
              42 Ave #1008 in the City of Miami.
          •   Item# 18 (USB) was signed out reference investigation. NCR completed.


                                                June 2, 2020

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          •   FOP President Milan contacted me to surrender additional issued equipment that
              Officer Guasto had in his possession. All property was impounded at PEU with
              the assistance of technician John Mahle. See the case file for property receipts.

          •   Witness Officer interview conducted at 225 Washington Ave with Lieutenant Jack
              Rodriguez.

              At 8:36 PM, Lieutenant Joaquin Rodriguez was interviewed as a witness
              officer in this investigation. The interview was conducted at the Miami
              Beach Police Internal Affairs Office, located at 225 Washington Avenue,
              Miami Beach, Florida. Sgt. Janelle Delgado and I conducted the interview.
              Lieutenant Joaquin Rodriguez provided a sworn recorded statement. The
              following is a synopsis of his statement:

          •   Lieutenant Rodriguez has been a supervisor for almost 10 years

          •   Stated that he has never authorized any employee to record him during a phone
              conversation.

          •   The recording with Sgt. Salabarria and Lieutenant Rodriguez was played for
              Rodriguez.

          •   Rodriguez acknowledged that he is the male voice heard in the phone
              conversation.

)         •   Rodriguez stated that the conversation was in reference to a day off request that
              "she" had made not within her chain of command. When asked who he was
              referring to when he said "she" he stated Sgt. Salabarria.

          •   Rodriguez stated that he did not authorize Sgt. Salabarria to record this
              conversation.

          •   Rodriguez stated that he did not authorize anyone to record the conversation.

      The interview was concluded at 8:47 and no further questions were asked. (Refer
      to the case file for the entire recorded statement).


                                            June 1 O, 2020
         •    Resubmitted evidence Item# 18 (USB) back into PEU under IA evidence.



                                            June 17, 2020
         •    Review of AVL and Station CCTV.



                                            June 22, 2020


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          •   Completed downloading of all available Station CCTV for the time period of
              2/11/20 through 03/22/2020.

          •   Reviewed station CCTV and AVL.

          •   Requested recordings from Nuria Diaz of PSCU via landline for 4/22/20 ( date of
              the Allegation of Employee Misconduct). Recordings were made available the
              same day and picked up by this investigator.

              I reviewed the recordings which consisted of Main Channel 1,2, and Supervisor
              Channel 13 between 0630 and 1030 hours. Once the review was completed, I
              compared the audio to the CCTV footage of Sgt. Salabarria and Officer Guasto
              leaving their apartment located at 117 NW 42 Ave in Miami.

              Time              Audio Recording                        117 NW 42 Ave CCTV

              08:13   Sgt. Salabarria goes 09 and states in                      N/A
                         Area 4. (Recording time 16:30)
              08:18                    N/A                    Sgt. Salabarria and N. Officer Guasto
                                                              were observed walking out of the
                                                              elevator at 117 NW 42 Ave. No gun-
                                                              belieutenant on, just a radio.
              08:30- Lieutenant Dahler raises Sgt.            Sgt. Salabarria and N. Officer Guasto
)             08:35 Salabarria on PD Main at 08:30            were observed driving into the station via
                     (recording time 21 :23) to have her      12 St. They proceed to drive up to the 5/
                     QSY to Channel 13. At 08:31              floor where she observed exiting the
                     (recording time of 22:36) Sgt.           passenger side door of the vehicle. She
                     Salabarria is asked what her QTH is,     is then observed walking into the range
                     and she asks Dahler if he's on the
                                                              via the helipad where she is
                     first floor. Dahler responds by asking
                                                              encountered by Lieutenant Dahler and
                     her for her QTH again and she states
                     05. Dahler asks where and she states     Lieutenant Flanagan. Note: Sgt.
                     range bathroom. Dahler responds by       Salabarria is never observed in the fifth-
                     having her raise him when she's out      floor bathroom before her arrival at the
                     of the restroom or to come to the        station at 08:34
                     second floor.




                                             July 23, 2020

          •   The scope of this investigation was for the time period between October 22,
              2019, through March 22, 2020, and April 22, 2020. While reviewing AVL,
              Telestaff, and Station CCTV, it was determined that Sgt. Salabarria and Officer
              Guasto were leaving the city while on duty on several occasions without the
              approval of a supervisor.

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                                             August 3, 2020

          •   I requested all overtime slips for Sgt. Salabarria and Officer Guasto for the time
              period between October 22, 2019, through March 22, 2020, via payroll employee
              Yamilet Acosta. All overtime slips were received the same day. NOTE: There
              were no physical overtime slips for the month of March due to the spring
              break deployment. All entries were done directly through Telestaff.

                                             August 5, 2020

          •   During the course of the investigation, multiple resources were used in order to
              determine whether Sgt. Salabarria and Officer Guasto were outside of the city
              limits during work hours. Trackstar AVLS, Telestaff, Key card reports, station
              CCTV, and the CCTV from Officer Guasto and Sgt. Salabarria residence were
              used. This calculated to the below-listed amount of hours that Sgt. Salabarria
              and Officer Guasto were outside of the city limits.

              Sgt. Salabarria- 71.18 Hours
              Officer Guasto- 320.11 Hours

              See the case file for the Microsoft Excel Sheet describing each incident in
              detail.

                                            August 6, 2020
)
          •   Subject Officer Notification of Interview emailed to Sgt. Salabarria via Lieutenant
              Flanagan at 8: 13 PM. The email consisted of the interview notification and a copy
              of the Officer Bill of Rights. The interview was scheduled for August 20, 2020, at
              11AM.

          •   Subject Officer Notification of Interview emailed to Officer Guasto via FOP
              President Milan at 8:38 PM. The email consisted of the interview notification and
              a copy of the Officer Bill of Rights. The interview was scheduled for August 24,
              2020, at 11AM

                                               August 7, 2020

          •   FOP President Milan responded to the Subject Interview Notification advising me
              that the FOP attorney would not be available for either interview for the dates
              scheduled. I responded to Milan advising him that a mutually agreed interview
              date would be discussed and scheduled for a later date.

                                               August 10, 2020

          •   Received a signed Subject Officer Notification of Interview from Sgt. Salabarria
              via city email. See the case file for a copy of the signed notification.
0         •   Review of Station CCTV, AVL, and keycard information in preparation for
              interviews.
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                                            August 12, 2020

          •   FOP President Millian contacted me to discuss dates of availability for the FOP
              attorneys as it pertains to both Subject Officer interviews. The new dates were
              taken into consideration and a new Subject Officer Notification of Interviews was
              sent.

          •   Sgt. Salabarria was notified of a new interview date via city email through
              Lieutenant Flanagan. The new interview date was scheduled for August 27,
              2020, at 11 AM.

          •   Officer Guasto was notified of a new interview date via city email through FOP
              President Milan. The interview was scheduled for September 3, 2020, at 11AM

       At 1043 AM, Lieutenant Joaquin Rodriguez was interviewed as a Witness Officer
       in this investigation. The interview was conducted at the Miami Beach Police
       Internal Affairs Office, located at 225 Washington Avenue, Miami Beach, Florida.
       Sgt. Daniel Han and I conducted the interview. Lieutenant Joaquin Rodriguez
       provided a sworn recorded statement. The following is a synopsis of his
       statement:

          •   During the time period between October 22, 2019, through Spring Break 2020,
)
              Lieutenant Rodriguez was assigned to the Operations Division as a Lieutenant
              on afternoons
          •   Part of the responsibilities of being a Lieutenant is staffing and approving time off
              on Telestaff.
          •   A Sergeant would request time off via Telestaff, word of mouth, or an email.
          •   Lieutenant Rodriguez stated that if an officer or Sergeant needed time off at the
              beginning, middle, or end of the shift, he would need to be notified.
          •   Time would be deducted from the officer's time bank by Telestaff.
          •   Lieutenant Rodriguez stated that he has supervised Sgt. Salabarria while he was
              on afternoons during the above-mentioned time period.


               Date                 Supervisor Yes or    Approved time Yes or No
                                    No
               10/23/19             Yes                  No
               10/25/19             Yes                  Yes/ Alternate used
)              10/30/19             Yes                  Yes/1.5 hours Atlernate
               10/31/19             No                   No

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                11/1/19                  Yes                  No
                11/6/19                  Yes                  No
                11/7 /19                 Yes                  No
                11/8/19                  Yes                  No
                11/14/19                 Yes                  No
                11/15/19                 Yes                  Yes/Vacation Days
                11/20/20                 Yes                  No
                11/27 /19                Yes                  No
                11/28/19                 Yes                  No
                12/4/19                  Yes                  No
                12/5/19                  Yes                  No
                12/11/19                 Yes                  No
                12/12/19                 Yes                  Y es/ CL 2300-0030
                12/18/19                 Yes                  No
                12/26/19                 Yes                  No
                12/27 /19                Yes                  No
                1/1/20                   Yes                  No
)               1/2/20                   Yes                  No
                1/3/20                   Yes                  No
                2/20/19                  Yes                  Yes/ CL 1430-1630
                2/26/20                  Yes                  No
                2/27/20                  Yes                  No
                2/28/20                  Yes                  No




            •     Responsibilities of an area Patrol Sergeant include monitoring personnel and
                  radio     traffic,   approving   reports,   and   administrative   tasks with   their
                  subordinates. On occasion, Sergeants respond to calls and check on their
                  officers.
            •     Patrol Sergeants can leave their assigned area with permission from the shift
                  commander. Examples include: Eating out of the zone while they still monitor
                  the radio.
            •     A Patrol Sergeant is required to be in the city to monitor the radio.
            •     Lieutenant Rodriguez has never seen Sgt. Salabarria inside Officer Guasto's
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                  vehicle.
              •   Patrol Sergeants are not allowed to leave the city without the shift commanders'
                  permission.
              •   A supervisor working 1430-0030 must be at the station at 1430. If there was an
                  issue where they are running late, they must notify the shift commander.
              •   A supervisor working 1430-0030 is allowed to leave the city 15 min before the
                  end of the shift (0015) from within the city limits.


       The interview was concluded at 1117 hours and no further questions were asked.
       (Refer to the case file for the entire recorded statement).

                                             August 13, 2020

       At 1202 PM, Sgt. Loperfido was interviewed as a Witness Officer in this
       investigation. The interview was conducted at the Miami Beach Police Internal
       Affairs Office, located at 225 Washington Avenue, Miami Beach, Florida. Sgt.
       Jorge Lemus and I conducted the interview. Sgt. Loperfido provided a sworn
       recorded statement. The following is a synopsis of his statement:

          •   Sgt. Loperfido (Loperfido) is the Sergeant that supervises the Tech Services Unit.
)             This includes the Technical Operations section and the Information Systems
              section.

          •   Approving time off for his employees is one of his duties.

          •   Loperfido stated that he should be made aware if one of his employees is
              working outside of the city limits.
          •   Has been Officer Guasto's immediate supervisor for approximately 3 years.
          •   All requests for time off can be made via Telestaff, word of mouth, or a "sticky
              note" on Loperfido's desk.
          •   If time off is approved, the time would be deducted from the employee's time
              bank via Telestaff.
          •   All of his employee's work hours fluctuate depending on the type of projects they
              are working on.
          •   Loperfido advised that he was certain that at times he had employees under his
              supervision working without his knowledge.
)         •   When it comes to his employees being at work, Sgt Loperfido stated "I only
              know what I know" and stated that his unit works with a "tremendous honor

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              policy".
)         •   Tech Services does not complete a daily log or any document that advises
              Loperfido of tasks that have been completed due to not having time to fill one out
              and because it is not required. He stated that all of his employees are self-
              directed.
          •   Tech Services employees are allowed to work from home. Loperfido stated that
              the unit was given this direction over 13 years ago. He also stated that the
              organization doesn't care if you are sitting at home in your bed, as long as the
              work gets done.
          •   When asked about specific work locations outside of the city, he stated that no
              specific location was known but that the tech unit is based on the "honor policy".
          •   Loperfido stated that if an employee felt that they could complete a task more
              efficiently out of the city, they were allowed to do it.
          •   Tech Services does not hold a roll call. When asked where Officer Guasto should
              be at the beginning of his shift, Loperfido stated "working".


)      Sgt. Loperfido was then provided Telelstaff printouts and overtime slips for dates that
       Officer Guasto worked in the timeframe between October 22, 2019, through March 22,
       2020. Sgt. Loperfido stated that he had no recollection regarding approval or
       disapproval of time off requests for the past 9 months.

          •   Loperfido stated that it would have been acceptable for employees under his
              supervision to work from home pre, post, and during the COVID-19 deployment.
          •   When asked if there was a lack of supervision within Tech Services, Loperfido
              responded stating " we have is a lack of our agency to take care of our people
              and minimize the amount of workload they put on them".


       After a brief recess, Loperfido stated that he takes his job personally and that he was in
       the position he was in due to Officer Guasto doing something that he shouldn't have
       done. He then stated that he felt that Officer Guasto took advantage of the "honor
       policy", of him, and of the Tech Service Unit.


       Loperfido was then asked about multiple dates where Officer Guasto leaves the city
       during his shift and goes to multiple locations throughout Miami Dade and Broward

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       County. Loperfido stated that he had no recollection of being notified nor had any
       documentation regarding Officer Guasto being outside city limits during work hours. On
       multiple occasions, Sgt. Loperfido stated that the locations Officer Guasto was
       responding to had nothing to do with work. These locations include numerous locations
       in Pembroke Pines (previous residence), Hialeah, Opa Locka, Miami, Unincorporated
       Dade, and Coral Gables.


       Loperfido was then given multiple examples of Officer Guasto leaving the city during his
       shift and responding to the area of 117 NW 42 Ave Miami, Fl which at the time of this
       interview is where Officer Guasto currently resides with Sgt. Salabarria. When advised
       that Officer Guasto was leaving the city to pick up Sgt. Salabarria to bring her to work,
       Loperfido advised that he knew a handful of times. He also stated that he had approved
       of Officer Guasto's actions, but only for a couple of times not as many times as had
       occurred.


       Loperfido was then asked if that was based on the information provided to him, did he
)      feel that Officer Guasto took advantage of him. He replied, "Yes, there is some very
       clear, taking advantage of me". I then asked Loperfido if this behavior was common
       practice within the Tech Services Unit and he stated "no".


       During this investigation, Officer Guasto was observed using a vendor key card to enter
       the parking garage. He would then use his assigned key card to enter the building.
       When asked if there would be any logical explanation as to why a Tech Officer would
       use an unassigned key card, Loperdifo stated "yes". He explained that Tech Services is
       assigned two (2) vendor key cards to issue to vendors working on projects within the
       building. Loperfido has one card and Officer Guasto had the other. Loperfido stated that
       because he is a "lazy" person, he maintains custody of his vendor key and keeps it in
       his vehicle's visor to use when entering the parking garage. Loperfido then stated that
       he authorized Officer Guasto to possess the vendor key card.


       I then asked Loperfido who authorized Officer Guasto to use the vendor key card for his
       personal use. He replied by stating that nobody authorized him. The card is assigned to
       his unit, and it's in his possession so he uses it. I then asked Loperfido if the purpose of
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       a vendor card was solely for vendors and he stated "yes".


       The interview was concluded at 1536 hours and no further questions were asked.
       (Refer to the case file for the entire recorded statement, interview transcript, and
       the spreadsheet highlighting specific dates of violations.).


                                            August 14, 2020


       At 1 :11 PM, Lieutenant Scott Flanagan (Flanagan) was interviewed as a Witness
       Officer in this investigation. The interview was conducted at the Miami Beach
       Police Internal Affairs Office, located at 225 Washington Avenue, Miami Beach,
       Florida. Sgt. Jorge Lemus and I conducted the interview. Lieutenant Scott
       Flanagan provided a sworn recorded statement. The following is a synopsis of
       his statement:


       •   Flanagan has been employed by MBPD for 19+ years
       •   He has been a Lieutenant on patrol for five years.
       •   Approving time off and staffing is part of the responsibilities of a Patrol Lieutenant.
       •   Flanagan stated that employees would notify him via Telestaff, email, or word of
)
           mouth to request time off.
       •   Flanagan is usually notified if a subordinate needed time off before their shift.
           Example: A Sergeant calling the sick line requesting an hour off.
       •   If employees needed time off during their shift or toward the end of the shift, he
           (Lieutenant) must be notified.
       •   Time off would be deducted via Telestaff record. No other way the time off would be
           documented.
       •   Flanagan has supervised Sgt. Salabarria while he was a lieutenant.
       •   Flanagan stated some responsibilities of an area patrol sergeant include attendance
           and assigning daily assignments and tasks. Keeping the lieutenant posted with
           updates about any significant incidents, monitoring the radio and their personnel, and
           communicating with other supervisors in reference to personnel and calls and time-
           off requests.
       •   Sgt. Salabarria has never communicated any hardships about her commute to and
           from work.
       •   Area patrol sergeants are allowed to leave their zone. An example would be to eat

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            out of their zone. Flanagan also stated that a sergeant is allowed to leave the zone
            without notifying a lieutenant if he/she is having lunch in Area 1 while being assigned
            to Area 4. If they are going to the middle or north from the south, he should be notified.
        •   Doesn't recall seeing Sgt. Salabarria inside of Officer Guasto's assigned police
            vehicle first hand. Flanagan then referred to the incident that took place on April 22,
            2020, where he observed Sgt. Salabarria exiting a dark-colored SUV in the station
            parking lot that he suspected was Officer Guasto's vehicle via station CCTV.
        •   Flanagan stated that a patrol area sergeant is not allowed to leave the city without
            notifying the shift commander/Lieutenant
        •   An area patrol sergeant scheduled to work 0630-2000 hours must be at the station
            at 0630 and no later. If the sergeant encountered an issue where they can't make it
            to work on time, they would need to notify the shift commander.
        •   If an area patrol sergeant is working 0630-2000 hours, they are allowed to leave 15
            min before the end of their shift. In this case, it would be 1945 and from within city
            limits.
        •   A patrol sergeant must be in the city while working patrol overtime.
)
            Date        Supervisor Approved         Did you    Did you     Were        Should
                        Yes or No time Yes          Approve    approve     you         she had
                                   orNo             time       her to      aware       made
                                                    Yes or     leave       she was     you
                                                    No         the city    Out of      aware?
                                                               Yes or      the city
                                                               no
            3/5/20      Yes            No           No         No          No          Yes
            3/6/20      Yes           No            No         No          No          Yes
            3/7/20      Yes           No            No         No          No          Yes
            3/12/20     Yes           No            No         No          No          Yes
            3/13/20     Yes           No            No         No          No          Yes
            3/14/20     Yes           No            No         No          No          Yes
            3/19/20     Yes           No            No         No          No          Yes
            3/20/20     Yes           No            No         No          No          Yes
            3/21/20     Yes           No            No         No          No          Yes
            Refer to  Dealing
            questions with
2                     4/22/20
            4/22/20   No              No            No         No          No          Yes

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       All of the below statements are about the Allegation of Employee Misconduct for
       the events that transpired on April 22, 2020.


        •       Lieutenant Flanagan stated he was working as the Area 1 Lieutenant on 4/22/2020
                working 0530-1655 hours during the COVID deployment.
        •       Lieutenant Dahler and Baldwin were also working. Per Telestaff, Sgt. Salabarria was
                assigned to Lieutenant Dahler on 4/22/2020.
        •       Before Sgt. Salabarria's scheduled time, she did not notify Lieutenant Flanagan that
                she would be late. Lieutenant Flanagan did receive an email from Sgt. Salabarria an
                hour or more after she arrived at the station requesting that an hour of compensatory
                leave time be deducted from her time bank. Lieutenant Flanagan emailed me a copy
                of that email. See the case file for a copy of the email. As of this date, there was
                no entry into Telestaff to reflect the time deduction.


       The statements below are what Lieutenant Flanagan recalls as his involvement with the
       Allegation of Employee Misconduct.
)           •     Lieutenant Flanagan was contacted by Lieutenant Dahler informing him to respond
                  to the first floor of the station garage at approximately 0800 about assisting him in
                  locating Sgt. Salabarria who had not reported to work and was scheduled to be at
                  the station at 0730.
            •     Lieutenant Flanagan acquired Sgt. Salabarria's car number and conducted an AVL
                  check. The AVL check revealed that the vehicle was in the station on the second
                  floor and that it hadn't moved since April 2, 2020.
            •     Lieutenant Flanagan stated that Dahler called and raised Sgt. Salabarria on the
                  radio and she stated that she was in the range/fifth-floor bathroom.
            •     Lieutenant Flanagan and Dahler proceeded to go to the fifth-floor bathroom area.
                  They noticed that both bathrooms were locked. They proceeded to knock on the
                  door and received no answer. At this point, Lieutenant Flanagan became
                  concerned for Sgt. Salabarria's well being and went downstairs to PEU to get a
                  key for the bathroom. When he got back up to the fifth floor, the bathroom door
                  had been opened by who he recalls as range personnel. The women's bathroom
)
                  was vacant. Sgt. Salabarria was then observed by Lieutenant Flanagan enter the
             fifth floor via the doors leading into the hallway from the helipad/roof. According to
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              Lieutenant Flanagan, she appeared nervous. She stated that she was
              embarrassed and had to get fresh air because she didn't feel well possibly because
              of some diet pills she had taken. Lieutenant Flanagan then stated that both he and
              Lieutenant Dahler asked Sgt. Salabarria if she needed medical attention and she
              stated that she was fine.
          •   Lieutenant Flanagan then asked Sgt. Salabarria if she was inside the bathroom
              and she stated "yes". When asked who was in the bathroom now since it was
              locked, she stated that she possibly locked it by mistake when she walked out.
              Lieutenant Flanagan found this suspicious due to the lock being a deadbolt which
              meant that it had to be physically locked from the inside once the door was shut or
              with a key from the outside.
          •   Lieutenant Flanagan went to the Lieutenants office where he asked Lieutenant
              Baldwin, who has access to the camera system, to review the station cameras.
              Lieutenant Baldwin then reviewed the cameras with Lieutenant Flanagan present.
              Footage from the fifth-floor hallway leading to the bathroom was reviewed previous
              to Lieutenant Flanagan and Dohlers' arrival. Sgt. Salabarria was never observed.
)             The first time she is observed entering the fifth floor is when she walked in via the
              roof/helipad door. At this point, Lieutenant Flanagan determined there was a
              problem.
          •   Further investigation into the camera footage, revealed Sgt. Salabarria exiting a
              dark-colored SUV with dark tints (assumed to be Officer Guasto's vehicle) on the
              floor just below the helipad. She is then observed walking up the stairs and walking
              into the building via the fifth floor/ helipad door.
          •   Lieutenant Flanagan conducted an AVL check of Officer Guasto's vehicle. (Refer
              to the Allegation of Employee Misconduct). Lieutenant Flanagan stated that the
              AVL check of Officer Guasto's vehicle is consistent with the time frame in which
              Sgt. Salabarria is observed exiting the black SUV and entering the station.
          •   Lieutenant Flanagan stated that according to the Lieutenant's investigation with
              AVL and camera footage, Sgt. Salabarria couldn't have been in the city at 0813
              hours which is when she went into service on channel 1 (Radio Logs and
              Recording of Channel 1 on file).
)         •   On April 22, 2020, the department was operating under the COVID 19 deployment.
             Which meant there were 2 start times for officers (0600 and 0800{Flanagan and
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          Baldwin}) and two for supervisors (0530-0730 {Dahler and Sgt. Salabarria}).
      •   Roll Call was conducted daily. One at 0600 on the first floor of the station where
          officers would have their temperature checked, and checked in by their
          supervisors. The second would be at 0800 where the same procedure was
          conducted. Sgt. Salabarria was scheduled to be at work at 0730 and to be at roll
          call at 0800.
      •   All officers and supervisors were aware of the times and locations of their roll calls.
      •   Lieutenant Flanagan stated that he knew that a key was needed for the bathroom
          on the fifth floor due to recognizing that it used a deadbolt. This would make it
          impossible to lock the door from the outside unless someone had a key.
      •   Lieutenant Flanagan believes the statements provided to him by Sgt. Salabarria
          were untruthful.
      •   Based on the information gathered by Lieutenant Flanagan (camera footage, AVL,
          and statements) he believed Sgt. Salabarria was running very late on 4/22/20. For
          the past month, she had been riding with Officer Guasto to and from work. Around
          the times that Sgt. Salabarria is supposed to report to work, Officer Guasto's AVL
          is observed leaving 117 NW 42 Avenue Miami, FL (later identified as Officer
          Guasto and Sgt. Salabarria home) and coming into the city. Taking about 20
          minutes.
     •    On 4/22/20, Officer Guasto's vehicle is observed (AVL) leaving the same 117 NW
          42 Ave Miami, FL and taking approximately 20 min to come to the station. The AVL
          indicated that Officer Guasto's vehicle traveled east on 11h 1 Street, bypassed the
          11/Street gate, traveled northbound on Washington, then west on 12 Street, and
          enter the station via the 12 Street gate. Lieutenant Flanagan then stated that he
          was advised that the 12" Street gate cameras were not operating at the time.
     •    Lieutenant Flanagan stated that he believes that Officer Guasto and Sgt.
          Salabarria purposely entered via the 12 Street gate to avoid being captured on
          the key card access/camera.


  The interview was concluded at 1 :54 PM and no further questions were asked. (Refer
  to the case file for the entire recorded statement and the email).




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                                                 August 17, 2020

           At 1031 AM, Lieutenant Gregory Baldwin was interviewed as a witness officer in
           this investigation. The interview was conducted at the Miami Beach Police
           Internal Affairs Office, located at 225 Washington Avenue, Miami Beach, Florida.
           Sgt. Daniel Han and I conducted the interview. Lieutenant Gregory Baldwin
           provided a sworn recorded statement. The following is a synopsis of his
           statement:



              •   Lieutenant Baldwin has been employed by MBPD for 27 years. He has been a
                  Lieutenant for 5.5 years.
              •   Currently assigned to the patrol division as a lieutenant.
              •   Approving time off and staffing is part of the responsibilities of a patrol lieutenant
              •   If time off is needed, employees would notify him (Lieutenant) via Telestaff, email,
                  or word of mouth.
              •   If an employee needed time off at the beginning of the shift, Lieutenant Baldwin
                  would be notified via sick line or directly.
              •   If employees needed time off during their shift or toward the end of the shift, he
    )             (lieutenant) would need to be notified via word of mouth or Telestaff.
              •   Time off would be deducted via Telestaff record to his understanding as he isn't
                  the one that directly deducts the time.
              •   Lieutenant Baldwin has supervised Sgt. Salabarria while he was a lieutenant on
                  patrol.
              •   Sgt. Salabarria has never communicated any hardships about her commute to and
                  from work.
              •   An area patrol sergeant is allowed to leave their zone on occasion ( meal break,
                  or if they are requested. The lieutenant should ideally be notified but not 100
                  percent of the time.
              •   A patrol sergeant must be in the city while working patrol overtime.




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              Date        Supervisor Yes   Approved   Did you   Did you    Were       Should
                          or No            time Yes   Approve   approve    you        she had
                                           or No      time      her to     aware      made
                                                      Yes or    leave      she was    you
                                                      No        the city   Out of     aware?
                                                                Yes or     the city
                                                                no


              4/22/20     No/Lieutenant    No         No        No         No         Yes/
                          Dohler                                                      Should've
                                                                                      advised



               All of the below statements are in reference to the Allegation of
               Employee Misconduct for the events that transpired on April 22,
               2020.

          •    Sgt. Salabarria was scheduled to work 0730-1855 hrs. She should have been at
               the station at 0730 conducting administrative tasks until Roll Call at 0800.

          •    Lieutenant Baldwin was scheduled to be the early lieutenant 0530-1655 hours.
)
          •    All employees were aware of the times and locations of roll call.

          •    Lieutenant Baldwin stated he was working as the Area 3 lieutenant on 4/22/2020
               working 0530-1655
          •    Lieutenant's. Dahler and Flanagan were also working. Per Telestaff, Sgt.
               Salabarria was assigned to Lieutenant Dahler on 4/22/2020.
          •    Before Sgt. Salabarria's scheduled time, she did not notify Lieutenant Baldwin that
               she would be late.
          •    Lieutenant Baldwin was assigned to Areas 2 and 3. He responded to the NESS to
               conduct a roll call. He was then notified by either Lieutenant Dahler or Flanagan at
               approximately 9 AM to review station cameras due to Sgt. Salabarria arriving late
               to work.

          •    Lieutenant Baldwin responded to headquarters and began reviewing camera
               footage based on the information provided to him by Lieutenant's. Dahler and
               Flannagan.




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          •   Lieutenant Baldwin observed Sgt. Salabarria exit a black-colored unmarked SUV
)             on the fifth floor. He then observed her enter the range via the helipad/roof
              entrance.
          •   At the time (4/22/20) he did not know who the unmarked SUV belonged to but was
              later advised that it belonged to Officer N. Guasto.
          •   Lieutenant Baldwin was told by Lieutenant Flanagan that he had reviewed Officer
              Guasto's AVL. At this point using the information provided by the AVL, Lieutenant
              Baldwin backtracked the video footage and was able to determine that Officer
              Guasto's vehicle had entered via 12 Street gate. Refer to Lieutenant Flanagan's
              interview reference AVL.
          •   Lieutenant Baldwin believes an AVL review was done of Sgt. Salabarria's vehicle
              but wasn't sure.
          •   Lieutenant Baldwin was not present on the fifth floor but it was his understanding
              that the female bathroom is impossible to lock from the outside unless a key is
              used due to it being a deadbolt.
          •   Lieutenant Baldwin stated that he believes that Sgt. Salabarria was not being
)             truthful about her statements on being in the fifth-floor bathroom due to him
              reviewing the video of the fifth floor 30 min before entering the fifth floor.

       The interview was concluded at 1:54 PM and no further questions were asked. (Refer
       to the case file for the entire recorded statement).

                                             August 18, 2020

       At 1 :09 PM, Lieutenant Andy Lozano was interviewed as a Witness Officer in this
       investigation. The interview was conducted at the Miami Beach Police Internal
       Affairs Office, located at 225 Washington Avenue, Miami Beach, Florida. Sgt. Luis
       Corps and I conducted the interview. Lieutenant Andy Lozano provided a sworn
       recorded statement. The following is a synopsis of his statement:

          •   Lieutenant Lozano has been a lieutenant for 11 months and is currently assigned
              to the Street Crimes section of Criminal Investigations Division.

          •   For the time period between 10/22/19- Spring Break 2020, Lieutenant Lozano
              was a Patrol Lieutenant on the afternoon shift in Area 4.
          •   Part of the responsibilities of being a lieutenant is staffing and approving time off
              on Telestaff.


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          •   Though assigned to Area 4, Lieutenant Lozano would cover for Area one as the
              Lieutenant on occasion.
          •   A Sgt./Ofc. who would need time off, would request time off via Telestaff, advising
              their immediate supervisor.

          •   Lieutenant Lozano stated that if an Ofc. or Sgt needed time off at the beginning,
              middle, or end of the shift, he would need to be notified.
          •   Time would be deducted from the officer's time bank via Telestaff.
          •   Lieutenant Lozano stated that to his recollection, he had never supervised Sgt.
              Salabarria directly.


                  Date       Supervisor     Approved   Did you      Did you        Were        Should she
                             Yes or no      Time off   approve      approve her    you         have made
                                            Yes or     time off     to leave the   aware       you aware that
                                            No?        Yes or       city Yes or    she was     she was out of
                                                       No?          No?            out of      the city? Yes
                                                                                   the city?   or No?
                  11/5/19    Working        No         No            No            No          Yes
                             Area 4 and
                             poss.
                             Covering
)                            Area 1
                  1/15/20    Sgt.           Yes/Sick   N/A           N/A           N/A         N/A
                             Salabarria
                             Sick
                  2/11/20    Doesn't        No         No            No            No          No
                             recall/ Area
                             4
                  2/19/20    Working        No         No            No            No          Yes
                             Area 4 and
                             covered
                             Area 1



              •     Has never observed Sgt. Salabarria riding inside of Officer Guasto's police
                    vehicle during her tour of duty.
              •     A patrol sergeant. is not allowed to leave the city without the shift commander's
                    permission.
              •     A supervisor working 1430-0030 must be at the station at 1430. If there was an
                    issue where they are running late, they must notify the shift commander.
              •     A supervisor working 1430-0030 is allowed to leave 15 min prior to the end of
                    the shift (0015) from within the city limits.

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       The interview was concluded at 1:23 PM and no further questions were asked. (Refer
       to the case file for the entire recorded statement).


          •   During the course of conducting interviews, one of the witness officers
              interviewed tested positive for COVID-19. All Internal Affairs investigators were
              quarantined pending test results. FOP President was made aware of the situation
              and advised of the Subject Officer Interview rescheduling due to other witness
              officers that needed to be interviewed being exposed to COVID-19.



                                           August 20, 2020

          •   Sgt. Salabarria responded to her Subject interview notification advising that she
              was made aware that her interview had been canceled due to COVID. She also
              stated that her attorney was not available for an interview on August 27. See
              case file for email.

                                        August 24 - August 26, 2020

          •   Reviewed the case file.
)



                                    August 27 through August 28, 2020

          •   The Internal Affairs Unit was advised Officer Guasto was reassigned to the
              Operations Division, afternoon shift, with Thursday, Friday, and Saturday off
              effective August 31, 2020, per the Chief of Police.

          •   PEU Lieutenant Jorge Garcia notified PEU Supervisors Morales and Wright to
              assist in having Officer Guasto's equipment reassigned to him.

          •   PEU Supervisor Morales contacted me about releasing Officer Guasto's
              property. I responded with an email advising him to release all of the property
              except for the Macbook and city-issued cell phone as it is still needed for
              investigative purposes. Morales advised me that the property will be released but
              to complete an NCR as soon as possible. See the case file for all emails and
              NCR.




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                                                August 28, 2020

       At 1023 AM, Lieutenant Andrew Dehler was interviewed as a Witness Officer in
       this investigation. The interview was conducted at the Miami Beach Police
       Internal Affairs Office, located at 225 Washington Avenue, Miami Beach, Florida.
       Sgt. Janelle Delgado and I conducted the interview. Lieutenant Andrew Dehler
       provided a sworn recorded statement. The following is a synopsis of his
       statement:



             •   Lieutenant Dahler has been employed by MBPD for 25 years
             •   Lieutenant Dahler has been a lieutenant on patrol for 6.5 years and is currently
                 assigned to dayshift area 4.

             •   Approving time off and staffing are part of the responsibilities of a patrol
                 lieutenant.
             •   Stated that employees would notify him (Lieutenant) via the chain of command,
                 Telestaff, email, or word of mouth for any time off requests.
             •   Lieutenant Dahler is usually notified if a subordinate needed time off prior to
                 their shift. Example: A sergeant calling the sick line requesting an hour off.
)            •   If an employee needed time off at any point during their shift, he (Lieutenant)
                 would need to be notified.
             •   Approved time off would be deducted via Telestaff record. There is no other
                 way the time off would be documented.
             •   Lieutenant Dahler has supervised Sgt. Salabarria while he was a Lieutenant on
                 patrol.
             •   Stated some responsibilities of an area patrol sergeant include:
                    1. Check Officers in at Roll Call/ Temp. checks
                    2. Ensure officers are on time
                    3. Provide assignments
                    4. Monitor Radio
                    5. Approve Arrests
                    6. Approve time off
             •   These responsibilities would have been some of Sgt. Salabarria's responsibility
                 as a sergeant.
             •   For a sergeant to carry out these responsibilities, they must be within the city.


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             •      Sgt. Salabarria never communicated any hardships about her commute to and
                    from work.
             •      An area patrol sergeant is allowed to leave their zone. Example:
                                 1. Meal break (within the city)
                                2. Family emergency (lieutenant must be notified)
             •      Stated he observed Sgt. Salabarria exit a black SUV but couldn't make out who
                    the driver was. Found out later that the vehicle belonged to Officer N. Guasto
             •      Stated that a patrol area sergeant is never allowed to leave the city without
                    notifying the shift commander/lieutenant
             •      Stated an area patrol sergeant scheduled to work 0630-2000 hours needs to
                    be at the station at 0630. If the sergeant. encountered an issue where they
                    can't make it to work on time, they would need to notify the shift commander.
             •      Stated an area patrol sergeant scheduled to work 0730-1855 hours needs to
                    be at the station at 0730. If the sergeant encountered an issue where they
                    can't make it to work on time, they would need to notify the shift commander.


             •      If an area patrol sergeant is working 0630-2000 hours, they are allowed to leave
)
                    15 min prior to the end of their shift. In this case, it would be 1945 and from
                    their assigned area within city limits.
             •      A patrol sergeant. must be in the city while working patrol overtime.




                         Date   Supervisor   Approved      Did you   Did you     Were you     Should
                                Yes or No    time Yes or   Approve   approve     aware        she had
                                             No            time      her to      she was      made you
                                                           Yes or    leave the   out of the   aware?
                                                           No        city Yes    city
                                                                     orno
           3/8/20               Yes           No           No        No          No           Yes

           3/9/20               Yes          No            No        No          No           Yes

           3/10/20              Yes          No            No        No          No           Yes

           3/15/20              Yes          No            No        No          No           Yes

           3/16/20              Yes          No            No        No          No           Yes

           3/17/20              Yes          No            No        No          No           Yes

           3/22/20              Yes          No            No        No          No           Yes

          4/22/20               Yes          No            No        No          Yes          Yes


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       All of the below statements are in reference to the Allegation of

       Employee Misconduct for the events that transpired on April 22, 2020.

            •   On 4/22/20, Sgt. Salabarria was scheduled to work 0730-1855 and was under
                the direct supervision of Lieutenant Dahler. She should have been at the station
                at 0730 but was not present.
            •   Sgt. Salabarria did not notify Lieutenant Dahler prior to 0730 that she would be
                late.
            •   Lieutenant Dahler made contact with Sgt. Salabarria via channel 13 after
                observing she was not at work. Sgt. Salabarria stated that she was in the fifth
                floor/range restroom when speaking to the Lieutenant via police radio.
            •   Lieutenant's Dahler, Flanagan, and Baldwin were the shift commanders on that
                date for dayshift.
            •   Sgt. Salabarria authored an email at 10:16 am on 4/22/20, (two hours and 46
                minutes after the beginning of her assigned shift) requesting that she be docked
)
                1 hour of CL for her personal emergency. The email was directed to Lieutenant
                Dahler, Lieutenant Flanagan, and she copied FOP union, President Kevin
                Milan.
            •   From     0730-0800,   Sgt.   Salabarria   was   supposed    to    be   conducting
                administrative tasks to prepare for the 0800 Roll Call.
            •   Roll Call was being conducted at the station to conduct temperature checks
                with the assistance of a medical professional due to the COVID 19 deployment.
            •   Upon Lieutenant Dahler arriving on the first floor for Roll Call at approximately
                0800 he observed Sgt. Salabarria was not present.
            •   At approximately 0818-0820 hours, Dahler became concerned and raised Sgt.
                Salabarria via main channel due to her not picking up her cell phone. Contact
                was made on Channel 13 where she stated she was in the fifth floor/range
                bathroom not feeling well.
            •   Lieutenant's Dahler and Flanagan immediately responded to the fifth floor and
                began knocking on the bathroom door and calling out Sgt. Salabarria's name
                to no avail. At this point, both Lieutenant's became concerned for her safety.

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                 Lieutenant Flanagan walked to PEU to retrieve a key while Lieutenant Dahler
                 remained on the fifth floor.
             •   Sgt. Salabarria then entered the fifth floor via the range/helipad door. She
                 appeared out of breath and stated that she was having stomach issues. She
                 then provided pictures of some medication she was having adverse effects with
                 to Lieutenant Dahler.
             •   Due to the bathroom being locked, Lieutenant Dahler asked if there was
                 someone in the restroom. Sgt. Salabarria responded by saying that she must
                 have accidentally locked it when she walked out. Lieutenant Dahler identified
                 the lock as a deadbolt, which is impossible to lock from the outside unless
                 someone has a key or locks it from the inside.
             •   Sgt. Salabarria was then asked if she wanted to go to the hospital and she
                 stated that she was fine. She was then advised to check in with the nurse on
                 the first floor.
             •   A training officer (possibly McVey) provided a key and opened the restroom
                 which revealed it to be empty.
)            •   Lieutenant Dahler then advised Sgt. Salabarria to respond to Medrite to get
                 medically cleared due to the nurse not being on the first floor. She was then
                 medically cleared and stated she was feeling better.
             •   AVL check conducted by either Lieutenant Flanagan AVL revealed that Sgt.
                 Salabarria's #17004 vehicle has not been moved since April 2, 2020. PEU was
                 asked if Sgt. Salabarria had checked out a loaner vehicle and was advised that
                 she had not checked out a loaner vehicle.
             •   Sgt. Salabarria never advised any of the Lieutenant's that her vehicle was
                 having problems.
             •   Lieutenant Flanagan then observed Sgt. Salabarria's vehicle parked between
                 the second and third floor of the station consistent with the AVL.
             •   Station cameras were reviewed by all three lieutenants' .(Flanagan, Dahler,
                 Baldwin)
             •   A Black SUV was observed pulling up on the floor just below the helipad. Sgt.
                 Salabarria was observed exiting the passenger side of the SUV and entering
                 the station via the 5th-floor door.

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             •   One of the three lieutenant's believed that the SUV belonged to Officer N.
                 Guasto.
             •   An AVL check was conducted on Officer Guasto's car by Lieutenant Flanagan.
                 The check revealed that around the time Sgt. Salabarria was contacted, Officer
                 Guasto's AVL is observed leaving a City of Miami location and responding
                 directly to the Miami Beach police station never stopping at another location.
            •    Station cameras then revealed that the Officer Guasto's vehicle bypassed the
                 11" Street gate going west from Washington Ave, and then enter via the 12"
                 Street. gate. When the lieutenant's attempted to review the 12 Street. key card
                 entry camera, they observed that it was out of service. The SUV was observed
                 entering via another camera on the first floor near the 12 Street gate. The
                 lieutenant's then followed the vehicle from the first floor all the way up to the
                 floor underneath the helipad up until Sgt. Salabarria exited the vehicle.
            •    Lieutenant Dahler advised that the AVL, camera footage, and his contact with
                 Sgt. Salabarria were all consistent with her being late to work.
            •    All area 1 and 4 sergeant's and officers were aware of the time and place for
)                roll call on 4/22/20.
            •    Based on the lieutenant's investigation, and Sgt. Salabarria's radio logs (09 at
                 0813 hours), Dahler stated that it was not possible for Sgt. Salabarria to be in
                 the city at 0813.
            •    Lieutenant Dahler stated that Sgt. Salabarria was being untruthful by going into
                 service in the city at 0813 hours.
            •    Lieutenant Dahler did not tell Sgt. Salabarria to author the email regarding
                 being charged the one hour of CL for her being late. Lieutenant Dahler then
                 made Major De La Espriella aware of the email and was told to not do anything
                 with it.
            •    Lieutenant Dahler stated that Sgt. Salabarria's statements about being in the
                 restroom were untruthful.
            •    Lieutenant Do hier concluded that Sgt. Salabarria was out of the city at the time
                 he spoke to her and she stated that she was on the fifth-floor restroom.

)
      The interview was concluded at 1108 PM and no further questions were asked. (Refer
      to the case file for the entire recorded statement).
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                                                                                    City 001601
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   At 12:32 PM, Lieutenant Delvin Brown was interviewed as a witness officer in this
   investigation. The interview was conducted at the Miami Beach Police Internal
   Affairs Office, located at 225 Washington Avenue, Miami Beach, Florida. Sgt.
   Janelle Delgado and I conducted the interview. Lieutenant Delvin Brown provided
   a sworn recorded statement. The following is a synopsis of his statement:

      •     Lieutenant Brown has been a lieutenant for approximately one year and is
            currently assigned to the Operations Division afternoon shift.

      •     For the time period between 10/22/19- Spring Break 2020, Lieutenant Brown was
            an Operations Division lieutenant on the afternoon shift.
      •     Part of the responsibilities of being a lieutenant is staffing and approving time off
            on Telestaff.
      •     A sergeant would request time off via Telestaff, word of mouth, or an email.
      •     Stated that if an officer or a sergeant needed time off at the beginning, middle, or
            end of the shift, he would need to be notified via sick line, word of mouth, Telestaff,
            or by a fellow supervisor.
      •     Time would be deducted from the officers time bank via Telestaff
      •     Stated that he has supervised Sgt. Salabarria while he was on afternoons.


                    •   Date Supervisor   Approved    Did you Did you     Were you   Should
                             Yes or No    time Yes or Approve approve     aware      she had
                                          No          time    her to      she was    made you
                                                      Yes or  leave the   Out of     aware?
                                                      No      city Yes    the city
                                                              orno
          10/22/19           Yes          No          No      No          No         Yes
          11/12/19           Yes          No          No       No         No         Yes
          11/26/19           Yes          No          No       No         No         Yes
          12/10/19           Yes          No          No       No         No         Yes
          12/17/19           Yes          No          No       No         No         Yes
          12/31/19           Yes          Yes         No       No         No         Yes
          1/7/20             Yes          No          No       No         No         Yes
          1/14/20            Yes          Yes/CL      No       No         No         Yes
                                          1830-0030
          2/4/20             Yes          No          No       No         No         Yes
          2/18/20            Yes          No          No       No         No         Yes

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              •   Responsibilities of an area patrol sergeant include supervising and monitoring
                  their personnel, responding to scenes, approving reports, and monitoring the
                  radio.

              •   These were some of the responsibilities Sgt. Salabarria had while under
                  Lieutenant Brown's supervision.

              •   A patrol sergeant must be in the city to carry out these responsibilities to make
                  themselves available.

              •   Lieutenant Brown has never seen Sgt. Salabarria inside Officer Guasto's
                  vehicle.
              •   A patrol sergeant is not allowed to leave the city without the permission of the
                  shift commander or a higher ranking officer.
              •   A supervisor working 1430-0030 must be in the city at 1430. If there was an
                  issue where they are running late, they must notify the shift commander.
              •   A supervisor working 1430-0030 is allowed to leave 15 min prior to the end of
                  the shift (0015) from within the city limits.
)
       The interview was concluded at 1448 hrs/ 4:48 PM and no further questions were
       asked. (Refer to the case file for the entire recorded statement).


      At 4:05 PM, Lieutenant Rosa Carvajal was interviewed as a witness officer in this
      investigation. The interview was conducted at the Miami Beach Police Internal
      Affairs Office, located at 225 Washington Avenue, Miami Beach, Florida. Sgt.
      Janelle Delgado and I conducted the interview. Lieutenant Rosa Carvajal provided
      a sworn recorded statement. The following is a synopsis of her statement:

          •   Lieutenant Carvajal has been a lieutenant for the past 11 months and is currently
              assigned to the patrol division.

          •   For the time period between 10/22/19 through Spring Break 2020, Lieutenant
              Carvajal was a patrol lieutenant on afternoons area 4.
          •   Part of the responsibilities of being a lieutenant is staffing and approving time off
              on Telestaff.
          •   A sergeant would request time off via Telestaff, word of mouth, or an email.
)         •   Stated that if an officer or a sergeant needed time off at the beginning, middle, or
            end of the shift, she would need to be notified.
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          •     Time off would be deducted from the officers time bank via Telestaff
          •     Stated that she has supervised Sgt. Salabarria while he was on afternoons.


                            Date Supervisor     Approved      Did you   Did you     Were you   Should
                                 Yes or No      time Yes or   Approve   approve     aware      she had
                                                No            time      her to      she was    made you
                                                              Yes or    leave the   Out of     aware?
                                                              No        city Yes    the city
                                                                        or no
              11/13/19            Yes           No            No        No          No         Yes
              11/19/19            Yes           No            No        No          No         Yes
              12/19/19            Yes           No            No        No          No         Yes
              12/20/19            Yes           No            No        No          No         Yes
              1/8/20              Yes           No            No        No          No         Yes
              1/9/20              Yes           No            No        No          No         Yes
              1/10/20             Yes           No            No        No          No         Yes
              2/6/20              Yes           No            No        No          No         Yes
              2/7/20              Yes           No            No        No          No         Yes
              2/12/20             Yes           No            No        No          No         Yes
)             2/13/20             Yes           No            No        No          No         Yes
              2/21/20             Yes           No            No        No          No         Yes


                •      Responsibilities of an area patrol sergeant include responding to major
                       incidents in their vehicles, making sure that officers are carrying out their duties,
                    and monitoring the radio.
                •   These were some of the responsibilities for Sgt. Salabarria while under
                    Lieutenant Carvajal's supervision.
                •   A patrol sergeant must be in the city to monitor the radio.
                •   Lieutenant Carvajal has never seen Sgt. Salabarria inside Officer Guasto's
                    vehicle
                •   A patrol sergeant is not allowed to leave the city without the shift commander's
                    permission.
                •   A supervisor working 1430-0030 must be in the city at 1430. If there was an
                    issue where they are running late, they must notify the shift commander.
)               •   A supervisor working 1430-0030 is allowed to leave 15 min prior to the end of
                    the shift (0015) from within the city limits.
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       The interview was concluded at 4:21 PM and no further questions were asked. (Refer
ì      to the case file for the entire recorded statement).

                                           August 31, 2020

          •   Using the New World System, I printed Sgt. Salabarria's Officer Activity Report
              for the time period of October 22, 2019, through March 22, 2020, and April 22,
              2020. This report indicates every time Sgt. Salabarria used her assigned police
              radio to communicate and give a status. The total time reviewed was 153 Days
              20 Hours 42 Minutes, with a total of 233 statuses. See Appendix C for the
              Officer Activity Report.

          •   Using the same system, I obtained Sgt. Salabarria's Officer Dispatch Report for
              the time period of October 22, 2019, through March 22, 2020, and April 22, 2020.
              This report provides a summary of information about the activity of a given
              officer. The review for the given time period revealed a total of 23 calls for
              service. See Appendix D for the Officer Dispatch Report.


                                             September 1, 2020

          •   NCR completed at PEU advising that all city-issued equipment could be released
              to Officer Guasto with the exception of the Macbook and the city-issued Apple
)             iPhone.

                                             September 10, 2020

          •   Review of AVL, Key Card logs, CCTV, and Officer Dispatch Reports.



                                             September 15, 2020

          •   An updated Subject Notification of Interview was sent via city email to Lieutenant
              Mitat informing Sgt. Salabarria of the new interview date. The new interview date
              was scheduled for 09/22/20 at 3 PM.

          •   Witness interview notification also sent to Major Guerrero advising Capt.
              Feldman of his witness interview for 09/21/20 at 11 AM.

                                            September 16, 2020

          •   Sgt. Salabarria responded to the Internal Affairs Office in person to hand-deliver
              her Subject Interview Notification to me.
)

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                                             September 21, 2020

          •   Sgt. Salabarria was notified via email advising her that her interview for 09/22/20
              had been canceled rescheduled for 09/28/20 at 3 PM . FOP President Millian
              was also notified.


              At 1112 AM, Captain Steven Feldman was interviewed as a witness officer
              in this investigation. The interview was conducted at the Miami Beach
              Police Internal Affairs Office, located at 225 Washington Avenue, Miami
              Beach, Florida. Lieutenant Tony Gil and I conducted the interview. Captain
              Steven Feldman provided a sworn recorded statement. The following is a
              synopsis of his statement:

          •   Capt. Feldman has been employed by the Miami Beach Police Department for 20
              years and is currently the Captain that oversees the Tech Services Unit. He has
              overseen the unit since 2015.

          •   Captain Feldman stated that he was Officer Guasto's Captain while he was
              assigned to Tech Services.

          •   Captain Feldman stated that at times, he might be the supervisor that approves
              time off if Sgt. Loperfido is unavailable.

)         •   When asked if prior to the COVID-19 deployment, if there was a specific SOP or
              ORR that would allow Officer Guasto to work outside of the city, Capt. Feldman
              stated that there wasn't, but there was a verbal authorization. He explained that
              at various times, employees were allowed to work from wherever they were at,
              as long as they were "working". He specified that the Tech Services Unit receives
              calls after hours requiring their response to complete the tasks that could be
              done while working remotely. An example of this would be an employee locking
              themselves out of their profile after hours. The IT Unit would then be able to
              unlock the profile from anywhere as long as they have their issued laptop and a
              network connection.

          •   Captain Feldman stated that there were times, he didn't know how many, that
              Officer Guasto would notify him that he was working outside of the city. Captain
              Feldman would tell him to go take care of whatever he needed to do as long as it
              was work-related.

          •   Captain Feldman stated that he couldn't think of any locations, other than home,
              where Officer Guasto would be working from if out of the city.

          •   Captain Feldman was advised that the scope of this investigation was for the
              dates between 10/22/19 through 03/22/2020.When asked how many times
              Officer Guasto was allowed to work from home, Capt. Feldman was unable to
              provide a number of dates.

          • Captain Feldman then stated that Officer Guasto could not just leave the city at
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              his own discretion and not notify a supervisor.

          •   Capt. Feldman then stated that during the scope of this investigation, Officer
              Guasto was going through a very "interesting" time in his life. Without going into
              too many personal details, Capt. Feldman stated that it had to do with his wife
              and current girlfriend. Due to the ongoing personal issues with his family, Capt.
              Feldman would authorize Officer Guasto to go take care of the issue, but to stand
              by his phone in case something work-related came up.

          •   I then asked Capt. Feldman that if Officer Guasto was in need of taking care of
              personal issues outside of the City of Miami Beach while scheduled to work, he
              would have to take time off, and Capt. Feldman stated "correct".

          •   Capt. Feldman confirmed that the person that Officer Guasto was in a current
              relationship with was Jessica Salabarria.

          •   Capt. Feldman stated that he did not authorize Officer Guasto to drive Sgt.
              Salabarria to and from work during his work hours. He was made aware of a
              conversation between Officer Guasto and Sgt. Loperfido where Sgt. Loperfido
              was made aware of the transportation issue and approved it a couple of times.
              Capt. Feldman was made aware of the situation post Subject Officer Notification.
              Capt. Feldman also mentioned that he found it unacceptable for Officer Guasto
              to be leaving during his shift on a constant basis to drive Sgt. Salabarria to work
              and that he was taking advantage of the agreement between him and Sgt.
)             Loperfido.

          •   This investigator then referred to the spreadsheet created that listed the
              numerous dates where Officer Guasto leaves the city to pick up Sgt. Salabarria,
              and conduct activities not known to be work-related. Capt. Feldman was provided
              with all Telestaff and overtime slips that were available from payroll. There were
              a few instances where Capt. Feldman stated that according to the overtime slips
              provided, the detail that Officer Guasto was working on could've been done
              remotely due to it being after the conclusion of Officer Guasto's shift. There were
              multiple occasions where Officer Guasto was scheduled to be working and his
              vehicle AVL indicates multiple locations throughout Miami-Dade (specifically
              Hialeah and Miami areas/ his current home address) and Capt. Feldman was not
              made aware nor did he approve Officer Guasto to be working remotely. Refer to
              the Excel spreadsheet for specific dates and unauthorized locations.

       The interview was concluded at 3:08 PM and no further questions were asked. (Refer
       to the case file for the entire recorded statement and transcription).


                                             September 24, 2020

          •   On this date, an email was received from attorney Michael Elkins advising that he
              spoke to FOP attorney Gene Gibbons about tolling the 180 day period for Sgt.
              Salabarria's pending IA investigation. The FOP had no objection.

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              The email further confirms that Mr. Elkins spoke to attorney Michael Pancier
              who also represents Sgt. Salabarria, and he agreed to toll the180 day
              period (refer to case file for email).

                                            September 29, 2020

          •   Request made for radio communication recordings (Channel 1 and 2) for March
              16, 2020, via Nuria Rodriguez of PSCU.


                                            October 1, 2020

          •   The recording was completed and picked up by this investigator. A review of the
              recording revealed Sgt. Salabarria going into service at 0911 via main channel.
              Her vehicle AVL shows the vehicle off at the station since her prior shift. Officer
              Guasto's AVL shows it arriving in the city at 0954


                                            October 9, 2020

          •   Commander Prieto contacted Tim Vandergiesen of the Miami Dade State
              Attorney's Office for review in reference to the unauthorized recording of
              Lieutenant Joaquin Rodriguez done by Sgt. Salabarria (FSS 934.03). Mr.
              Vandergiesen subsequently responded to Commander Prieto and advised him
)             that his office would not investigate the matter and to proceed administratively.


          •   Sgt. Han signed Item #55 (Apple iPhone) out of property for investigative
              purposes.

                                              October 28, 2020

          •   Reviewed the case file.


                                             November 23, 2020

          •   Reviewed the case file.


                                             December 16, 2020

          •   Reviewed the case file.


                                             December 18, 2020

          •  Sgt. Salabarria entered into a "Last Chance Agreement". See Appendix A for a
             copy of Sgt. Salabarrias' agreement.
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    ì                                              January 5, 2021

              •   This investigator received a copy of Sgt. Salabarria's signed Request for
                  Withdrawal of Charge of Discrimination. (See case file for a copy).


                                                  February 1, 2021

              •   Reviewed the case file.


                                                 February 18, 2021

              •   Reviewed the case file.


                                                   March 15, 2021

              •   Reviewed the case file.



    )                                               April 1, 2021

              •   I was advised by Commander Prieto that Officer Guasto did not agree with the
                  offer made to him by the city and wanted to proceed with the investigation. Case
                  untolled.


                                                    April 8, 2021


           At 1 :09 PM hrs, Officer Kevin Millan was interviewed as a witness officer in this
           investigation. The interview was conducted at the Miami Beach Police Internal
           Affairs Office, located at 225 Washington Avenue, Miami Beach, Florida.
           Lieutenant Gil and I conducted the interview. Officer Kevin Millan provided a
           sworn recorded statement. The following is a synopsis of his statement:


              •   As the F.O.P president, there would be times that he was notified of officers
                  being under investigation by Internal Affairs. It would depend if the officer
                  contacts the FOP and notified them for representation.


e             •   Millan was aware that both Sgt. Salabarria and Officer Guasto were under
                  investigation by Internal Affairs.

              • Millan was aware that both Sgt. Salabarria and Officer Guasto were in talks or
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              negotiations with the city to resolve their internal affairs case.

)         •   Millan stated that he met with Sgt. Salabarria countless times to discuss the
              negotiations. When asked how many times exactly, Millan stated that he
              discussed the terms of the negotiation with her in person less than ten (1 O) times,
              and via phone call more than 1 O times.

          •   Millan stated that he met with Officer Guasto the same number of times to
              discuss the terms of the negotiation.

          •   Millan stated that these meetings took place at some point between October and
              December of 2020.

          •   When asked how long were these negotiations going for, Millan stated that he
              knew that Sgt. Salabarrias case was resolved. He then stated that Officer
              Guasto's portion of the case had still not been resolved.

       The interview was concluded at 1150 AM and no further questions were asked. (Refer
       to the case file for the entire recorded statement and transcription).


                                                  April 28, 2021

          •   I received an email from Commander Prieto where attorney Michael Elkins states
)             that Officer Guasto has hired Paul Daragjati as his attorney. The email states that
              both the City and Officer Guasto have agreed to toll the case for 15 days as of
              April 27, 2021, due to being close to resolving pending discipline. (Refer to the
              case file for the email).

          •   Case tolled as of April 28, 2021.


                                                  May 11, 2021

          •   Case un-tolled due to the 15 day period expiring.

          •   Commander Prieto contacted attorney Michael Elkins due to the tolling period.
              Both Commander Prieto and Elkins agreed to toll the case one additional day
              after the 15 day period. Case Tolled for one more day.

          •   Per. Michael Elkins, the city and Officer Guasto were unable to come to an
              agreement for pending discipline. I was then advised that Officer Guasto would
              have to complete an Internal Affairs subject officer interview.

          •  Subject Officer Interview date of May 19, 2021, at 3 PM was selected. Elkins was
             advised of the scheduled interview and notified Officer Guasto's attorney
             (Daragjati) and advised him of the date and time. This notification was made via
             email at 2:21 PM. Prior to the selection of the date and time for the interview, I
             verified that Officer Guasto was working on the date. There was no pending time
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              off requests for the date of the interview. At approximately 2:55 PM, Officer
              Guasto submitted an entry into Telestaff requesting May 19, 2021, off.

          •   I sent the Subject Officer Notification of Interview memorandum to Officer Guasto
              via city email advising Lieutenant M. George to serve the notice. I received the
              signed memorandum via email at 5:49 PM.

          •   Lieutenant M. George denied the time off request on Telestaff entered by Officer
              Guasto.


                                                May 19, 2021

          •   The Internal Affairs Unit was advised by Michael Elkins that Officer Guasto
              entered into an agreement with the City of Miami Beach in reference to discipline.
              Officer Guasto did not provide an interview to the Internal Affairs Unit as
              scheduled.

                                                June 14, 2021

          •   Awaiting signed agreement between Officer Guasto and the City of Miami Beach.

                                                July 5, 2021

)         •   Awaiting signed agreement between Officer Guasto and the City of Miami Beach.

                                              August 25, 2021

          •   The Internal Affairs Unit received a copy of the settlement agreement between
              the City of Miami Beach and Officer N. Guasto. The agreement was sent via
              email by attorney Mike Elkins and was signed by Officer Guasto and the FOP
              Vice President. See the case file for a copy of the agreement.




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       OFFICIAL RECORDS

         1. IA Pro Printout
         2. IA Final Report
         3. IA Advisory Forms
         4. IA Statement Forms and Affidavits
         5. Trackstar AVLS Report
         6. Key Card Report
         7. Officer Activity Report
         8. Officer Dispatch Report
         9. Station CCTV
         1 O. Radio Communication Audio Files
         11 . Telestaff Roster
         12. Emails
         13. Digital Recordings of Statements
         14. Subject Officer Notifications
         15. Witness Officer Notifications
         16. Interview Transcripts
         1 7. Settlement Agreements




      "I, the undersigned, do hereby swear, under penaLieutenanty of perjury, that, to
)     the best of my personal knowledge, information, and belief, I have not knowingly
      or willfully deprived, or allowed another to deprive, the subject of the investigation
      of any of the rights contained in SS. 112.532 and 112.533, Florida Statutes."




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                                                           Date




       Reviewed by: Lieutenant Tony Gil                    Date
       Internal Affairs Lieuten t




       Reviewed by. Commander A.J. Prieto                  Date
       Internal Affairs Commander




      Approved by· C
                                                            /o
                                                           Date
                                                                  s/aoo
      Chief of Police




)




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                            APPENDIX
)                                         A




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                                       MIAMIBEACH

                                       Fe.l?e
                                                 MEMORANDUM

               TO:               Sergeant, Jessica Salabarria

               FROM:             Rick Clements, Chief of Police   f
               DATE:             January 25. 2021

               RE:               Implementing Letter of Resignation



                      On December 18, 2020, you entered into a Last Chance Agreement ("Agreement").
               A copy ofthat Agreement is attached as Exhibit A. Additionally, as part of the Agreement,
               on that same date you signed a Letter of Resignation ("Resignation"). A copy of that
               Resignation is attached as Exhibit B.

                      Based on the violations outlined below, and per the Agreement, I am implementing
)             the Resignation. effective immediately and as of the date indicated on Resignation attached
              as Exhibit B.

                      Specifically, on December 30, 2020, Lieutenant, Steven Cosner submitted an
              Allegation of Employee Misconduct ("AEM"). A copy of the AEM is attached as Exhibit
              C. The allegations of the AEM are incorporated in full herein.

                    On January 19, 2021, I held a meeting with you to discuss the allegations in the
              AEM. In addition to you and I, also present at that meeting was:

                                   Wayne Jones, Deputy Chief
                             -     Paul Ozaeta, Lieutenant (FOP President)
                                   Arley Flaherty, Sergeant (FOP First Vice President)
                                   Reggie Lester. Sergeant (FOP Second Vice President)
                                   Delvin Brown. Lieutenant (FOP Grievance Chairman)
                             -     Steven Cosner. Lieutenant
                             -     A.J. Prieto, Captain Internal A ffairs.

                   During the meeting, you were provided a copy of the "AEM" and given the opportunity
              to review the "AEM" in full. After your review, you informed me that, despite being
              assigned to the North District, you did not report to the North District. Instead. you
              remained in your assigned City vehicle, stationary at the City's main police station. You
              further informed me that while in your vehicle at the police station (for what was at or
              around four (4) plus hours) you worked on administrative issues (an employee evaluation




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               for Police Officer Vincent Stella) and worked on your "school work." The "school work"
               at issue is not work assigned by the City. You informed me that, independent from the City,
               you are working toward a Master's Degree.

                    Further, you acknowledged that you missed two radio calls specifically to you from
               Lieutenant Cosner and a phone call from Lieutenant Cosner to your personal cell phone.
               Ultimately, you did not respond to the North End Sub-Station (in the North District) until
               approximately 4:20 a.m., and only after being told to do so by Lieutenant Cosner. You
               further acknowledged that despite receiving an email from Lieutenant Cosner at
               approximately 3:20 a.m. directing you to have certain officers perform certain assignments,
               you did not issue the assignments until after 4:20 a.m., and only after speaking with
               Lieutenant Cosner. You again indicated to me that prior to speaking to Lieutenant Cosner
               at 4:20 a.m., you were focused on the employee evaluation and your independent school
               work.

                   In speaking with Lieutenant Cosner during this meeting, he indicated, among other
               things that you informed him that you had conveyed the assignment details, when in fact,
               you had not. Y ou conveyed the assignment details after speaking to Lieutenant Cosner
               despite telling him you had already done so.

                    Moreover, Lieutenant Cosner indicated in this meeting that you did not leave the
               main police station during most of your shift and only left the police station when
               instructed to do so by Lieutenant Cosner.
)
                   The above is only a summary of the events of the January 19, 2021 meeting.

                   After the meeting, the City reviewed your City issued laptop computer, which is the
              computer that you would have used to work on Officer Stella's evaluation. A review of the
              laptop shows that Officer Stella's evaluation was not created until January I O, 2021. The
              City's Infonnation Technology Department confirmed that Officer Stella's evaluation was
              not created or saved anywhere else on the City's system.

                   Pursuant to paragraph 4 of the Agreement, I detenni ne that you have not complied with
              the Agreement and engaged in conduct that is beyond an individual, discreet or minor
              policy violation. Pursuant to paragraph 4 of the Agreement, my decision in this regard is
              not subject to review or explanation. Accordingly, as stated above, I am implementing your
              Resignation.




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                           EXHIBIT A


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                                                                      City 001617
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                                                          LAST CHANCE AGREEMENT

                            THIS LAST CHANCE AGREEMENT is entered into between the CITY OF MIAMI

                   BEACH, FLORIDA (hereinafter, the "City "), FRATERNAL ORDER OF POLICE (hereinafter.

                    the Union") and JESSICA SALABARRIA (hereinafter, "SALABARRIA" or "Employee").

                            WHEREAS, SALABARRIA is employed by the City as a Police Officer in the City 's

                   Police Department.

                            WHEREAS, SALABARRIA is subject to the terms and conditions of employment

                  contained in the Collective Bargaining Agreement between the Union and the City effective

                  October 1. 2018 through September 30, 2021:

                            WHEREAS, SALABARRIA is the subject of an Internal Affairs (IA ) Investigation. 1AA

                  Case Number 2020-010, which arose from SALABARRIA 's involvement in not being on-duty

                  when she was supposed to be, and from SALABARRIA 's claims of being on-duty in the City
)
                  when she was actually outside the City:

                           WHEREAS, the City wishes to continue to employ Employee. Employee wishes to

                  continue to be employed by the City. and the FOP desires for Employee to continue to be

                  employed under the terms and conditions described herein: and

                           WHEREAS, the Employee admits that she committed misconduct in association with IA

                  Case Number 2020-010 and was in violation of numerous City and Police Department policies

                 and the City Personnel Rules for the Classified Service; and

                           WHEREAS, the purposes of this Agreement, with which all the Parties concur, include:

                 to protect and preserve the integrity of the Police Department and all its officers and to give

                 Employee the opportunity to further and support that purpose; and to give Employee          the




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                  opportunity to rehabilitate herself personally and as a police sergeant for the City and this

                  Department; and to give Employee an opportunity to preserve her career.

                           NOW. THEREFORE, without establishing precedent for any purpose and intending to be

                  bound. the Parties agree as follows:

                            I.      All of the above statements are rue and correct to the best of the Parties' belief

                  and knowledge and for a five (ó) ycar period beginning with the execution of this Agreement by

                  all parties, SALABARRIA will be subject to the provisions of this Agreement.

                           J        During this period, SALABARRIA must be on-duty and in the City limits during

                  all of her scheduled shifts unless given prior authorization. For the avoidance of confusion. this

                  means that, during the terms of this Agreement, SALABARRIA shall not be outside the Cit

                 limits when she is on-duty. shall not tell the City she's on-duty when she is outside the City's

                 limits, and shall not leave before the end of her scheduled shift, unless given prior authorization.
)
                           3.      Additionally, SALABARRIA shall refrain from violating any City or Police

                 Department policies, rules or regulations; Standard Operating Procedures ("SOPs") or Personnel

                 Rules. all of which (including any amendments or additions) are incorporated herein by

                 reference.      In any instance during which City or Police Department policies, procedures or

                 Personnel Rules differ from or conflict with the stipulations set forth in the applicable collective

                 bargaining agreement, the City or Police Department policies, procedures or Personnel Rules

                 shall prevail.

                          4.       The   Chief of Police shall exclusively assess and determine Employee's

                 compliance with this Agreement. The Chief s decision as to compliance with this Agreement

                 shall not be subject to any grievance and/or review of any kind by SALABARRIA and/'or the

                 Union and is not subject to explanation or review.



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                           5.       Failure to comply with any portion or requirement of this Agreement (including

                  but not limited to the requirement not to violate any City or Police Department policies. Standard

                  Operating Procedures ("SOPs") or Personnel Rules, as referenced in paragraph 3 above) may

                  result in the immediate implementation of the attached letter of resignation as referenced in

                  paragraph 9 below. It is the intent and understanding of the parties that the violations

                  contemplated to trigger the implementation of the attached letter of resignation shall not be for

                  individual, discreet minor policy and procedural violations. The parties agree that repeated

                  violation of the same, discreet minor policy may result in an event triggering the implementation

                  of the attached letter of resign ation. In that event, the Employee and the Union understand and

                  agree there will be no recourse or review available pursuant to any grievance, appeal or review

                 process under any federal. state or local statute, ordinance, collective bargaining agreement, or in

                 any other forum or under any other process or procedure.
)
                          6.       SALABARRIA shall serve a four-week (160 hour) suspension without pay and

                 waive any and all rights to grieve or appeal that suspension. Employee shall also be subject to the

                 additional provisions of the Settlement Agreement to which this Agreement is attached and is

                 made part of via incorporation by reference.

                          7.       Further, for the same five (ó) ycar period described above, the Chief of Police

                 shall have full discretion regarding Employee's assignments, including. without limitation.

                 duties. supervisor and chain of command. Employee shall have the ability to bid for shift and

                 days off, if the employee is reassigned her duty hours and days off shall remain the same.

                          8.       For a period of one (l) year from the date of execution of this Agreement,
                 limployce is not eligible for any promotional opportunities.




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                                                                                                    eg=JESSICA




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                           9.      Employee shall sign an irrevocable letter of resignation which shall take effect

                 immediately upon her violation of this Agreement or any part of it at any time during the term of

                 this Last Chance Agreement. .

                            I0.   Employee shall attend and cooperate with any raining required by the Chief of

                 Police.

                           I1.    If during the above-referenced five (S) year period, SALABARRIA violates any

                 provisions of this agreement or any City or Police Department policies. Standard Operating

                 Procedures (SOPs") or Personnel Rules and/or regulations as previously referenced in

                 paragraph #l4 , her resignation shall be effective , without the right to grieve or otherwise contest,

                 in any manner, her separation. .

                           12.    In the event that SALABARRIA is separated pursuant to the terms and conditions

                of this Last Chance Agreement. she and the Union understand that her separation is no subject
)
                to appeal pursuant to the contractual grievance/arbitration procedure, or otherwise. In other

                words, SALABARRIA agrees that should she be separated pursuant to the terms of this

                agreement that she waives her right to utilize the contractual grievance and arbitration procedure

                and she further waives the right to challenge or appeal her scparation pursuant to any

                administrative or statutory avenue that may exist.

                           13.    The City retains the right to rely upon the facts and circumstances of the events

                from   which this Last Chance Agreement arose in any future proceeding in the event the

                Employee successfully       meets   the   terms   and conditions referred to in this Agreement but

                thereafter has deficiencies in conduct or performance. and such deficiencies shall be sufficient to

                warrant discipline. including dismissal.




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                                                                                                        JESSICA




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                           I4.     I is understood and agreed by all parties hereto that this Last Chance Agreement

                  is executed based on the particular circumstances of this case and does not establish precedent

                  for the resolution of other cases.

                           I5.     SALABARRIA acknowledges that she could be terminated from her employment

                  from the City as a result of her conduct as referenced above an d that remaining employed by the

                 City is adequate consideration          for entering into this Last Chance Agreement, serving the
                 suspension without pay and waiving the rights described herein and in the Settlement

                 Agreement.

                          16.      SALABARRIA being of lawful age, for and in consideration of the above-action

                 agreed to by the City, and other valuable consideration received from or on behalf of the City.

                 receipt whereof is hereby acknowledged, does hereby release. acquit, satisfy and forever

                 discharge the City, as well as cach and everyone of the City' s former and current officers. agents.
)
                 attorneys, employees and officials -- in both their official and individual capacities -- and their

                 successors and assigns, from any and all claims, cause and causes of action, grievances, unfair

                 labor practice charges. lawsuits, claims of employment discrimination (including. but not limited

                 to claims under the Americans With Disabilities Act), and any and all other claims and demands

                 whatsoever, in law or in equity, tort or contract, which SALABARRIA has or may have against

                the above-named individuals in both their individual and official capacities. from the beginning

                of the world until today, including, but not limited to, all matters concerning or arising out of her

                employment with the CITY. her discipline stemming from the incidents described in this Last

                Chance Agreement and the execution of this Last Chance Agreement.

                         17.      It is understood and agreed that this Last Chance Agreement does not constitute

                an admission by the City or SALABARRIA of any violation of the collective bargaining




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                  CTTY                                        Page 5 of7




                                                                                                           City 001622
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                 DocuSign Envelop e ID: CC3C604A-8185-4007-95EB- 873507C89F EF




                              agreement. This Last Chance Agreement is being entered into by the parties solely for the

                              purpose of avoiding the expense and inconvenience of further administrative proceedings.

                                       18.      SALABARRIA has received and reviewed this Last Chance Agreement prior to

                              executing it and she agrees to be bound by its terms and conditions.

                                       19.      Prior    to signing this Last Chance Agreement, SALABARRIA had the

                             opportunity, and did, in fact, consult with her attorney and/or with the Union.

                                      20.      This Last Chance Agreement, and the Settlement Agreement which is attached

                             constitutes the entire understanding and agreement of the parties hereto. and can he modified,

                             amended or revoked only by express written consent of all parties.

                                      21.      This Last Chance Agreement shall be governed by and construed in accordance

                             with the laws of the State of Florida. and where applicable. federal laws. The language of this

                             Last Chance Agreement shall be construed as a whole, according to its fair meaning. and not
            )
                             strictly construed for or against either party.

                                      22.      In the event that any party to this Last Chance Agreement institutes legal

                             proceedings regarding the terms of this Last Chance Agreement, it is stipulated and agreed that

                             such a claim shall be heard and determined by the court, and not by a jury, in Miami-Dade

                             County. Florida.           SALABARRIA AGREES AND UNDERSTANDS THAT SIIE IS

                             WAIVING THIE RIGHT TO A JURY TRIAL, IF ONE EXISTS, AS TO ANY CLAIM

                             REGARDING THE TERMS OF THIS AGREEMENT.




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                                         286


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                            This Agreement is dated the             day of December 2020. in Miami-Dade County, Florida.




                                                                              CITY MANA@f?'Rora«so
                                                                              CITY OF MIAMI BEACH

                                                                                           12/23/2020 I 1:34 EST
                                                                              [)7/",




                  FRATERNAL ORDER OF POLICE



                 Signature & Title

                                                  Des,der
                 Print Name &: Title


)
                 Date



                 CHIEF OF POLICE


                        h   u[z
                 Date




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                                                                                                               City 001624
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                           EXHIBITB


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                                         286




                                                 December 18, 2020




             City of Miami Beach
             lluman Resources Department
             Miami Beach City llall
             1700 Convention Center Drive
             Miami Beach, FL 33139

                   Re:    Leuer of Resignation as Part ofSettlement Agreement and Last Chance Agreement

            To Whom It May Concern:

                   Pursuant to the Settlement Agreement and Last Chance Agreement to which this Letter of

            @ése
            Resignation is attached. I resign my employment with the City of Miami Beach, effective
                         9,/2s
                           7


                                                             Very Truly Yours,

                                                              <zee
                                                             Jessica Salabarria.
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                                                                                              City 001626
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                           EXHIBITC


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                                                                                                                                       l
                                            MIAMI BEACH POLICE DEPARTMENT
                         Initial Report Concerning a Police Employee - Allegation
                                                                   J        t     of Employee Misconduct
                   Date and 'lime Reported       Received By (Employee Name)               (X)In P'ero      (   )18 P'hune
                   12/30/2020   2345 hours       Lieutenant Steven Cosner                  ( )Other
                                                                                                                                  --
                   Date nd 'Time Ocurred         l.ocatiun of Occurrence
                   12/28/2020 II))-I6I hours     MBPD

               Reporting Party's Name            Race/Se     D.0.1     Address: III0 Washigton Ave.. Miami         Telephone '
               lieutenant Steven Cosner          WM                    Beach, Florida 33139

               Specific Allegation (In Brief): Filure to Supervise, Conduct (Unbecoming, Insubordination. Neglect of Duty,
               Untruthfulness (lying/false statements), Performance of Duties. Failure to Monitor Radio



               Employee (s) Mame
                                                                            3.
               1. Sergeant Jessica Salabarria


               2

                                                                  Witnesses
                             ame                 Race/Se     D.0.B                      Address                      'Telephone
              Lieutenant Steven Cosner
)             officer Wcmer Baumer
                                                 WM
                                                 W/M
                                                                       Resident MBP'I
                                                                       Busies;   Io Wasiuton Ae. Man     le.ah.
              Officer Richard Oceyo              H M                   II    I
              Officer Steven Serrano             WM
              Officer Christopher Garrido
                                                    M
              Officer Hansel Romero
                                                 WA
              officer Rodolfo Albaladejo         WM
                                                                                                           --
                                                                       Resdent
                                                                       Hute-

                                                           Details of Allegation
              On Sunday night, 12 27 2020 at approxnately 220 hours. I advised Sergeut Jessica Salabarria that we nceded a
        ,r   Sergeant on overtime for the midmght shift. I told her that she was the next supervisor to be forced to work over
              since we hid nut he any volunteers tor the position. She was told that she would be assigned to tea ' and would
              be working from 0000-0600 hours. She acknowledged the order and within several minutes she provided me with an
              overtime ship completed by her in which she documented in her own handwriting that she was working in rea '.
              She left the sergeant's office shortly thereafter. A approximately 0355 hour, I forwarded an email to Sergeant
              Salabarna with the details and watch orders that needed to he ussgned to the Area 3 officers fer completion prior t
             the end of their shifi. I then sent u text message to her cellular phone advusing her to check her em.nl at 0359 hun
             \fter a few minutes l did not reeve an acknowledgement ot the text me.age, so red to call her phone at +4-4
             hoar- Then phone rang repeatedly and went to veiemal. I red to ruse her ta the police radio imediatel
             atterwards. I he dispatcher raised her muliple tunes with no response. Sergeant Wilson Romero advised ia rad»
       '?
       ,\    th;at he would tr to eall her. He called me at 4i I hours to advise that he could no reach her and that le: pl ne
       4     rang through to veicemail. I agamn tried to he_the_ti-patcher raise her.and after several_attempts ' nu.s .Ni! NE!   !"

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          number, she finally responded. The tone of' her voice soundcd as if she was just waking up. I spoke with her via the
          supervisor channel and asked her where she was. She told me that she was "0S". I responded by asking if she
          meant, "05 at the NESS". She said no and that she was at the muin station. I asked if she was ware that she was
          assigned to Area 3 and she answered affirmatively. I then ordered her to respond to Area 3 and to check her email.
              l became involved in a vehicle stop along 71 street that resulted in an arrest at 0416. Officer Occjo was one of the
          officers who respondcd as back-up. After the subject was transported, I waitcd on scone with Officer Ocejo as he
          waited for a tow truck. I asked Officer Occjo to check his cmail to see if the details had bccn forwarded by Sergeant
          Salabarria. He told me that he did not have any emails from her. This was at approximately 0520 hours. At 0543
         hours, I received an unsolicitcd text message from Sergeant Salabarria advising that she had cmailcd me the squad
         stats and the detail assignments. She claimed that she had told the officers via landlinc and email of thcir detail
         assignments, The cmail that she sent me was sent at 0536 hours. It included the squad stats and detail assignments.
         I called Officer Hansel Romcro and asked him if hc had received any emails, texts, or phone calls from Sergeant
         Salabarria advising him of detail assignments. He said that he did not and that shc had only asked for stats in an
         email that was sent at 052I hours. That email was forwarded to me by Officer Ocejo. I began calling all thc officers
         assigned to Arca 3 and inquired the same of cach of them. Every one of the officers advised that they had not
         rcccivcd a call or tcxt advising of thc details. Oficcr Romero then forwarded an cmail that he received from
         Sergeant Salabarria at 0542 hours. The email had bccn sent to cach of the Arca 3 officers. It was the detail
         assignments and bcgan with a highlighted line stating, "squad per our conversation please note the below details for
         our shift". I found this very concerning because it was now the second time that she had claimed to have had a
         conversation with the officers about their assignments when all six of them claimed that never happened and they did
         not report to any assigned details during the shift.
             I sent an email to Lieutenant Jorge Garcia asking for a Detail Report for Sergeant Salabarria's assigned marked
         vehicle via the AVL system. My inquiry was for her vehicle movement from 2200 hours on 12/27/2020 through
         0600 hours on 12/28/2020. The Detail Report showed that her vchicle had bccn parked at thc station from 2200
         hours on 12/27/2020 until 0423 hours on 12/28/2020 which was a few minutes afer wc spoke on the supervisor
         channel. For a total of 6 hours and 23 minutes. lt is unknown how long the vchicle had becn parked prior to that.
)       The report indicated that she left the station and drove directly to 73rd Strcct and Ocean Terrace where she again
        parked her vehicle at 0440 hours. The vehicle remained in that position until 0533 hours for a total of 53 minutes.
        She then lef that location and drove directly to the MBPD headquarters.
             Note that of the six officers assigned to Area 3 on the shift in question 4 of them have 2 ycars of experience or
        less.
            Sergeant Salabarria's actions show a willful effort to deceive a supervisor and a failure to obey a direct order from
        said supervisor. She failed to rcpon to her assigned zone and failed to supervisc the officers under her watch. She
        failcd on multiple occasions to respond to the police radio and showed extreme neglect in the performance of her
        duties.




                                                                                                                 City 001629
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                            APPENDIX
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                                        SETTLEMENT AGREEMENT

               The SETTLEMENT AGREEMENT ("Agreement") is entered into between the CITY OF
       MIAMI BEACH, its elected and appointed officials, its employees, and its insurers attorneys, or
       agents of any kind (collectively, the "City'); NICHOLAS GUASTO ("Guasto") and the
       FRATERNAL ORDER OF POLICE, WILLIAM NICHOLS LODGE NO. 8 ("FOP") (all
       collectively, the "Parties").

               WHEREAS, Guasto is employed by the City in its Police Department; and

              WHEREAS, the FOP is the exclusive bargaining representative for a bargaining unit of
       City police employees, including Guasto; and

               WHEREAS, Guasto was the subject oflnternal Affairs investigation, I.A. Case No. 2020-
       01 O ("the Investigation"); and

              WHEREAS, the Parties, wish to settle all discipline associated with the Investigation and
       wish to resolve all other disputes between them.

               NOW, THEREFORE, intending to be legally bound but without setting precedent, the
       Parties agree as follows:

               1.     Recitals. The Parties acknowledge and agree that the Recitals above are true to the
)      best of their knowledge and belief and incorporate them as if fully set forth here and that the
       Recitals are a material inducement for the Parties to enter into this Agreement.

               2.      Discipline. Guasto and the FOP agree that, by executing this Agreement, they will
       simultaneously withdraw, with prejudice, any and all grievances. Additionally, Guasto agrees to
       accept a Twenty (20) hour suspension, to be completed by the end of 2021. Guasto agrees to pay
       back One Hundred and Thirty-Six (136) hours of regular time, which is a total amount due of
       Seven Thousand Two Hundred Seventeen Dollars and 52/100 ($7,217.52). The total amount due
       was calculated using an hourly rate of $53.07/hour. Guasto must pay back the entire amount
       referenced herein on or before 365 days from the date of his execution of this Agreement (the "Due
       Date"). If Guasto fails to make complete payment on or before the Due Date, the City is authorized
       to take the equivalent of the remaining amounts due from any of Guasto's leave banks. Finally,
       Guasto agrees that he is not eligible for any promotional opportunities in the year 2021 and for the
       length of the current Sergeant and Lieutenant Promotional Lists, which run past the year 2021. For
       the avoidance of confusion, this means that Guasto is not eligible for any promotions until the
       expiration of the aforementioned Promotional Lists.

              3.     Revocation of Written Reprimand. On February 9, 2021, Guasto received a written
       reprimand (the "Reprimand"). Separate from any consideration herein, the City revokes the
       Reprimand. The Reprimand is referenced herein for convenience purposes only. The revocation
       of the Reprimand is not connected to any consideration provided by Guasto. The Reprimand
       cannot be used by the City in considering future discipline.
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               4.      Release Qf Claims, Covenant Not To Sue. Guasto hereby releases and waives any
       and all claims of any kind whatsoever against the City that he had, has or may have from the
       beginning of the world through the date of this Agreement. The claims released include, but are
       not limited to, any and all claims arising under any federal, state, local or foreign statute or
       regulation, including, without limitation, those relating to any and all unfair or discriminatory
       employment practices (for example, employment discrimination based on race, national origin,
       sex, religion, age, disability or handicap, and harassment of any kind) under the federal Civil
       Rights Acts of 1866, 1871, 1964 and 1991 (including Title VII), the federal Age Discrimination
       in Employment Act ("ADEA"), including the Older Workers Benefits Protection Act, the Florida
       Civil Rights Act, the federal Americans With Disabilities Act, the federal Employee Retirement
       Income Security Act of 1974, the Internal Revenue Code of 1986, the federal Fair Labor Standards
       Act of 1938, the Florida Wage Discrimination Law, the Florida Wage and Hour laws, Florida and
       federal statutes regarding ''whistleblower" activities, the federal Family and Medical Leave Act of
       1993, the federal Rehabilitation Act of 1973, the Consolidated Omnibus Budget Reconciliation
       Act of 1985 (known as "COBRA"), the Federal Fair Credit Reporting Act, any other federal and
       state employment-related statutes and regulations, and any other employment-related local
       ordinance up to the date of this Agreement.

               The disputes released by Guasto also include any and all disputes he had, has or may
       believe to have against the City in contract or at common law, including, but not limited to: breach
       of oral, written and/or implied contract, breach of an implied covenant of good faith and fair
       dealing, wrongful discharge under any theory (including for lack of good cause) in violation of
       public policy and constructive discharge, intentional and/or negligent infliction of emotional
)      distress, negligent retention and/or supervision, assault, battery, negligence, misrepresentation or
       fraud of any kind, duress, unfair dealing, breach of fiduciary or other duty, invasion of privacy,
       defamation, and interference with contract and/or prospective economic advantage up to the date
       of this Agreement.

             Notwithstanding anything contained herein, this release does not include a release of any
       workers compensation claims.

                Guasto further covenants and agrees that he will not file a lawsuit or claim of any kind
       asserting the claims released herein. Guasto understands that this Agreement does not prohibit
       participating in an investigation or the filing of a charge with the EEOC or like administrative
       agency, but he does understand and agree that, not only is he releasing the stated claims, but also
       is releasing the right to any monetary damages or any relief of any kind from those claims, whether
       brought by him or on his behalf. Guasto hereby represents that he has not assigned to any person
       or entity any rights to the claims released herein.

              5.      Effect: Precedent. The Parties agree that Guasto remains subject to all applicable
      rules, policies, orders, procedures or regulations of whatever kind, except as may be expressly
      otherwise provided herein. The Parties agree that the facts underlying this Agreement are unique
      and that this Agreement does not establish precedent of any kind whatsoever and may not be used
      in any manner whatsoever in any proceeding, including but not limited to any labor proceeding of
      any kind.
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           6.      Consideration. The consideration for this Agreement are the mutual promises,
   releases, and forbearances recited herein, the adequacy of which is hereby affirmed by the Parties.

           7.       Miscellaneous. This Agreement is the entire agreement between the Parties on its
   subject matter and supersedes any other agreement or understanding whatsoever, whether written
   or oral. The Parties have entered into this Agreement solely on the basis of the language,
   representations, and understandings expressed in this Agreement and not on the basis of any other
   representation or understanding whatsoever. This Agreement shall be construed and applied
   according to its express language and not strictly against any Party, regardless of authorship. This
   Agreement shall be governed by and construed according to the laws of the State of Florida. Any
   dispute arising from this Agreement, its application, or its breach shall be heard by a judge and not
   a jury. The Parties agree that venue shall be proper in Miami-Dade County, Florida, and agree that
   they shall not challenge such venue, regardless of convenience. If any provision or part thereof of
   this Agreement shall be found invalid or unenforceable by a court of competent jurisdiction, the
   remainder of the Agreement shall remain valid and enforceable, provided, however, that if
   Paragraph 3, "Release," is found invalid or unenforceable, the entire Agreement shall fail and be
   null and void and shall be treated as if it were never made. The prevailing party in any action of or
   relating to this Agreement shall be entitled to an award ofreasonable attorney's fees and costs.

           IN WITNESS WHEREOF, having read and fully understood this Agreement in its entirety,
   having duly considered the same, and intending to enjoy the benefits and undertake the obligations
   established herein, the Parties do hereby enter into and execute this Agreement as set forth below.



   CITY OF MIAMI BEACH                                                   FRATERNAL ORDER OF
                                                                         POLICE, LODGE 8

   By
   City Manager
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                                                                         4v, ce                    P.,eç.\ch,1,-



  DATE                                                                   DAT       7
                                     DA        {

  CHIEF OF POLICE




± RICK CLE
  Chief of Police




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                            APPENDIX
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                                               286
                                                                                       Start Date/Time:    10/22/2019 00.00.00

                                                                                       End Date/Time:      03/22/2020 23:59:59



                                              Officer Dispatch Report
     Agency: FL0130700 - Miami Beach Police Department                   Officers: Salabarria, Jessica - 1023
     CFS Types: ALL

                             Created                        Dispatched    Arrived       Cleared         Dispatched   Dispatched
     Officer                               CFS # CFS Type
                             Date/Time                      Date/Time     Date/Time     Date/Time       To Arrived   To Cleared
                             10/22/2019                     10/22/2019    10/22/2019    10/22/2019
      Salabarria, Jessica                 22579 19                                                      00:00:00     00:13:16
                             15:24:44                       15:24:44      15:24:44      15:38:00
                             11/06/2019                     11/06/2019    11/06/2019    11/07/2019
      Salabarria, Jessica                  7880 27                                                      01:38:25     04:19:33
                             19:26:48                       19:52:47     21:31:12       00:12:20
                             11/08/2019                     11/08/2019    11/08/2019    11/08/2019
      Salabarria, Jessica                  9218 41                                                      00:14:53     01 :35:05
                             19:54:56                       20:02:52     20:17:45       21:37:57
                             11/08/2019                     11/08/2019    11/08/2019    11/08/2019
      Salabarria, Jessica                  9300 14                                                      00:00:00     00:27:36
                            22:57:40                        23:11.05     23:11:05       23:38:41
                            11/13/2019                      11/13/2019    11/13/2019    11/13/2019
    , Salabarria, Jessica                 12463 18                                                      00:00:00     00:00:32
                            19:31 :26                       20:11:46     20:11:46       20:12:18
                            11/14/2019                      11/14/2019   11/14/2019     11/14/2019
      Salabarria, Jessica                 12953 14                                                    00:00:00       00:05:46
                            17:23:59                        17:23:59     17:23:59       17:29:45
                            11/26/2019                      11/26/2019   11/26/2019     11/26/2019
     Salabarria, Jessica                  20900 19                                                    00:00:00       00:09:19
                            18:36:58                        18:36:58     18:36:58       18:46:17
                            12/05/2019                      12/05/2019   12/05/2019     12/05/2019
     Salabarria, Jessica                   1577 317E                                                  00:12:19       02:49:03
                            19:31:42                        19:32:51     19:45:10       22:21:54
                            12/10/2019                      12/10/2019   12/10/2019     12/10/2019
    /Salabarria, Jessica                   5328 14                                                    00:13:15       01 :57:51
                            18:04:27                        18:10:33     18:23:48       20:08:24
                            12/19/2019    11330 BLDGFIRE    12/19/2019   12/19/2019     12/20/2019
     Salabarria, Jessica                                                                              00:00:00       01:29:28
                            22:29:36                        22:52:56     22:52:56       00:22:24
                            01/01/2020                      01/01/2020   01/01/2020    01/01/2020
     Salabarria, Jessica                  19376 14                                                    00:00:00       02:11:06
                            17:05:58                        17:05:59     17:05:59      19:17:05
                            01/03/2020                      01/03/2020   01/03/2020    01/03/2020
     Salabarria, Jessica                  20947 14                                                    00:00:00       01:57:57
                            21:11:34                        21:30:13     21:30:13      23:28:10
                            01/09/2020                      01/09/2020   01/09/2020    01/09/2020
     Salabarria, Jessica                  24402 14                                                    00:00:00       01:13:55
                            10:06:33                        10:06:33     10:06:33      11 :20:28
                            01/10/2020                      01/10/2020   01/10/2020    01/10/2020
     Salabarria, Jessica                    303 14                                                   00:00:00        00:07:50
                            16:18:59                        16:18:59     16:18:59      16:26:49
                            02/01/2020                      02/01/2020   02/01/2020    02/01/2020
     Salabarria, Jessica                  15516 36                                                   00:00:00        00:21:36
                            19:49:01                        20:00:41     20:00:41      20:22:17
                            02/05/2020                      02/05/2020 02/05/2020      02/06/2020
     Salabarria, Jessica                  18616 14                                                   00:21:20        01:54:46
                            22:07:15                        22:21:28     22:42:48      00:16:14
                            02/07/2020                      02/07/2020 02/07/2020      02/07/2020
     Salabarria, Jessica                  19793 22                                           00:00:00                01:24:06
                            17:15:57                        17:15:58   17:15:58        18:40:04
                            02/11/2020                      02/11/2020 02/11/2020      02/11/2020
     Salabarria, Jessica                  22488 43                                           00:04:13                00:14:06
                            21:19:05                        21:28:33   21:32:46   21:42:39
                            02/12/2020                      02/12/2020 02/12/2020 02/12/2020
     Salabarria, Jessica                  23070 17                                           00:18:09                00:26:04
                            18:35:36                        19:40:46   19:58:55   20:06:50
                            02/12/2020                      02/12/2020 02/12/2020 02/12/2020
     Salabarria, Jessica                  23105 19                                           00:00:00                00:02:45
                            19:55:17                        19:55:17   19:55:17   19:58:02
                            02/19/2020                      02/19/2020 02/19/2020 02/19/2020
     alabarria, Jessica                    2893 34                                           00:02:56                00:19:13
"                           20:32:31                        20:38:27   20:41 :23  20:57:40
                            03/10/2020                      03/10/2020 03/10/2020 03/10/2020
     Salabarria, Jessica                  16287 14                                           00:00:00                00:00:50
                            10:02:23                        10:02:23   10:02:23   10:03:13
    Report run by cmb\polidesa on 08/31/2020 12:27:52                                                                 Page 1 of 2
                                                                                                     City 001635
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    )                                      286
                                                                               Start Date/Time:    10/22/2019 00.00:.00

                                                                               End Date/Time:     03/22/2020 23:59:59

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                                            Officer Dispatch Report
                            03/12/2020   18108 315   03/12/2020   03/12/2020    03/12/2020
    Salabarria, Jessica                                                                         00:04:28     01:22:12
                            17:00:58                 17:02:28     17:06:56      18:24:40
    Officer CFS Count: 23

    Total CFS Count:   23




Report run by cmb\polidesa on 08/31/2020 12:27:52                                                             Page 2 of 2
                                                                                             City 001636
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                                          286
9                                                                                Start Date/Time:    04/22/2020 00:00:00

                                                                                 End Date/Time:      04/22/2020 23:59:.59




                                         Officer Dispatch Report
Agency: FL0130700 - Miami Beach Police Department                  Officers: Salabarria, Jessica - 1023
CFS Types: ALL

                        Created                       Dispatched    Arrived       Cleared         Dispatched   Dispatched
Officer                              CFS # CFS Type
                        Date/Time                     Date/Time     Date/Time     Date/Time       To Arrived   To Cleared

 Total CFS Count:   O




Report run by cmb\polidesa on 09/07/2020 10:41:59                                                                Page 1 of 1
                                                                                                    City 001637
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                                              286
     0
                                                                                                                      Start Date/Time:   10/22/2019 00:00:00

                                                                                                                      End Date/Time:     03/22/2020 23.59:59
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                                                        Daily CFS Detail
    Agency: FL0130700 - Miami Beach Police Department          Sources: ALL                                                     From CFS:     To:
    Units: ALL                                  Personnel: Salabarria, Jessica - 1023 CFS Types: ALL

    Dispositions: ALL                           Include Canceled: No                                          Layer: ALL

    Areas: ALL                                  Details: ALL

    Created      Dispatched Arrived                                                 Report           Caller Name
                                                CFS # CFS Type                                                                     Priority     Source
    Date/Time    Date/Time Date/Time                                                Req.             Caller Phone
    10/22/2019   10/22/2019   10/22/2019
                                                22579 19                                No                                         2            Officer Initiated
    15:24:44     15:24:44     15:24:44
    Entered by: CMB           Location: S POINTE DR \ OCEAN DR, Miami                                ORls: 01012, FL0130700
    \EMGTConM                 Beach



    10/30/2019 10/30/2019     10/30/2019
                                                 3041 34                                No                                         3            Officer Initiated
    21:17.57   21:17:57       21:17:57
    Entered by: CMS                                                                                  ORIs: 01012, FL0130700
                              Location: 800 COLLINS AVE, Miami Beach
    \EMGTChrJ
                                                                   »        i   t       •   od   tf       o   t   l   l   -
                                                               e            /   l                             t   l   l   «




  11/06/2019     11/06/2019   11/06/2019
) 19:26:48                                       7880 27                                No                                         4            911 Call
                 19:38:18     19:45:12
    Entered by: system        Location: 1149 5TH ST, Miami Beach                                 ORls: 01012, FL0130700




    11/08/2019   11/08/2019   11/08/2019
                                                 9218 41                                No                                         3            911 Call
    19:54:56     19:58:14     20:08:34
    Entered by: system        Location: 411 WASHINGTON AVE, Miami Beach ORls: 01012, FL0130700
                                                               e       na   o   l   e        t   t        a   t   t   l a
                                                                                             l       _à   a   t   t   l   a




    11/08/2019 11/08/2019     11/08/2019
                                                 9300 14                                No                                         4            911 Call
    22:57:40   23:10:08       23:09:51
    Entered by: system        Location: 900 WEST AVE 337, Miami Beach                            ORIs: 01012, FL0130700




    11/13/2019 11/13/2019     11/13/2019
    19:31:26   20:11:46       20:11:46
                                                12463 18                                No                                         3            911 Call

                              Location: MAC ARTHUR CSWY WB\ FOUNTAIN ORls: 01012, FL0130700
    Entered by: system
                              ST, Miami Beach




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                                                                                                                                       City 001638
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                                                                                                                                                                Start Date/Time:   10/22/2019 00.00.00

                                                                                                                                                                End Date/Time:     03/22/2020 23:59:59



                                                                                           Daily CFS Detail
        Created                    Dispatched Arrived                                                                Report            Caller Name
                                                                                      CFS# CFS Type                                                                          Priority     Source
        Date/Time                  Date/Time Date/Time                                                               Req.              Caller Phone
        11/14/2019                 11/14/2019                 11/14/2019
                                                                                      12953 14                        No                                                     4            Officer Initiated
        17.23:59                   17:23:59                   17:23:59
    Entered by: CMB                                               Location: 1100 WASHINGTON AVE, Miami Beaci" ORls: 01012, FL0130700
    \EMGTConM



    11/20/2019                     11/20/2019                 11/20/2019
                                                                                      16967 19                        No                                                     2            Officer Initiated
    20:52:25                       20:52:25                   20:52:25
    Entered by: CMB                                               Location: 8TH ST\ JEFFERSON AVE, Miami                               ORls: 01012, FL0130700
    \EMGTHanT                                                     Beach
          o        o   ta           ±       ta            t   l       l

         o     a           a        ±       td                t       l       a                            o,   to    ·        d   t_da        t               l

         o     a   /       a        ±       t             t   l       l           +                        o    l e       +    ±       d           t   l        l a




        11/26/2019                 11/26/2019                 11/26/2019
                                                                                      20900 19                        No                                                     2            Officer Initiated
        18:36:58                   18:36:58                   18:36:58
    Entered by: CMB                                                                                                                    ORls: 01012, FL0130700
                                                                  Location: 600 WEST AVE, Miami Beach
    \EMGTMcmD


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) ,j 1/28/2019                     11/28/2019                 11/28/2019
                                                                                      22005 14                        No                                                     4            911 Call
    15:50:50                       16:02:26                   16: 11 :23
    Entered by: system                                            Location: 1 OCEAN DR, Miami Beach                                ORts: 01012, FL0130700

                                                                                                           yo    o            at   t           t           al

                                                                                                   -       y    t o   •                d   a           t        l




    12/05/2019                     12/05/2019                 12/05/2019
                                                                                       1577 317E                      No                                                     1            911 Call
    19:31:42                       19:32:20                   19:33:13
    Entered by: system                                        Location: 16TH ST\ AL TON RD, Miami Beach                            ORls: 01012, FL0130700




    12/10/2019                     12/10/2019                 12/10/2019
                                                                                      5328 14                         No                                                     4            911 Call
    18:04:27                       18:09:32                   18:11:34
    Entered by: system                                        Location: 1523 ALTON RD, Miami Beach                                 ORls: 01012, FL0130700

                   o   t       o d      a       à         t       a




    12/19/2019                     12/19/2019                 12/19/2019
                                                                                      11330 BLDGFIRE                  No                                                                  911 Call
    22:29:36                       22:30:48                   22:35:51                                                             7863429400
    Entered by: CMB                                                                                                                ORls: 01012, FL0130700
                                                              Location: 61 COLLINS AVE 404, Miami Beach
    \EMGTCamM
         o    as       l       o    d       tt           t        a

                           o       at       ft      o   a t   t   al.     a                        «             e            a        l       t       l   »   l.   a


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    Report run by cmb\polidesa on 09/07/2020 14:37:07                                                                                                                                         Page 2 of 6

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                                                     286
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                                                                                                                                                         Start Date/Time:    10/22/2019 00.00.00

                                                                                                                                                         End Date/Time:      03/22/2020 23:59:59
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                                                                         Daily CFS Detail
    Created              Dispatched Arrived                                                           Report                  Caller Name
                                                                   CFS# CFS Type                                                                                      Priority      Source
    Date/Time            Date/Time Date/Time                                                          Req.                    Caller Phone
    12/20/2019           12/20/2019 12/20/2019                                                                                MFH,OPER
                                                                    11877 25                            No                                                            2             Telephone
    20:45:03             20:49:21   20:54:01                                                                                  8772857397
    Entered by: CMB                                 Location: 311 WASHINGTON AVE, Miami Beach ORls: 01012, FL0130700
    \EMGTTelN



    12/27/2019           12/27/2019 12/27/2019                                                                                PACHECO, DEIRRY
                                                                   15842 329                            No                                                            1             911 Call
    21 :02:27            21 :05:25  21 :07:22
    Entered by: system                              Location: 720 MERIDIAN AVE, Miami Beach                               ORIs: 01012, FL0130700




    01/01/2020           01/01/2020 01/01/2020
                                                                   19376 14                             No                                                            4             Officer Initiated
    17:05:58             17:05:59   17:05:59
    Entered by: CMB                                 Location: 1100 WASHINGTON AVE, Miami Beact ORls: 01012, FL0130700
    \EMGTHanT
                                                                                         yo   lo             t                ft             l           l   a

                                                                                     u   o          o   •             a                  t   l           l




  ()1/03/2020            01/03/2020             01/03/2020
) 21:11:34                                                         20947 14                             No                                                            4             Officer Initiated
                         21:11:34               21:11:34
    Entered by: CMB                                                                                                       ORls: 01012, FL0130700
                                                    Location: 300 AL TON RD, Miami Beach
    \EMGTMajR
                                                                                                  „               a       to         t           al

                                                                                 «   o   y    lo            ad            t#             t   l           l       a




    01/09/2020           01/09/2020             01/09/2020
                                                                   24402 14                             No                                                            4             Officer Initiated
    10:06:33             10:06:33               10:06:33
    Entered by: CMB                                                                                                       ORIs: 01012, FL0130700
                                                Location: 1821 W 27TH ST, Miami Beach
    \EMGTGuyT
                                                                                     a        l   »          ad   a           t o   at       l           l   a


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    01/10/2020           01/10/2020             01/10/2020
                                                                     303 14                             No                                                            4             Officer Initiated
    16:18:59             16:18:59               16:18:59
    Entered by: CMB                                                                                                       ORls: FL0130700
                                                Location: MAC CAUSEWAY
    \EMGTMajR
        o   o   y   #          t        a t     f   al

        +   o       l     d    fl       a   t   l      l                                      to             t    a       #fa        t       l   o       l   a

        o   o       lo    d    tl   a       t   l      l                                                    ed                le     t l                 l   a




    01/10/2020           01/10/2020             01/10/2020
                                                                     308 317E                           No                                                            1             911 Call
    16:25:03             16:25.52               16:27:20
    Entered by: system                          Location: 6TH ST\ MICHIGAN AVE, Miami Beach ORls: 01012, FL0130700
                                                                                              t o            d    a       to t                       •

                                                                                                             d    a       f     a            l




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    Report run by cmb\polidesa on 09/07/2020 14:37:07                                                                                                                                    Page 3 of 6

                                                                                                                                                                            City 001640
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                                             286
 3
                                                                                                                                             Start Date/Time:   10/22/2019 00:00:00

y                                                                                                                                            End Date/Time:     03/22/2020 23:59:59



                                                                        Daily CFS Detail
Created                      Dispatched Arrived                                                        Report               Caller Name
                                                                  CFS# CFS Type                                                                           Priority     Source
Date/Time                    Date/Time Date/Time                                                       Req.                 Caller Phone
01/10/2020                   01/10/2020
                                                                    379 38                             No                                                 3            911 Call
17:47:40                     17:55:04
Entered by: system                                 Location: 535 15TH ST 2, Miami Beach                                     ORls: 01012, FL0130700




01/30/2020                   01/30/2020        01/30/2020
                                                                  13447 38                             No                                                 3            Officer Initiated
16:09:23                     16:09:23          16.09:23
Entered by: CMB                                    Location: 1901 CONVENTION CENTER DR,                                     ORIs: 01012, FL0130700
EMGTChrJ                                           Miami Beach



02/01/2020                   02/01/2020        02/01/2020
                                                                  15516 36                             No                                                 3            Officer Initiated
19:49:01                     19:49:01          19:49:01
Entered by: CMB                                    Location: 1901 CONVENTION CENTER DR,                                     ORls: 01012, FL0130700
\EMGTMajR                                          Miami Beach
                                                                                              l.   o-    -t             tt       t       -   l   -
                                                                                          o   t         od                  tl       t               »




02/05/2020 02/05/2020                          02/05/2020
                                                                  18616 14                             No                                                 4            Officer Initiated
22.07:15   22.07:15                            22.07:15
Entered by: CMB                                                                                                         ORls: FL0130700
                                               Location: 1400 NE 1ST AVE BLK
\EMGTChrJ
                                                                                          o   lo            d               l    t   l   el

                                                                              a      a    o        o        d               f    t           l   a




02/07/2020                   02/07/2020        02/07/2020
                                                                  19793 22                             No                                                 4            Officer Initiated
17:15:57                     17:15:58          17:15:58
Entered by: CMB                                                                                                         ORls: 01012, FL0130700
                                               Location: 1288 COLLINS AVE, Miami Beach
\EMGTChrJ



02/11/2020                   02/11/2020        02/11/2020
                                                                  22476 14                             No                                                 4            Officer Initiated
20:48:24                     20:48:24          20:48:24
Entered by: CMB                                                                                                         ORls: 01012, FL0130700
                                               Location: 1100 5TH ST blk, Miami Beach
\EMGTMajR
    a            l   e        l       ll       l

        n   yo           ·    d   a    t   t   t                               o     a    y   t o           t   a       t        t   t       l

                                                                                     «o            o        d           tl       t   l       l




02/11/2020                   02/11/2020        02/11/2020                                                               -RESIDENT, MIKE
                                                                  22488 43                             No                                                 3            911 Call
21:19:05                     21:21:59          21:23:06
Entered by: system                             Location: 1428 EUCLID AVE, Miami Beach                                   ORls: 01012, FL0130700

                                                                                                   -        d           fl       t           l

                                                                                ,-        /   t o- •        ±       -       #    t   f       l   -




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                                                                                                                                                              City 001641
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                                                                                                                                              Start Date/Time:    10/22/2019 00.00.00

                                                                                                                                              End Date/Time:      03/22/2020 23:59:59



                                                             Daily CFS Detail
 Created           Dispatched Arrived                                                    Report                     Caller Name
                                                        CFS# CFS Type                                                                                        Priority    Source
 Date/Time         Date/Time Date/Time                                                   Req.                       Caller Phone
 02/12/2020        02/12/2020        02/12/2020
                                                        23070 17                              No                                                             4           Telephone
 18:35:36          18:41:06          18:50:12                                                                       3057999420
 Entered by: CMB                                                                                                    ORls: 01012, FL0130700
                                         Location: 14TH ST\ AL TON RD, Miami Beach
 \EMGTCunA



 02/12/2020        02/12/2020        02/12/2020
                                                        23105 19                              No                                                             2           Officer Initiated
 19:55:17          19:55:17          19:55:17
 Entered by: CMB                                                                                                ORls: 01012, FL0130700
                                         Location: 11TH ST\ AL TON RD, Miami Beach
 \EMGTHanT
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 02/18/2020 02/18/2020               02/18/2020                                                                 CALLER, FEMALE
                                                         2069 WATEREMER                       No                                                             1           Telephone
 17:00:36   17.02:47                 17:11:00                                                                   7862163333
Entered by: CMB                          Location: 190 MAC ARTHUR CSWY EB, Miami                                ORls: 01012, FL0130700
\EMGTGarV                                Beach



02/18/2020         02/18/2020        02/18/2020
                                                         2248 26                              No                                                             5           Officer Initiated
 22:54:36          22:54:36          22:54:36
Entered by: CMB                                                                                                 ORls: FL0130700
                                         Location: 100 MAC ARTHUR CSWY WB
\EMGTTayC



02/19/2020 02/19/2020                02/19/2020
                                                         2893 34                              No                                                             3           911 Call
20:32:31   20:33:30                  20:39:46
Entered by: system                       Location: 1504 BAY RD, Miami Beach                                     ORIs: 01012, FL0130700




                                                                                                                OPER4670,
02/26/2020         02/26/2020        02/26/2020
                                                         7766 25                              No                CENTRAL                                      2           Telephone
19:48:03           20:27:35          20:35:28
                                                                                                                8006332677
Entered by: CMB                                                                                                 ORls: 01012, FL0130700
                                     Location: 37 STAR ISLAND DR, Miami Beach
\EMGTCunA



02/26/2020         02/26/2020        02/26/2020
                                                         7773 34                              No                                                             3           Telephone
20:02:37           20:26:42          20:28:27                                                                   3056722395
Entered by: CMB                                                                                                 ORls: 01012, FL0130700
                                     Location: 1443 ALTON RD, Miami Beach
\EMGTMicA
  e       a   «o    d           t.   l   al   a

                                                                               /o   .o             ±            ta          t                l
                         ''                                               a         a         «    ad           t      a   at                l




02/26/2020         02/26/2020        02/26/2020
                                                        7784 34                               No                                                             3           Telephone
20:42: 13          20:52:49          20:56:23                                                                   3059682663


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                                                                                                                                                                 City 001642
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                                                                                                                Start Date/Time:   10/22/2019 00:00:00

                                                                                                                End Date/Time:     03/22/2020 23:59:59



                                                 Daily CFS Detail
 Created      Dispatched Arrived                                     Report                Caller Name
                                           CFS # CFS Type                                                                    Priority     Source
 Date/Time    Date/Time Date/Time                                    Req.                  Caller Phone
 Entered by: CMB                                                                           ORls: 01012, FL0130700
                           Location: 1321 14TH TER, Miami Beach
 \EMGTGarV



 03/05/2020 03/05/2020     03/05/2020
                                           12520 14                      No                                                  4            911 Call
 09:32:24   09:34:43       09:36:16
 Entered by: system        Location: 1501 COLLINS AVE, Miami Beach                         ORls: 01012, FL0130700




 03/10/2020   03/10/2020   03/10/2020
                                           16287 14                      No                                                  4            Officer Initiated
 10:02:23     10.02.23     10.02.23
 Entered by: CMB                                                                           ORls: 01012, FL0130700
                           Location: 1061 MICHIGAN AVE, Miami Beach
 \EMGTRamR
                                                                              d                     t   l   «   l

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 03/12/2020   03/12/2020   03/12/2020
                                           18108 315                     No                                                  1            Telephone
 17:00:58     17:02: 13    17:03:37
\ Entered by: CMB          Location: 1330 PENNSYLVANIA AVE, Miami                          ORIs: 01012, FL0130700
PINGSanR                   Beach
                                                       a    yo       a   «    ta           tf       t   l       l

                                                                 l            ad           ta       t           l




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                                                                                                                                 City 001643
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                                                                                                                                      Start Date/Time: 10/22/2019 00.00.00

                                                                                                                                      End Date/Time:    03/22/2020 23:59:59
ì
                                                                            Daily CFS Detail
    Agency: FL0130700 - Miami Beach Police Department                               Sources: ALL                                               From CFS:     To:
    Units: ALL                                                       Personnel: Salabarria, Jessica - 1023 CFS Types: ALL

    Dispositions: ALL                                                Include Canceled: No                                   Layer: ALL

    Areas: ALL                                                       Details: ALL

    Created                 Dispatched Arrived                                                   Report           Caller Name
                                                                     CFS# CFS Type                                                                Priority     Source
    Date/Time               Date/Time Date/Time                                                  Req.             Caller Phone
    10/22/2019              10/22/2019             10/22/2019
                                                                     22579 19                       No                                            2            Officer Initiated
    15:24:44                15:24:44               15:24:44
    Entered by: CMB                                Location: S POINTE DR\ OCEAN DR, Miami                         ORIs: 01012, FL0130700
    \EMGTConM                                      Beach



    10/30/2019              10/30/2019             10/30/2019
                                                                      3041 34                       No                                            3            Officer Initiated
    21:17:57                21:17:57               21:17:57
    Entered by: CMB                                                                                               ORIs: 01012, FL0130700
                                                   Location: 800 COLLINS AVE, Miami Beach
    \EMGTChrJ
     o        /o       „a    „d       tf   o   t       al a

      a   n   o    l        «d    o   ±te      t   l     l   a   •                                  •    od            a         l    l

                                                                                     o       t           d    o   to       a t   l    l




 11/06/2019                 11/06/2019             11/06/2019
                                                                      7880 27                       No                                            4            911Call
)19:26:48                   19:38:18               19:45:12
    Entered by: system                             Location: 1149 5TH ST, Miami Beach                             ORIs: 01012, FL0130700




    11/08/2019              11/08/2019 11/08/2019
                                                                      9218 41                    No                                               3            911 Call
    19:54:56                19:58:14   20:08:34
Entered by: system                                 Location: 411 WASHINGTON AVE, Miami Beach ORls: 01012, FL0130700
                                                                                             la e                 le             l

                                                                                     a   a   t           t        ft   et            al




11/08/2019                  11/08/2019             11/08/2019
                                                                      9300 14                    No                                               4            911 Call
22:57:40                    23:10.08               23.09:51
Entered by: system                                 Location: 900 WEST AVE 337, Miami Beach                        ORls: 01012, FL0130700




11/13/2019                  11/13/2019             11/13/2019
                                                                     12463 18                    No                                               3           911 Call
19:31:26                    20:11:46               20:11:46
                                                   Location: MAC ARTHUR CSWY WB\ FOUNTAIN ORIs: 01012, FL0130700
Entered by: system
                                                   ST, Miami Beach




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                                                                                                                                                       City 001644
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                                                                                                                            Start Date/Time: 10/22/2019 00.00.00

                                                                                                                            End Date/Time:    03/22/2020 23:59:59



                                                            Daily CFS Detail
 Created         Dispatched Arrived                                                  Report        Caller Name
                                                       CFS# CFS Type                                                                    Priority     Source
 Date/Time       Date/Time Date/Time                                                 Req.          Caller Phone
 11/14/2019      11/14/2019             11/14/2019
                                                       12953 14                          No                                             4            Officer Initiated
 17:23:59        17:23:59               17:23:59
Entered by: CMB
\EMGTConM
                                        Location: 1100 WASHINGTON AVE, Miami Bea                  ORIs: 01012, FL0130700


11/20/2019       11/20/2019 11/20/2019
                                                       16967 19                          No                                             2            Officer Initiated
20:52:25         20:52:25   20.52:25
Entered by: CMB                         Location: 8TH ST\ JEFFERSON AVE, Miami                     ORls: 01012, FL0130700
\EMGTHanT                               Beach
a      o,        ad    a    tat     l    al

             at             f       l          l                    o             to     «         tl   t       l       l       a


  o         la    ad            t l            l                             /o   t e    «    t    ta       t   l   e       l




11/26/2019       11/26/2019         11/26/2019
                                                       20900 19                          No                                             2            Officer Initiated
18:36:58         18:36:58           18:36:58
Entered by: CMB                                                                                    ORls: 01012, FL0130700
                                        Location: 600 WEST AVE, Miami Beach
\EMGTMcmD



11128/2019       11/28/2019         11/28/2019
                                                       22005 14                          No                                             4            911 Call
 15:50:50        16:02:26           16:11:23
Entered by: system                      Location: 1 OCEAN DR, Miami Beach                          ORls: 01012, FL0130700




12/05/2019       12/05/2019         12/05/2019
                                                        1577 317E                        No                                                          911 Call
19:31:42         19:32:20           19:33: 13
Entered by: system                      Location: 16TH ST\ AL TON RD, Miami Beach                  ORIs: 01012, FL0130700




12/10/2019       12/10/2019         12/10/2019
                                                        5328 14                          No                                             4           911 Call
18:04:27         18:09:32           18: 11 :34
Entered by: system                  Location: 1523ALTON RD, Miami Beach                            ORls: 01012, FL0130700



12/19/2019       12/19/2019         12/19/2019
                                                       11330 BLDGFIRE                    No                                                         911 Call
22:29:36         22:30:48           22:35:51                                                       7863429400
Entered by: CMB                                                                                    ORIs: 01012, FL0130700
                                    Location: 61 COLLINS AVE 404, Miami Beach
\EMGTCamM
            lo    d        fl   t   l      l
            to    d        ft   t          l                        o   o         lo e   od       tl    t       l       l       «


                                                                    o   os   y      e              l    t       l   e   l




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                                                                                                                                             City 001645
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                                              286
    0
                                                                                                                 Start Date/Time:    10/22/2019 00.00.00

                                                                                                                 End Date/Time:      03/22/2020 23:59:.59



                                                    Daily CFS Detail
    Created      Dispatched Arrived                                          Report          Caller Name
                                              CFS# CFS Type                                                                   Priority      Source
    Date/Time    Date/Time Date/Time                                         Req.            Caller Phone
    12/20/2019 12/20/2019     12/20/2019                                                     MFH,OPER
                                               11877 25                       No                                              2             Telephone
    20:45:03   20:49:21       20:54:01                                                       8772857397
    Entered by: CMB           Location: 311 WASHINGTON AVE, Miami Beach ORls: 01012, FL0130700
    \EMGTTelN



    12/27/2019   12/27/2019   12/27/2019                                                     PACHECO, DEIRRY
                                              15842 329                      No                                                             911Call
    21 :02:27    21 :05:25    21 :07:22
    Entered by: system        Location: 720 MERIDIAN AVE, Miami Beach                        ORIs: 01012, FL0130700




    01/01/2020 01/01/2020     01/01/2020
                                              19376 14                       No                                               4             Officer Initiated
    17:05:58   17:05:59       17:05:59

    @""Ç,";;Se                1scanter: 11oo wAs+mGroN Ave. Mamt sea+ 0Rs: 01012. F0130700o

                                                                                   d          l          l       l

                                                                     t             .at       t„at        t       l




  )1/03/2020     01/03/2020   01/03/2020
) 21:11:34                                    20947 14                       No                                               4             Officer Initiated
                 21:11:34     21:11:34
    Entered by: CMB                                                                          ORls: 01012, FL0130700
                              Location: 300 AL TON RD, Miami Beach
    \EMGTMajR
                                                           e             +e        d         tl     k    l       l   a


                                                           o    po   le       •    d          l     t    l       l       a




    01/09/2020   01/09/2020   01/09/2020
                                              24402 14                       No                                               4             Officer Initiated
    10:06:33     10:06:33     10:06:33
    Entered by: CMB                                                                          ORIs: 01012, FL0130700
                              Location: 1821 W 27TH ST, Miami Beach
    \EMGTGuyT
                                                                         o         a                ±    l   l       a


                                                                                             tt     a«   t




    01/10/2020   01/10/2020   01/10/2020
                                                303 14                       No                                               4             Officer Initiated
    16:18:59     16:18:59     16:18:59
    Entered by: CMB                                                                          ORls: FL0130700
                              Location: MAC CAUSEWAY
    \EMGTMajR
                                                                         -         ±     «   tat

                                                                                   t         tt.a   t    l




    01/10/2020   01/10/2020   01/10/2020
                                                308 317E                     No                                                             911 Call
    16:25.03     16:25:52     16:27:20
    Entered by: system        Location: 6TH ST\ MICHIGAN AVE, Miami Beach ORIs: 01012, FL0130700
                                                               po    lad                     ft          l   l       a


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    Report run by cmb\polidesa on 09/07/2020 14:37:07                                                                                            Page 3 of 6

                                                                                                                                    City 001646
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0
                                                                                                                              Start Date/Time:   10/22/2019 00:00:00

                                                                                                                              End Date/Time:     03/22/2020 23:59:59



                                                         Daily CFS Detail
Created          Dispatched Arrived                                                     Report            Caller Name
                                                   CFS# CFS Type                                                                           Priority     Source
Date/Time        Date/Time Date/Time                                                    Req.              Caller Phone
01/10/2020       01/10/2020
                                                     379 38                             No                                                 3            911 Call
17:47:40         17:55:04
Entered by: system                 Location: 535 15TH ST 2, Miami Beach                                   ORIs: 01012, FL0130700




01/30/2020       01/30/2020        01/30/2020
                                                   13447 38                             No                                                 3            Officer Initiated
16:09:23         16:09:23          16:09:23
Entered by: CMS                    Location: 1901 CONVENTION CENTER DR,                                   ORls: 01012, FL0130700
\EMGTChrJ                          Miami Beach



02/01/2020       02/01/2020        02/01/2020
                                                   15516 36                             No                                                 3            Officer Initiated
19:49:01         19:49:01          19:49:01
Entered by: CMB                    Location: 1901 CONVENTION CENTER DR,                                   ORIs: 01012, FL0130700
\EMGTMajR                          Miami Beach
                                                                 o         y   l    o            ad       t lo   t       l

                                                                 a     o       t                 d        ta         t   t    l       a




02/05/2020 02/05/2020              02/05/2020
                                                  18616 14                              No                                                 4            Officer Initiated
22:07:15   22:07:15                22:07:15
Entered by: CMS                                                                                           ORls: FL0130700
                                   Location: 1400 NE 1ST AVE BLK
\EMGTChrJ
                                                                               lo        •                let l              l

                                                                               t.            -            lt     t       t   l




02/07/2020       02/07/2020        02/07/2020
                                                  19793 22                              No                                                 4            Officer Initiated
17:15:57         17:15:58          17:15:58
Entered by: CMB                                                                                           ORIs: 01012, FL0130700
                                   Location: 1288 COLLINS AVE, Miami Beach
\EMGTChrJ



02/11/2020 02/11/2020              02/11/2020
                                                  22476 14                              No                                                 4            Officer Initiated
20:48:24   20:48:24                20:48:24
Entered by: CMB                                                                                           ORIs: 01012, FL0130700
                                   Location: 1100 5TH ST blk, Miami Beach
\EMGTMajR
  «    ,   l      d       fl   t

           l a    t   o   ta   t    al                                             o    «        d        da     t       l   l.   a


                                                                               •                 od   a   td     t       l   l




02/11/2020       02/11/2020        02/11/2020                                                             -RESIDENT, MIKE
                                                  22488 43                              No                                                 3            911 Call
21:19:05         21:21:59          21:23:06
Entered by: system                 Location: 1428 EUCLID AVE, Miami Beach                                 ORIs: 01012, FL0130700

                                                                           y   to «              t        ta     t           l    a
                                                                 ,a«   s   y   t«                t        ttt                l




Report run by cmb\polidesa on 09/07/2020 14:37:07                                                                                                            Page 4 of 6

                                                                                                                                               City 001647
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                                              286
     E
                                                                                                                                            Start Date/Time:   10/22/2019 00.00.00

                                                                                                                                            End Date/Time:     03/22/2020 23:59:59
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                                                                Daily CFS Detail
     Created           Dispatched Arrived                                                     Report               Caller Name
                                                           CFS# CFS Type                                                                                 Priority     Source
     Date/Time         Date/Time Date/Time                                                    Req.                 Caller Phone
     02/12/2020        02/12/2020       02/12/2020
                                                           23070 17                           No                                                         4            Telephone
     18:35:36          18:41:06         18:50:12                                                                   3057999420
     Entered by: CMS                                                                                               ORIs: 01012, FL0130700
                                            Location: 14TH ST\ ALTON RD, Miami Beach
     \EMGTCunA



     02/12/2020        02/12/2020       02/12/2020
                                                           23105 19                           No                                                         2            Officer Initiated
     19:55:17          19:55:17         19:55:17
     Entered by: CMB                                                                                           ORls: 01012, FL0130700
                                            Location: 11TH ST\ AL TON RD, Miami Beach
     \EMGTHanT
                                                                        »   o«    y   lo                       f           t       l    l

                                                                       ya    o                     d               l           t   l        l




     02/18/2020        02/18/2020       02/18/2020                                                             CALLER, FEMALE
                                                            2069 WATEREMER                    No                                                                     Telephone
     17:00:36          17:02:4 7        17: 11 :00                                                             7862163333
     Entered by: CMS                    Location: 190 MAC ARTHUR CSWY EB, Miami                                ORls: 01012, FL0130700
     \EMGTGarV                          Beach
         a   yo   to     d    ff    t   t      l



         n   o     e    d    t„     t   l      l   a




) 02/18/2020           02/18/2020       02/18/2020
                                                            2248 26                           No                                                         5           Officer Initiated
  22:54:36             22:54:36         22:54:36
     Entered by: CMB                                                                                           ORls: FL0130700
                                        Location: 100 MAC ARTHUR CSWY WB
     \EMGTTayC



     02/19/2020        02/19/2020       02/19/2020
                                                           2893 34                            No                                                         3           911 Call
     20:32:31          20:33:30         20:39:46
     Entered by: system                 Location: 1504 BAY RD, Miami Beach                                     ORIs: 01012, FL0130700

                                                                            +    yo                a               ta              t   al       a

                                                                                      t




                                                                                                               OPER4670,
     02/26/2020        02/26/2020       02/26/2020
                                                           7766 25                            No               CENTRAL                                   2           Telephone
     19:48:03          20:27:35         20:35:28
                                                                                                               8006332677
    Entered by: CMS                                                                                            ORls: 01012, FL0130700
                                        Location: 37 STAR ISLAND DR, Miami Beach
    \EMGTCunA



    02/26/2020         02/26/2020 02/26/2020
                                                           7773 34                            No                                                         3           Telephone
    20.02:37           20:26:42   20:28:27                                                                 3056722395
    Entered by: CMS                                                                                        ORIs: 01012, FL0130700
                                        Location: 1443 ALTON RD, Miami Beach
    \EMGTMicA
                                                                                 yo       o                t           o   t           al       a   +


                                                                                 y    t „o         d   a       to          t       l   al




    02/26/2020         02/26/2020       02/26/2020
                                                           7784 34                            No                                                         3           Telephone
    20:42:13           20:52:49         20:56:23                                                           3059682663


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                                                                                                                                                             City 001648
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                                          286
El
                                                                                                           Start Date/Time:   10/22/2019 00:00:00

                                                                                                           End Date/Time:     03/22/2020 23:59:59



                                                Daily CFS Detail
Created      Dispatched Arrived                                              Report       Caller Name
                                          CFS # CFS Type                                                                Priority     Source
Date/Time    Date/Time Date/Time                                             Req.         Caller Phone
Entered by: CMB                                                                           ORIs: 01012, FL0130700
                          Location: 1321 14TH TER, Miami Beach
\EMGTGarV



03/05/2020   03/05/2020   03/05/2020
                                           12520 14                          No                                         4            911 Call
09:32:24     09:34:43     09:36:16
Entered by: system        Location: 1501 COLLINS AVE, Miami Beach                         ORls: 01012, FL0130700




03/10/2020   03/10/2020   03/10/2020
                                           16287 14                          No                                         4            Officer Initiated
10.02.23     10.02.23     10.02:23
Entered by: CMB                                                                           ORls: 01012, FL0130700
                          Location: 1061 MICHIGAN AVE, Miami Beach
\EMGTRamR
                                                      o    o   yo    l   +                tl       t   l

                                                       «       yo    le       •   d        l       t   l       a




03/12/2020   03/12/2020   03/12/2020
                                          18108 315                          No                                                      Telephone
17:00:58     17:02:13     17:03:37
Entered by: CMB           Location: 1330 PENNSYLVANIA AVE, Miami                          ORIs: 01012, FL0130700
PINGSanR                  Beach
                                                           a         t o          t   a        a       t   l

                                                               po,       o        d                t   l   l   a




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                                                                                                                            City 001649
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                                           286




                              APPENDIX
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                                                                        City 001650
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                                     286




                                  Miami Beach
                                   Radio Log
                               Jessica Salabarria




                                                                  City 001651
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                                           286
                                                                                           Start Date/Ti m e:   10/22/2019 00.00.00

                                                                                           End Date/Time:       03/23/2020 23:59:.59




                                             Officer Activity Report
 Agency: FL0130700 - Miami Beach Police Department Units: ALL                                   Personnel: Salabarria, Jessica -
                                                                                                1023

 Statuses:   SL:                               Oh 50m 22s     0.02 %     Total Statuses:             233

             SA:                               2h 41m 04s     0.07 %     Total Dispatches:             19

             SD:                             453h 11m 40s    12.27 %     Total Busy:                 214

             OL:                               8h 17m 53s     0.23 %     Total Traffic Stops:           O

             05:                              19h 16m 28s     0.52 %     Total Time: 153 Days 20 Hours 42 Minutes 54 Seconds

             10:                              17h 08m 53s     0.46 %
             06:                            2930h 21m 26s    79.36 %
             EN:                               8h 04m 41s     0.22 %
             DI:                               5h 48m 57s     0.16 %
             09:                             219h 30m 14s     5.94 %
             AR:                              27h 31m 16s     0.75 %
             Total:                         3692h 42m 54s   100.00 %

4Activity
                   Unit#   Badge # Status           Incident#/ Plate   Unit Location                    Nature Of Call
aterrime
10/22/2019
                   1023      1023 09
14:59:55
10/22/2019
                   1023      1023 SD
15:00:24
10/22/2019                                          2019-00094126 I
                   1023      1023 AR
15:24:44                                            IUYX53
10/22/2019                                          2019-00094126 I
                   1023      1023 AR
15:24:44                                            IUYX53
10/22/2019                                          2019-00094126 I
                   1023      1023 09
15:38:00                                            IUYX53
10/22/2019
                   1023      1023 SD
16:35:15
10/23/2019
                   1023      1023 06
00:16:30
10/23/2019
                   1023      1023 09
15:13:10
10/23/2019
                   1023      1023 SD
18:08:05
10/24/2019
               1023          1023 06
00:55:47
10/25/2019
               1023          1023 09
15:29:38
10/25/2019
               1023          1023 SD
 5:32:20
10/25/2019
               1023          1023 09
22:05:23


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                                                                                                            City 001652
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                                           286
                                                                                        Start Date/Time:   10/22/2019 00:.00:.00

                                                                                        End Date/Time:     03/23/2020 23:59:59
 \'

                                            Officer Activity Report
  Activity
                 Unit#     Badge # Status            Incident#/ Plate   Unit Location              Nature Of Call
  Date/Time
   10/25/2019
                 1023         1023 06
  22:13:44
   10/28/2019
                 1023         1023 09
  22:39:34
  10/29/2019
                1023          1023 SD
  00:43:58
  10/29/2019
                1023          1023 06
  01:37:20
  10/30/2019
                1023          1023 09
  16:03:40
  10/30/2019
                1023          1023 SD
  16:03:47
  10/30/2019
                1023         1023 EN
  21:19:06
  10/30/2019
                1023         1023 EN
  21:19:06
  10/30/2019
                1023         1023 09
  22:18:11
0r31/201e       1023         1023 06
  50:17:12
  10/31/2019
                1023         1023 09
  14:40:30
  10/31/2019
                1023         1023 SD
  16:12:11
  11/01/2019
                1023         1023 06
  02:49:18
  11/01/2019
                1023         1023 09
  15:10:49
  11/01/2019
                1023         1023 SD
  15:13:18
  11/01/2019
                1023         1023 09
  15:35:36
  11/01/2019
                1023         1023 10
 15:35:52
 11/01/2019
                1023         1023 09
 16:18:39
 11/01/2019
                1023         1023 SD
 16:27:04
 11/01/2019
                1023         1023 05
 19:43: 16
 11/01/2019
                1023         1023 09
 19:53:14
 '1/01/2019
                1023         1023 SD
• 9:53:18
 11/02/2019
                1023         1023 06
 00:22:09

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                                                                                                     City 001653
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                                           286
                                                                                       Start Date/Time:   10/22/2019 00:00:00

                                                                                       End Date/Time:     03/23/2020 23:59:59




                                           Officer Activity Report
 Activity
               Unit#      Badge # Status            Incident#/ Plate   Unit Location              Nature Of Call
 Date/Time
 11/05/2019
               1023          1023 09
 15:21 :43
 11/05/2019
               1023          1023 SD
 15:21:50
 11/05/2019
               1023          1023 10
 15:45:28
 11/05/2019
               1023          1023 09
 17:08:34
 11/05/2019
               1023          1023 SD
 17:46:35
 11/06/2019
              1023           1023 06
 00:16:12
 11/06/2019
              1023          1023 09
 15:58:00
 11/06/2019
              1023          1023 SD
 15:58:14
 11/06/2019
              1023          1023 DI                                    05 - 2129H
 19:52:47
 11/06/2019
              1023          1023 EN                                    05 - 2129H
  9:52:50
11/06/2019
              1023          1023 AR                                    05 - 2129H
21:31:12
11/06/2019
              1023          1023 SA                                    05 - 2129H
21:31:16
11/07/2019
              1023          1023 09                                    05- 2129H
00:12:20
11/07/2019
              1023          1023 06
00:30:27
11/07/2019
              1023          1023 09
15:53:11
11/07/2019
              1023          1023 SD
15:55:35
11/08/2019
              1023          1023 06
00:28:47
11/08/2019
              1023          1023 09
14:31:35
11/08/2019
              1023          1023 05
14:31:46
11/08/2019
              1023          1023 09
15:27:30
11/08/2019
              1023          1023 SD
15:39:25
1/08/2019
              1023          1023 DI
 r02:52
11/08/2019
              1023          1023 EN
20:08:27

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                                                                                                     City 001654
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                                            286
 9                                                                                     Start Date/Time:   10/22/2019 00:.00.00

                                                                                       End Date/Time:     03/23/2020 23:59:59




                                           Officer Activity Report
 Activity
               Unit#      Badge # Status            Incident#/ Plate   Unit Location              Nature Of Call
 Date/Time
 11/08/2019
               1023          1023 AR
 20:17:45
 11/08/2019
               1023          1023 09
 21:37:57
 11/08/2019
              1023           1023 SD
 21:38:19
 11/08/2019
              1023           1023 09
 22:15:08
 11/08/2019
              1023           1023 AR
 23:11 :05
 11/08/2019
              1023           1023 AR
 23:11 :05
 11/08/2019
              1023          1023 09
 23:38:41
 11/09/2019
              1023          1023 SD
 00:02:14
 11/09/2019
              1023          1023 06
 00:20:27

pe8:35:17
              1023          1023 09

 11/12/2019
              1023          1023 SD
 18:35:23
11/12/2019
              1023          1023 09
22:14:24
11/13/2019
              1023          1023 06
00:20:37
11/13/2019
              1023          1023 09
15:20:53
11/13/2019
              1023          1023 SD
15:21 :05
11/13/2019
              1023          1023 AR                 2019-00101274 /
20:11:46
11/13/2019
              1023          1023 AR                 2019-00101274 /
20:11:46
11/13/2019
              1023          1023 09                 2019-00101274 I
20:12:18
11/13/2019
              1023          1023 SD
21:16:21
11/14/2019
              1023          1023 09
01:47:20
11/14/2019
              1023          1023 06
06:15:18
'1/14/2019
              1023          1023 09
.,, 5:47:16
11/14/2019
              1023          1023 SD
15:47:31

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                                                                                                     City 001655
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                                              286
    J                                                                                      Start Date/Time:   10/22/2019 00:00:00

                                                                                           End Date/Time:     03/23/2020 23.59:59

    \
                                               Officer Activity Report
    Activity
                  Unit#       Badge # Status            Incident#/ Plate   Unit Location              Nature Of Call
    Date/Time
     11/14/2019
                  1023          1023 AR                 2019-00101527 /
     17:23:59
     11/14/2019
                  1023          1023 AR                 2019-00101527 /
     17:23:59
     11/14/2019
                  1023          1023 09                 2019-00101527/
     17:29:45
     11/14/2019
                  1023          1023 SD
     17:30:10
    11/15/2019
                  1023          1023 06
    00:14:51
    11/19/2019
                  1023          1023 09
    15:20:42
    11/19/2019
                  1023          1023 SD
    15:20:47
    11/19/2019
                  1023          1023 10
    18:13:52
    11/19/2019
                  1023          1023 09
    19:58:18
     1/19/2019
                  1023          1023 SD
     9:58:26
    11/20/2019
                  1023          1023 06
    00:22:41
    11/20/2019
                  1023          1023 09
    15:21:33
    11/20/2019
                  1023          1023 SD
    15:21:39
    11/20/2019
                  1023          1023 DI                 / LWZD65
    21:35:34
    11/20/2019
                  1023          1023 EN                 / LWZD65
    21 :35:37
    11/20/2019
                  1023          1023 09                 I LWZD65
    22:23:32
    11/21/2019
                  1023          1023 06
    00:13:18
    11/26/2019
                  1023          1023 09
    15:28:11
    11/26/2019
                  1023          1023 SD
    16:23:43
    11/26/2019                                          2019-00105233/
                  1023          1023 AR
    18:36:58                                            KGCT03
    11/26/2019                                          2019-00105233 /
                  1023          1023 AR
    18:36:58                                            KGCT03
    '1/26/2019                                          2019-00105233 /
                  1023          1023 09
      5:46:17                                           KGCT03
'   11/27/2019
    00:17:36
                  1023          1023 06


    Report run by cmb\polidesa on 08/31/2020 12:33:00                                                                   Pages of 21
                                                                                                         City 001656
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    ]                                      286
                                                                                       Start Date/Time:   10/22/2019 00.00.00

                                                                                       End Date/Time:     03/23/2020 23:59.59

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                                           Officer Activity Report
 Activity
               Unit#      Badge # Status            Incident#/ Plate   Unit Location              Nature Of Call
 Date/Time
  11/27/2019
                1023         1023 09
  15:32:33
  11/27/2019
               1023          1023 SD
  15:46:35
  11/28/2019
               1023         1023 09
 00:00:53
  11/28/2019
               1023         1023 06
 00:16:50
  11/28/2019
               1023         1023 09
  14:32:29
  11/28/2019
               1023         1023 05
  14:32:36
 11/28/2019
               1023         1023 09
 15:13:47
 11/28/2019
               1023         1023 DI
 16:50:31
 11/28/2019
               1023         1023 09
 18:57:25
  1
   1/29/2019
               1023         1023 SD
  0:20:29
 11/29/2019
               1023         1023 06
 06:17:06
 12/03/2019
               1023         1023 09
 15:18:53
 12/03/2019
               1023         1023 SD
 15:31:14
 12/03/2019
               1023         1023 09
22:14:47
12/04/2019
               1023         1023 06
00:17:27
12/04/2019
               1023         1023 09
14:30:22
12/04/2019
               1023         1023 05
14:30:26
12/04/2019
               1023         1023 09
15:43:43
12/04/2019
               1023         1023 SD
15:43:52
12/05/2019
               1023         1023 06
00:15:50
12/05/2019
               1023         1023 09
14:29:52
'2/05/2019
               1023         1023 DI
932.51
12/05/2019
               1023         1023 AR
19:45:10

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                                                                                                     City 001657
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                                           286
 9                                                                                       Start Date/Time:   10/22/2019 00:00:00

                                                                                         End Date/Time:     03/23/2020 23:59:59




                                            Officer Activity Report
 Activity
               Unit #      Badge # Status            Incident #/ Plate   Unit Location              Nature Of Call
 Date/Time
 12/05/2019
               1023           1023 09
 22:21 :54
 12/06/2019
               1023           1023 06
 00:17:44
 12/10/2019
               1023          1023 09
 14:41:30
 12/10/2019
               1023          1023 05
 14:41:38
 12/10/2019
               1023          1023 09
 15:16:04
 12/10/2019
               1023          1023 SD
 15:16:12
 12/10/2019
               1023          1023 DI                                     9TH ST & AL TON RD
 18:10:33
 12/10/2019
               1023          1023 AR                                     9TH ST & AL TON RD
 18:23:48
12/10/2019
               1023          1023 09                                     9TH ST & AL TON RD
20:08:24
 2/10/2019     1023          1023 SD
 .0:13:09
12/11/2019
               1023          1023 06
00:21:14
12/11/2019
               1023          1023 09
15:35:02
12/11/2019
              1023           1023 SD
15:35:09
12/11/2019
              1023           1023 06
17:44:28
12/11/2019
              1023           1023 09
17:44:30
12/11/2019
              1023           1023 SD
17:44:39
12/11/2019
              1023           1023 09
22:11 :33
12/12/2019
              1023           1023 06
00:20:35
12/12/2019
              1023           1023 09
15:54:40
12/12/2019
              1023           1023 SD
15:54:44
12/12/2019
              1023           1023 06
22:52:09
'2/17/2019
              1023          1023 09
4.33:45
12/17/2019
              1023          1023 SD
17:05:44

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                                                                                                      City 001658
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                                           286
 8                                                                                      Start Date/Time:   10/22/2019 00.00.00

                                                                                        End Date/Time:     03/23/2020 23:59:59




                                           Officer Activity Report
 Activity
              Unit#       Badge # Status            Incident #/ Plate   Unit Location              Nature Of Call
 Date/Time
 12/18/2019
               1023          1023 06
 00:18:13
 12/18/2019
               1023          1023 09
 15:35:26
 12/18/2019
              1023           1023 SD
 15:35:38
 12/18/2019
              1023           1023 09
 22:11:08
12/18/2019
              1023           1023 SD
23:11:58
12/18/2019
              1023           1023 09
23:40:57
12/19/2019
              1023          1023 06
00:31:19
 12/19/2019
              1023          1023 09
 16:14:20
 12/19/2019
              1023          1023 SD
 16:28:21
 219/019      1023          1023 AR
 .2.52:56
12/19/2019
              1023          1023 AR
22:52:56
12/20/2019
              1023          1023 09
00:22:24
12/20/2019
              1023          1023 06
00:22:34
12/20/2019
              1023          1023 09
15:23:45
12/20/2019
              1023          1023 SD
15:23:52
12/20/2019
              1023          1023 DI
20:49:25
12/20/2019
              1023          1023 EN
20:49:28
12/20/2019
              1023          1023 09
20:51:47
12/20/2019
              1023          1023 SD
20:51 :55
12/20/2019
              1023          1023 09
22:08:31
12/21/2019
              1023          1023 SD
00:05:44
2/21/2019
              1023          1023 06
0:14:52
12/26/2019
              1023          1023 09
14:32:34

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                                                                                                      City 001659
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                                           286
                                                                                       Start Date/Time:   10/22/2019 00.00.00

                                                                                       End Date/Time:     03/23/2020 23:59.59




'Activity
 Date/Time
               Unit#      Badge # Status
                                           Officer Activity Report
                                                    Incident#/ Plate   Unit Location              Nature Of Call

 12/26/2019
               1023         1023 05
 14:32:42
 12/26/2019
               1023         1023 09
 15:21:47
 12/26/2019
               1023         1023 SD
 15:21:53
 12/27/2019
               1023         1023 06
 00:15:44
 12/27/2019
               1023         1023 09
 14:37:10
 12/27/2019
               1023         1023 05
 14:37:14
 12/27/2019
               1023         1023 09
 15:44:13
 12/27/2019
               1023         1023 SD
 17:38:38
 12/27/2019
               1023         1023 DI
 21 :06:01
  '2/27/2019   1023         1023 09
 23:17:31
  12/27/2019
               1023         1023 SD
 23:17:37
  12/28/2019
               1023         1023 06
 00:16:13
  12/31/2019
               1023         1023 09
  17:04:12
 12/31/2019
               1023         1023 so
 17:04:16
 01/01/2020
               1023         1023 06
 00:18:32
 01/01/2020
               1023         1023 09
 14:35:49
 01/01/2020
               1023         1023 SD
 14:37:12
 01/01/2020
 17:.05:.59
               1023         1023 AR                 2020-00000236 I
 01/01/2020
               1023         1023 AR                 2020-00000236 I
 17:05:59
01/01/2020
               1023         1023 09                 2020-00000236 I
 19:17:05
01/01/2020
               1023         1023 SD
 19:22:15
11/02/2020
               1023         1023 06
   0:14:33
01/02/2020
               1023         1023 09
15:14:50

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                                                                                                     City 001660
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]                                      286
                                                                                        Start Date/Time:   10/22/2019 00:00:00

                                                                                        End Date/Time:     03/23/2020 23:59:59

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                                           Officer Activity Report
 Activity
               Unit #     Badge # Status            Incident #/ Plate   Unit Location              Nature Of Call
 Date/Time
 01/02/2020
               1023          1023 05
  15:14:56
 01/02/2020
               1023          1023 09
  16:58:22
 01/02/2020
               1023          1023 SD
 16:58:33
 01/03/2020
               1023          1023 06
 00:14:22
 01/03/2020
               1023          1023 09
 16:15:27
 01/03/2020
               1023         1023 SD
 16:15:31
 01/03/2020
              1023          1023 AR
 21:30:13
 01/03/2020
              1023          1023 AR
 21:30:13
 01/03/2020
              1023          1023 AR
 22:20:31
 '1/03/2020   1023          1023 09
   .3:28:10
 01/04/2020
              1023          1023 06
 00:14:17
 01/07/2020
              1023          1023 09
  14:44:34
 01/07/2020
              1023          1023 05
 14:44:38
 01/07/2020
              1023          1023 09
 16:47:21
 01/07/2020
              1023          1023 SD
 16:47:27
 01/07/2020
              1023          1023 09
 22:34:10
 01/08/2020
              1023          1023 06
 00:16:07
 01/08/2020
              1023          1023 09
 14:32:38
 01/08/2020
 14:32:42
              1023          1023 05
01/08/2020
              1023          1023 09
16:16:31
01/08/2020
              1023          1023 SD
16:16:40
31/09/2020
              1023          1023 06
9:16:16
01/09/2020
              1023          1023 09
10:06:33

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                                                                                                      City 001661
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   9                                         286
                                                                                         Start Date/Time: 10/22/2019 00:00:00

                                                                                         End Date/Time:   03/23/2020 23:59:59

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                                             Officer Activity Report
   Activity
                 Unit#      Badge # Status            Incident#/ Plate   Unit Location              Nature Of Call
   Date/Time
   01/09/2020
                 1023          1023 AR
    10:06:33
   01/09/2020
                 1023          1023 AR
   10:06:33
   01/09/2020
                 1023          1023 09
   11 :20:28
   01/09/2020
                 1023          1023 06
   11:20:32
   01/09/2020
                 1023          1023 09
   11:24:49
   01/09/2020
                 1023          1023 06
   11:24:50
   01/09/2020
                 1023          1023 09
   15:20:29
   01/09/2020
                1023           1023 OL
   15:20:36
   01/09/2020
                1023          1023 09
   16:15:58
   11/09/2020
                1023          1023 SD
    2.36:32
   01/10/2020
                1023          1023 06
   00:18:26
   01/10/2020
                1023          1023 09
   15:24:14
   01/10/2020
                1023          1023 OL
   15:24:21
  01/10/2020
  16:18:59
                1023          1023 AR                 2020-00003111/
  01/10/2020
                1023          1023 AR                 2020-00003111 I
  16:18:59
  01/10/2020
  16:26:49
                1023          1023 09                 2020-00003111 I
  01/10/2020
                1023          1023 DI
  16:26:52
  01/10/2020
                1023          1023 EN
  16:26:57
  01/10/2020
                1023          1023 09
  17:54:53
  01/10/2020
                1023          1023 EN
  17:55:04
  01/10/2020
                1023          1023 EN
  17:55:04
  01/10/2020
                1023          1023 09
- :56:24
  01/10/2020
                1023          1023 SD
  18:05:18

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                                                                                                      City 001662
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                                                                                        End Date/Time:     03/23/2020 23.59:59

}
                                            Officer Activity Report
   Activity
                Unit#      Badge # Status            Incident#/ Plate   Unit Location              Nature Of Call
   Date/Time
  01/11/2020
                1023          1023 06
  00:15:19
  01/14/2020
                1023          1023 09
  15:05:08
  01/14/2020
               1023           1023 0L
  15:05:10
  01/14/2020
               1023           1023 09
  16:57:03
  01/14/2020
               1023           1023 10
  17:10:23
  01/14/2020
               1023           1023 09
  17:36:22
  01/14/2020
               1023           1023 SD
  17:54:24
  01/14/2020
               1023          1023 06
  17:54:38
  01/23/2020
               1023          1023 09
  06:36:29
  1/23/2020    1023          1023 10
  08.00:24
  01/23/2020
               1023          1023 09
  09:46:10
  01/23/2020
               1023          1023 06
  19:52:54
 01/25/2020
               1023          1023 09
 08:55:27
 01/25/2020
               1023          1023 SD
 08:56:37
 01/25/2020
               1023          1023 06
 19:11:06
 01/26/2020
               1023          1023 09
 11:35:37
 01/26/2020
               1023          1023 06
 20:34:38
 01/28/2020
               1023          1023 09
 12:17:43
 01/29/2020
               1023          1023 06
 05:55:27
 01/30/2020
               1023          1023 EN
 16:09:36
 01/30/2020
 16:09:36
               1023          1023 EN
 1/30/2020
   3:11.53     1023          1023 09
.../
 01/30/2020
               1023          1023 06
 23:33:53

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                                                                                                      City 001663
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    ]                                      286
                                                                                       Start Date/Time:   10/22/2019 00:00:00

                                                                                       End Date/Time:     03/23/2020 23:59.59

'\'
                                           Officer Activity Report
    Activity
                  Unit#   Badge # Status            Incident#/ Plate   Unit Location              Nature Of Call
    Date/Time
    02/01/2020
                  1023       1023 AR
    20:00:41
    02/01/2020
                  1023       1023 AR
    20:00:41
    02/01/2020
                 1023       1023 09
    20:22:17
    02/02/2020
                 1023       1023 06
    00:17:10
    02/04/2020
                 1023       1023 09
    16:08:47
    02/04/2020
                 1023       1023 SD
    16:31:24
    02/05/2020
                 1023       1023 06
    00:15:05
    02/05/2020
                 1023       1023 09
    15:59:12
    02/05/2020
                 1023       1023 EN
    22:21:28
    12/05/2020
                 1023       1023 EN
    22.21.:28
    02/05/2020
                 1023       1023 AR
    22:42:48
    02/06/2020
                 1023       1023 09
    00:16:14
    02/06/2020
                 1023       1023 06
    00:16:15
02/06/2020
                 1023       1023 09
17:05:19
02/06/2020
                 1023       1023 SD
17:59:43
02/07/2020
                 1023       1023 06
00:21 :48
02/07/2020
                 1023       1023 09
15:37:15
02/07/2020
                 1023       1023 OL
15:37:23
02/07/2020
                 1023       1023 09
16:41:48
02/07/2020
                 1023       1023 SD
16:42:11
02/07/2020
                 1023       1023 AR                 / LZZU791
17:15:58
12/07/2020
                 1023       1023 AR
-7:15:58
02/07/2020
18:40:04
                 1023       1023 09
                                                    / LZZU791

                                                    / LZZU791


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                                                                                                     City 001664
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 s9                                                                                      Start Date/Time: 10/22/2019 00.00.00

                                                                                         End Date/Time:   03/23/2020 23:59:.59



                                           Officer Activity Report
 Activity
 Date/Time
                Unit#     Badge # Status             Incident #/ Plate   Unit Location              Nature Of Call

  02/07/2020
                1023         1023 05
  18:40:14
  02/07/2020
                1023         1023 10
  19:12:43
 02/07/2020
                1023         1023 09
 20:50:38
 02/08/2020
                1023         1023 06
 00:37:12
 02/11/2020
               1023          1023 09
  15:20:03
 02/11/2020
               1023          1023 OL
 15:20:07
 02/11/2020
               1023         1023 09
 16:16:02
 02/11/2020
               1023         1023 SD
 16:16:45
 02/11/2020
               1023         1023 DI
 20:51 :53
 2/11/2020
               1023         1023 09
  /1.00:35
 02/11/2020
               1023         1023 SD
 21:00:48
 02/11/2020
               1023         1023 DI
 21:28:33
 02/11/2020
               1023         1023 AR
 21:32:46
 02/11/2020
               1023         1023 09
 21:42:39
 02/11/2020
               1023         1023 SD
21:58:35
 02/12/2020
               1023         1023 06
00:37:37
02/12/2020
               1023         1023 09
 16:02:28
02/12/2020
               1023         1023 SD
 16:02:44
02/12/2020
               1023         1023 DI
19:40:46
02/12/2020
               1023         1023 EN
19:40:48
02/12/2020
               1023         1023 09
19:54:54
2/12/2020                                           2020-00012841 /
               1023         1023 AR
15s.17                                              IFPA22
02/12/2020                                          2020-00012841/
               1023         1023 AR
19:55:17                                            IFPA22

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                                                                                                      City 001665
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                                                                                        End Date/Time:     03/23/2020 23:.59:59




                                           Officer Activity Report
 Activity
               Unit#      Badge # Status            Incident #/ Plate   Unit Location              Nature Of Call
 Date/Time
 02/12/2020                                         2020-00012841 /
               1023          1023 09
 19:58:02                                           IFPA22
 02/12/2020
               1023          1023 EN
 19:58:09
 02/12/2020
               1023          1023 EN
 19:58:09
 02/12/2020
               1023          1023 AR
 19:58:55
 02/12/2020
               1023          1023 09
 20:06:50
 02/12/2020
               1023          1023 SD
 22:30:42
 02/13/2020
               1023          1023 06
 00:26:09
 02/13/2020
              1023           1023 09
 16:03:28
02/13/2020
              1023           1023 SD
16:59:36
 02/14/2020
              1023          1023 06
  0:16.05
02/18/2020
              1023          1023 09
15:15:36
02/18/2020
              1023          1023 OL
15:15:38
02/18/2020
              1023          1023 09
16:41:30
02/18/2020
              1023          1023 SD
16:41:34
02/18/2020
              1023          1023 DI
17:03:45
02/18/2020
              1023          1023 EN
17:04:03
02/18/2020
              1023          1023 09
17:07:52
02/18/2020
              1023          1023 DI
17:07:52
02/18/2020
              1023          1023 09
17:20:29
02/18/2020
              1023          1023 EN
22:56:26
02/18/2020
              1023          1023 EN
22:56:26
02/18/2020
              1023          1023 09
  :13:53
°
02/19/2020
              1023          1023 06
00:35:31

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                                                                                                      City 001666
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                                                                                       Start Date/Time:   10/22/2019 00:00:00

                                                                                       End Date/Time:     03/23/2020 23:59:59




                                           Officer Activity Report
 Activity
               Unit#      Badge # Status            Incident#/ Plate   Unit Location              Nature Of Call
 Date/Time
 02/19/2020
               1023          1023 09
 15:15:47
 02/19/2020
               1023          1023 SD
 15:15:55
 02/19/2020
              1023           1023 EN                                   3RD FL
 20:38:27
 02/19/2020
              1023           1023 EN                                   3RD FL
 20:38:27
 02/19/2020
              1023           1023 AR                                   3RD FL
 20:41:23
 02/19/2020
              1023           1023 09                                   3RD FL
 20:57:40
 02/19/2020
              1023          1023 SD
 20:58:29
02/19/2020
              1023          1023 05
23:36:37
02/20/2020
              1023          1023 06
00:15:13
 2/20/2020    1023          1023 09
 3.55:16
02/20/2020
              1023          1023 SD
23:04:57
02/21/2020
              1023          1023 06
00:13:19
02/21/2020
              1023          1023 09
15:36:17
02/21/2020
              1023          1023 SD
15:51 :49
02/22/2020
              1023          1023 06
00:12:58
02/26/2020
              1023          1023 09
15:45:32
02/26/2020
              1023          1023 SD
16:16:45
02/26/2020
              1023          1023 DI
20:26:42
02/26/2020
              1023          1023 EN
20:26:44
02/26/2020
              1023          1023 09
20:27:29
02/26/2020
              1023          1023 DI
20:27.35
02/26/2020
              1023          1023 EN
 128:14
02/26/2020
              1023          1023 09
20:29:07

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                                                                                                     City 001667
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                                                                                        End Date/Time:     03/23/2020 23:59:59




                                           Officer Activity Report
 Activity
              Unit#       Badge # Status            Incident #/ Plate   Unit Location              Nature Of Call
 Date/Time
 02/26/2020
               1023          1023 SD
 20:29:13
02/26/2020
              1023           1023 DI                2020-00016972 I
20:52:49
02/26/2020
              1023          1023 09                 2020-00016972 /
20:53:58
02/26/2020
              1023          1023 SD
20:54:02
02/26/2020
              1023          1023 09
23:02:57
02/27/2020
              1023          1023 06
00:14:23
02/27/2020
              1023          1023 09
16:13:08
02/27/2020
              1023          1023 SD
22:34:46
02/28/2020
              1023          1023 06
00:12:54
02/28/2020
              1023          1023 09
5.09:15
02/28/2020
              1023          1023 OL
15:09:22
02/28/2020
              1023          1023 09
16:19:10
02/28/2020
              1023          1023 SD
23:41 :18
02/29/2020
              1023          1023 06
00:10:19
03/03/2020
              1023          1023 09
06:33:33
03/03/2020
              1023          1023 05
06:33:41
03/03/2020
              1023          1023 09
06:34:05
03/03/2020
              1023          1023 05
06:34:21
03/03/2020
              1023          1023 09
07:27:33
03/03/2020
              1023          1023 SD
07:27:40
03/03/2020
              1023          1023 06
14:17:11
03/05/2020
              1023          1023 09
 1:48:25
03/05/2020
              1023          1023 SD
07:50:16

Report run by cmb\polidesa on 08/31/2020 12:33:00                                                                   Page 17 of 21
                                                                                                      City 001668
      Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 225 of
                                           286
                                                                                       Start Date/Time:   10/22/2019 00:00:00

                                                                                       End Date/Time:     03/23/2020 23:59:59

 )

                                           Officer Activity Report
 Activity
               Unit#      Badge # Status            Incident#/ Plate   Unit Location              Nature Of Call
 Date/Time
 03/05/2020
               1023          1023 DI                                   15TH ST/OCEAN
 09:42:58
 03/05/2020
               1023          1023 DI                                   ON TAC 7
 09:42:58
 03/05/2020
               1023          1023 SL                                   15TH ST/OCEAN
 09:58:42
 03/05/2020
              1023           1023 SL                                   ON TAC 7
 09:58:42
 03/05/2020
              1023          1023 09                                    15TH ST/OCEAN
 10:23:53
 03/05/2020
              1023          1023 09                                    ON TAC 7
 10:23:53
 03/05/2020
              1023          1023 SD
 10:45:09
 03/05/2020
              1023          1023 06
 16:20:04
 03/06/2020
              1023          1023 09
 07:25:00
 gaso         1023          1023 SD
  8:17:12
03/06/2020
              1023          1023 09
08:49:34
03/06/2020
              1023          1023 SD
09:33:58
03/06/2020
              1023          1023 06
19:17:14
03/06/2020
              1023          1023 09
19:19:16
03/06/2020
              1023          1023 06
19:19:18
03/07/2020
              1023          1023 09
06:21 :14
03/07/2020
              1023          1023 05
06:21:16
03/07/2020
              1023          1023 09
07:33:23
03/07/2020
              1023          1023 SD
14:54:04
03/07/2020
              1023          1023 06
19:16:51
03/08/2020
              1023          1023 09
06:31:34
13/08/2020
              1023          1023 05
 .ì:31 :43
"07:15:05
 03/08/2020
            1023           1023 09


Report run by cmb\polidesa 0n 08/31/2020 12:33:00                                                                  Page 18 of 21
                                                                                                     City 001669
   Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 226 of
 ]                                      286
                                                                                        Start Date/Time:   10/22/2019 00.00.00

                                                                                        End Date/Time:     03/23/2020 23:59:59
\

                                           Officer Activity Report
 Activity
               Unit#      Badge # Status            Incident #/ Plate   Unit Location              Nature Of Call
 Date/Time
 03/08/2020
               1023          1023 10
  16:11:32
 03/08/2020
               1023          1023 06
 19:45:16
 03/09/2020
               1023          1023 09
 06:35:19
 03/09/2020
               1023          1023 05
 06:35:36
 03/09/2020
               1023          1023 09
 07:38:14
 03/09/2020
               1023          1023 SD
 15:40:30
 03/09/2020
               1023          1023 06
 20:13:36
 03/10/2020
              1023           1023 09
 07:19:54
 03/10/2020
              1023           1023 10
 07:20:21
3/102020      1023          1023 AR
  .0:02:23
 03/10/2020
              1023          1023 AR
 10:02:23
 03/10/2020
              1023          1023 09
 10:03:13
 03/10/2020
              1023          1023 06
 19:57:28
 03/12/2020
              1023          1023 09
 08:13:53
 03/12/2020
              1023          1023 SD
 08:14:03
03/12/2020
              1023          1023 EN
 17:02:28
03/12/2020
              1023          1023 EN
 17:02:28
03/12/2020
              1023          1023 AR
17:06:56
03/12/2020
              1023          1023 09
18:24:40
03/12/2020
              1023          1023 05
19:31:57
03/12/2020
              1023          1023 06
19:52:45
 3/13/2020
              1023          1023 09
  3:11:40
03/13/2020
              1023          1023 06
20:08:52

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                                                                                                      City 001670
       Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 227 of
                                            286
  E9                                                                                   Start Date/Time:   10/22/2019 00:.00.00

                                                                                       End Date/Time:     03/23/2020 23:.59.59



                                           Officer Activity Report
 Activity
                 Unit#    Badge # Status            Incident#/ Plate   Unit Location              Nature Of Call
 Date/Time
  03/14/2020
                 1023        1023 09
  07:32:24
  03/14/2020
                 1023        1023 SD
  07:32:44
  03/14/2020
                1023         1023 06
  19:44:22
  03/15/2020
                1023         1023 09
  07:44:06
  03/15/2020
                1023         1023 SD
  08:21 :12
  03/15/2020
                1023        1023 09
  19:44:09
  03/15/2020
                1023        1023 06
  19:45:58
  03/16/2020
                1023        1023 09
  09:11 :16
 03/16/2020
                1023        1023 SD
  15:41:50
   '3/16/2020
                1023        1023 06
  9:45:32
 03/17/2020
                1023        1023 09
 07:56:16
 03/17/2020
                1023        1023 SD
 07:56:22
 03/17/2020
                1023        1023 05
 17:42:50
 03/17/2020
                1023        1023 09
 19:09:40
 03/17/2020
                1023        1023 06
 19:46:43
03/19/2020
                1023        1023 09
07:41:11
03/19/2020
                1023        1023 SD
07:41:21
03/19/2020
                1023        1023 06
 19:43:42
03/20/2020
                1023        1023 09
07:47:26
03/20/2020
                1023        1023 SD
07:47:46
03/20/2020
                1023        1023 06
19:54:51
3/21/2020
                1023        1023 09
/:.04:48
03/21/2020
                1023        1023 SD
07:04:51

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                                                                                                     City 001671
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 )                                         286
                                                                                       Start Date/Time:   10/22/2019 00:00:00

                                                                                       End Date/Time:     03/23/2020 23:59:59




                                           Officer Activity Report
 Activity
              Unit#       Badge # Status            Incident#/ Plate   Unit Location              Nature Of Call
 Date/Time
 03/21/2020
              1023          1023 10
 09:59:17
 03/21/2020
              1023          1023 09
 11:30:29
 03/21/2020
              1023          1023 10
 11.30.33
03/21/2020
              1023          1023 09
13:12:29
03/21/2020
              1023          1023 SD
13:12:33
03/21/2020
              1023          1023 06
19:38:36
03/22/2020
              1023          1023 09
07:04:13
03/22/2020
              1023          1023 05
07:33:26
03/22/2020
              1023          1023 09
08:58:50
 3/22/2020
              1023          1023 SD
 3:59.03
03/22/2020
              1023          1023 06
19:40:06
03/23/2020
              1023          1023 09
07:31:37
03/23/2020
              1023          1023 SD
09:15:25
03/23/2020
              1023          1023 06
18:41:36
03/23/2020
              1023          1023 09
18:47:01
03/23/2020
              1023          1023 06
19:40:30




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                                                                                                        City 001672
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 8                                         286
                                                                                           Start Date/Time:   04/22/2020 00:00:00

                                                                                           End Date/Time:     04/22/2020 23:59:59




                                             Officer Activity Report
 Agency: FL0130700 - Miami Beach Police Department Units: ALL                                   Personnel: Salabarria, Jessica -
                                                                                                1023

 Statuses: SD:                                4h41m29s       29.75%      Total Statuses:               1
             06:                              51 18m 36s     33.67 %     Total Dispatches:             o
             CO·
              t„                              5h 46m 15s     36.59 %     Total Busy:

             Tota±:                          15h 46m 20s    100.00 %     Total Traffic Stops:          o
                                                                         Total Time: O Days 15 Hours 46 Minutes 20 Seconds

Activity
                   Unit #   Badge # Status          Incident#/ Plate   Unit Location                   Nature Of Call
Date/Time
04/22/2020
                   1023       1023 09
08:13:39
04/22/2020
                   1023       1023 SD
13:59:54
04/22/2020
                   1023       1023 ce
18:41 :23




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Report run by cmb\polidesa on 09/02/2020 18:57:17                                                                        Page 1 of 1
                                                                                                           City 001673
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                                     286




                            EXHIBIT C
                TO DECLARATION OF
                           A.J. PRIETO
DocuSign Envelope ID: CC3C604A-8185-4007-95EB-8735D7C89FEF
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                                                                        City 001235
DocuSign Envelope ID: CC3C604A-8185-4007-95EB-8735D7C89FEF
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                                                                        City 001236
DocuSign Envelope ID: CC3C604A-8185-4007-95EB-8735D7C89FEF
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                                                                        City 001237
DocuSign Envelope ID: CC3C604A-8185-4007-95EB-8735D7C89FEF
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                    12/23/2020 | 1:34 EST




                                                                        City 001238
DocuSign Envelope ID: CC3C604A-8185-4007-95EB-8735D7C89FEF
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                                                                        City 001240
DocuSign Envelope ID: CC3C604A-8185-4007-95EB-8735D7C89FEF
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                                                                        City 001241
DocuSign Envelope ID: CC3C604A-8185-4007-95EB-8735D7C89FEF
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                                                                        City 001242
DocuSign Envelope ID: CC3C604A-8185-4007-95EB-8735D7C89FEF
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                                                                        City 001243
DocuSign Envelope ID: CC3C604A-8185-4007-95EB-8735D7C89FEF
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                                                                        City 001244
DocuSign Envelope ID: CC3C604A-8185-4007-95EB-8735D7C89FEF
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                                                                        City 001245
DocuSign Envelope ID: CC3C604A-8185-4007-95EB-8735D7C89FEF
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                                                              12/23/2020 | 1:34 EST




                                                                         City 001246
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                                                                City 001248
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                            EXHIBIT D
                TO DECLARATION OF
                           A.J. PRIETO
     Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 244 of
                                          286
From:            Cosner, Steven <StevenCosner@miamibeachfl.gov>
Subject:         Salabarria AAF
To:              Prieto, AJ <AJPrieto@miamibeachfl.gov>
Sent:            January 8, 2021 12:35 AM (UTC-05:00)
Attached:        Salabarria AAF.pdf

Hello AJ,
I was advised to forward this to you. Please review and advise if there is anything else you need me to take care of.
Thanks.

SC




Steve Cosner, Lieutenant
MIAMI BEACH POLICE DEPARTMENT
Operations Division/Third Platoon/Area 2
1100 Washington Ave, Miami Beach, FL 33139
Tel: 305-673-7776, ext. 5526 / Fax: 786-394-4976
StevenCosner@miamibeachfl.gov

Mission: Address Crime and Community Concerns
Vision: A safe and welcoming environment for everyone
Values: Honorable, Professional, Resilient
Our Daily Goals: Use innovative approaches to address crime, maintain and enhance a professional and well trained
workforce, enhance the public’s perception of the Miami Beach Police Department




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                                     Administrative Action Form

                                                                                              D#
Employee:                         Job Title:                          Division:                Date:
Salabarria, Jessica               Sergeant of Police                  Operations/Patrol        12/30/2020
Level of Action:                                                                        Letter of
Documentation of Verbal Conference:                      Written Warning:               Reprimand:

Violation of City Work Rule:                             Title:
Violation of Department SOP #: DRR 3.8.2, DRR            Title: Insubordination, Integrity, Performance
6.5.4, DRR 6.15.1, 6.15.6, 6.15.9, DRR 6.28.3.6,         of Duties, Conduct Unbecoming,
6.28.3.10, 6.28.3.20, 6.28.3.34, DRR 6.34.1, DRR         Untruthfulness, Supervisor Responsibility,
6.39.1, DRR 6.40.1                                       Radio Transmissions
Violation of General Special Order #:                Title:
Documentation of Incident: On Sunday night, 12/27/2020 at approximately 2200 hours, I advised
Sergeant Jessica Salabarria that we needed a Sergeant on overtime for the midnight shift. I told her that
she was the next supervisor to be forced to work over since we did not have any volunteers for the
position. She was told that she would be assigned to Area 3 and would be working from 0000-0600
hours. She acknowledged the order and within several minutes she provided me with an overtime slip
completed by her in which she documented in her own handwriting that she was working in Area 3. She
left the sergeant’s office shortly thereafter. At approximately 0355 hours, I forwarded an email to
Sergeant Salabarria with the details and watch orders that needed to be assigned to the Area 3 officers for
completion prior to the end of their shift. I then sent a text message to her cellular phone advising her to
check her email at 0359 hours. After a few minutes I did not receive an acknowledgement of the text
message, so I tried to call her phone at 0404 hours. Then phone rang repeatedly and went to voicemail. I
tried to raise her via the police radio immediately afterwards. The dispatcher raised her multiple times
with no response. Sergeant Wilson Romero advised via radio that he would try to call her. He called me
at 0411 hours to advise that he could not reach her and that her phone rang through to voicemail. I again
tried to have the dispatcher raise her, and after several attempts by name and unit number, she finally
responded. The tone of her voice sounded as if she was just waking up. I spoke with her via the
supervisor channel and asked her where she was. She told me that she was “05”. I responded by asking
if she meant, “05 at the NESS”. She said no and that she was at the main station. I asked if she was
aware that she was assigned to Area 3 and she answered affirmatively. I then ordered her to respond to
Area 3 and to check her email.

   I became involved in a vehicle stop along 71 street that resulted in an arrest at 0416. Officer Ocejo
was one of the officers who responded as back-up. After the subject was transported, I waited on scene
with Officer Ocejo as he waited for a tow truck. I asked Officer Ocejo to check his email to see if the
details had been forwarded by Sergeant Salabarria. He told me that he did not have any emails from her.
This was at approximately 0520 hours. At 0543 hours, I received an unsolicited text message from
Sergeant Salabarria advising that she had emailed me the squad stats and the detail assignments. She
claimed that she had told the officers via landline and email of their detail assignments. The email that
she sent me was sent at 0536 hours. It included the squad stats and detail assignments. I called Officer
Hansel Romero and asked him if he had received any emails, texts, or phone calls from Sergeant
Salabarria advising him of detail assignments. He said that he did not and that she had only asked for
stats in an email that was sent at 0521 hours. That email was forwarded to me by Officer Ocejo. I began

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calling all the officers assigned to Area 3 and inquired the same of each of them. Every one of the
officers advised that they had not received a call or text advising of the details. Officer Romero then
forwarded an email that he received from Sergeant Salabarria at 0542 hours. The email had been sent to
each of the Area 3 officers. It was the detail assignments and began with a highlighted line stating,
“squad per our conversation please note the below details for our shift”. I found this very concerning
because it was now the second time that she had claimed to have had a conversation with the officers
about their assignments when all six of them claimed that never happened and they did not report to any
assigned details during the shift.

   I sent an email to Lieutenant Jorge Garcia asking for a Detail Report for Sergeant Salabarria’s
assigned marked vehicle via the AVL system. My inquiry was for her vehicle movement from 2200
hours on 12/27/2020 through 0600 hours on 12/28/2020. The Detail Report showed that her vehicle had
been parked at the station from 2200 hours on 12/27/2020 until 0423 hours on 12/28/2020 which was a
few minutes after we spoke on the supervisor channel. For a total of 6 hours and 23 minutes. It is
unknown how long the vehicle had been parked prior to that. The report indicated that she left the station
and drove directly to 73rd Street and Ocean Terrace where she again parked her vehicle at 0440 hours.
The vehicle remained in that position until 0533 hours for a total of 53 minutes. She then left that
location and drove directly to the MBPD headquarters.

   Note that of the six officers assigned to Area 3 on the shift in question 4 of them have 2 years of
experience or less.

   Sergeant Salabarria’s actions show a willful effort to deceive a supervisor and a failure to obey a
direct order from said supervisor. She failed to report to her assigned zone and failed to supervise the
officers under her watch. She failed on multiple occasions to respond to the police radio and showed
extreme neglect in the performance of her duties.
I have read the Administrative Action Form and understand it. Additionally, I have been provided
with an employee’s Administrative Action Response Form and it has been explained to me.
Employee’s Initials ________

Employee’s Signature: ____________________           Lieutenant Signature:_________________________

Print Name:_________________ Date:                   Print Name:____________________ Date:


 Preparer’s Signature: _____________________         Captain Signature: ___________________________

 Print Name: ________________ Date:                  Print Name:____________________ Date:


 Witness Signature: ______________________           Division Commander Signature:_________________

 Print Name:________________ Date:                   Print Name:____________________ Date:




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 Witness Signature: ______________________   Chief of Police Signature:_____________________

 Print Name:________________ Date:           Print Name:____________________ Date:




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                            EXHIBIT E
                TO DECLARATION OF
                           A.J. PRIETO
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                                       286
From:           Descalzo, Andy <AndyDescalzo@miamibeachfl.gov>
Subject:        Sgt. Salabarria AEM
To:             Prieto, AJ <AJPrieto@miamibeachfl.gov>; Ozaeta, Paul <PaulOzaeta@miamibeachfl.gov>
Sent:           January 19, 2021 3:38 PM (UTC-05:00)
Attached:       MIAMI BEACH POLICE DEPARTMENT.pdf

Gentlemen,
See attached.




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                             EXHIBIT F
                TO DECLARATION OF
                           A.J. PRIETO
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                                       286
From:           AJPrieto@miamibeachfl.gov <AJPrieto@miamibeachfl.gov>
Subject:        Sgt. Salabarria
To:             Arley Flaherty <ArleyFlaherty@miamibeachfl.gov>
Sent:           January 20, 2021 3:38 PM (UTC-05:00)
Attached:       MIAMI BEACH POLICE DEPARTMENT.pdf


Arley,

See attached.

AJ




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                            EXHIBIT G
                TO DECLARATION OF
                           A.J. PRIETO
  Case 1:22-cv-21004-MD Document 69-8 Entered on FLSD Docket 06/03/2024 Page 257 of
                                       286
From:            Prieto, AJ <AJPrieto@miamibeachfl.gov>
Subject:         Sgt. Salabarria
To:              Clements, Rick <RickClements@miamibeachfl.gov>
Cc:              Michael Elkins <melkins@mlelawfirm.com>
Sent:            January 25, 2021 9:00 AM (UTC-05:00)
Attached:        Salabarria Laptop.jpg, POLISALJ - Excel Files U drive.JPG

Chief,

Sgt. Salabarria stated to us during the meeting that she was in her patrol car working on Officer Stella’s
evaluation on December 28-29, 2020. We located Officer Stella’s evaluation on her laptop and it showed that
Officer Stella’s evaluation was not created until January 10, 2021 (see attached). We had the IT department
check to see if Stella’s evaluation was created or saved anywhere else in the network (U Drive, F Drive, Cloud,
etc.) They did not located Stella’s evaluation anywhere else in the network. The second attachment on this
email shows all the Excel files that Sgt. Salabarria had on her U Drive. Lastly, if you closely at the screenshot
of her laptop, you will notice the cloud symbol on the Stella file icon. This cloud icon indicates the file was
never downloaded to her laptop.



Commander A.J. Prieto
Office of the Chief of Police
Internal Affairs Unit
Miami Beach Police Department
1100 Washington Avenue, Miami Beach, FL 33139
Tel: 305-673-7776 ext. 5649 Fax: 786-394-5198
ajprieto@miamibeachfl.gov

Mission: Address crime and community concerns.
Vision: A safe and welcoming environment for everyone.
Values: Honorable, Professional, and Resilient.

Our Daily Goals: Use innovative approaches to address crime; Maintain and enhance a professional and well trained
workforce; Enhance the public’s perception of the Miami Beach Police Department.




Complete the Census today! Click Here




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                            EXHIBIT H
                TO DECLARATION OF
                           A.J. PRIETO
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Sgt. Jessica
Salabarria
ALLEGATION OF EMPLOYEE MISCONDUCT 12/28/2020




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Allegations

 ▶   Failure to Supervise
 ▶   Conduct Unbecoming
 ▶   Insubordination
 ▶   Neglect of Duty
 ▶   Untruthfulness
 ▶   Performance of Duties
 ▶   Failure to Monitor Radio




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Telestaff

  ▶   Sgt. Salabarria was scheduled to work the afternoon shift (1400-0000).


  ▶   Due to staffing, Lt. Cosner advised Sgt. Salabarria that she was being
      forced to work as the Area 3 Sergeant for the midnight shift (0000-0600).


  ▶   Sgt. Salabarria acknowledges verbally and in writing that she is assigned
      to Area 3. Prior to 0000 hours she submits a signed OT slip to Lt. Cosner,
      where she writes that her assignment is in Area 3.




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12/27/2020 arriving for her shift.

  ▶   Keycard- Sgt. Salabarria uses her issued key card to enter the station via
      11 street gate 10 minutes late at 1410 hours.


  ▶   Sgt. Salabarria does not arrive in her assigned police vehicle (17004). She
      is observed driving a dark SUV bearing FL Tag NYTV70. Vehicle is
      registered to Ofc. Nick Guasto.


  ▶   AVL reading indicated that Sgt. Salabarria’s police vehicle was in the
      station garage at the beginning of the shift and does not turn on until 1749
      hours.


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12/27/20 CCTV

▶   Sgt. Salabarria arriving at 1410 hours
    via 11 St gate.




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AVL locations for vehicle 17704

 ▶   Avl for vehicle number 17704 indicates that Sgt. Salabarria leaves the
     station at 1753 via 11 St and drives around Area 1 and Area 2.
 ▶   Returns to the station via 12 St gate at 2040.
 ▶   Vehicle shuts off between the 2nd and 3rd floor of the station garage at 2042.
 ▶   Sgt Salabarria then enters the station via 3rd floor using her key card at 2044
     hours. She then exits the building and turns her vehicle on at 2056 hours.
 ▶   Vehicle remains on and stationary at the station from 2056 hours until 2212
     hours where it is turned off.
 ▶   Sgt. Salabarria enters the station at 2212 via second floor garage doors.
     She then exits the station at 2227 via the same doors and is not observed
     on camera again until her vehicle drives out of the station at 0424 hours. Her
     police vehicle is off during this time period.
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Continued CCTV

▶   Image #1- Sgt. Salabarria exiting the
    station via second floor garage door
    – 2227 hours.



▶   Image#2- Vehicle #17004 assigned
    to Sgt. Salabarria exiting the station
    via 12 St. Consistant with AVL. –
    0424 hours.




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12/28/20 AVL/CCTV/Keycard

 ▶   AVL indicates that Sgt. Salabarria’s vehicle (17004) responds to Area 3 and
     remains stationary at 3 73rd St from 0440-0533.
 ▶   The vehicle then travels back to the South and arrives at the station via 11 St.
     at 0549 hours.
 ▶   Sgt. Salabarria is then observed keying in at the 11 St gate at 0549 via CCTV.
 ▶   Sgt. Salabarria keys into the station via 1st Floor rear door to what appears to
     be her docking her BWC.
 ▶   Her vehicle then drives up the garage and becomes stationary between the
     2nd and 3rd floor. Shutting off at 0601.
 ▶   The same dark colored SUV that Sgt. Salabarria was observed arriving in,
     exits the parking lot at 0605 hours.

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CCTV Images

▶   Image 1- Sgt Salabarria arriving at
    the station at 0549 hours.




▶   Vehicle Sgt. Salabarria arrived in
    exiting via 11 St at 0605 hours.




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Key card Printout
12-27 thru 12-28

▶   Key card times are
    approximately 4 minutes ahead
    of AVL and CCTV.




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                             EXHIBIT I
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